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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS


STEVEN F. HOTZE, M.D.,Delegate to                  )
Republican Party of Texas State Convention,        )
HOTZE HEALTH &WELLNESS CENTER, EDD                 )
HENDEE, AND TASTE OF TEXAS                         )
RESTAURANT, PHYSICIANS PREFERENCE                  )   Civil   Action   No.   ____________
PHARMACY INTERNATIONAL, LLC,                       )
CURAM HEALTH, LLC, HON. WILLIAM W.                 )
ZEDLER, HON. MOLLY WHITE, HON. GARY                )
W. ELKINS, HON. RICK GREEN,                        )
HON. JOSH FLYNN, Delegate to the Republican        )
Party of Texas State Convention and Secretary of   )
the Republican Party of Texas,                     )
CATHIE ADAMS, Delegate to the Republican           )
Party of Texas State Convention, NORMAN            )
ADAMS, Delegate to the Republican Party of         )
Texas State Convention, AL HARTMAN,                )
Delegate to the Republican Party of Texas State    )
Convention, GREG BLUME, Delegate to the            )
Republican Party of Texas State Convention,        )
WALKER WEST, State Republican Executive            )
Committee Member Senate District 4,                )
TONIA ALLEN PAKER, Owner of                        )
MACHINE SHED BAR AND GRILL,                        )
JASON PARKER, Owner of                             )
MACHINE SHED BAR AND GRILL,                        )
MELISSA LYNN KELLY, Owner of                       )
OUTLAWS LONGVIEW BAR,                              )
GABRIELLE ELLISON, Owner of                        )
BIG DADDY ZANES BAR,                               )
ADAM DURAN, Owner of                               )
FRY STREET TAVERN, SHOTS & CRAFTS,                 )
and NORTHSIDE DRAFTHOUSE EATERY,                   )
JENNFIER GIBBS, Owner of                           )
DUSTY’S BAR & GRILL, GAME CHANGERS,                )
and CLETUS’S,                                      )
ELVIN COY CHEW, Owner of                           )
WHISKEY GIRL BAR,                                  )
KEVIN WANN, Owner of                               )
TEXAS BORDERS BAR & GRILL,                         )
CHRIS BERGERON, Owner of                           )
CHUTERS DANCEHALL & SALOON,                        )
SANDRA YOUNG, Owner of                             )
BOKEETERS COCKTAIL BAR,                            )
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HOLLY LANDRY, Owner of                       )
SHARKY’S TAVERN,                             )
HEATHER VAUGHAN, Owner of                    )
CROSSROAD SALOON,                            )
ERICA MANN, Owner of                         )
THE BLUE DOOR                                )
RODNEY HOLDER, Owner of                      )
SPRING TAVERN,                               )
SHAWN REISING, Owner of                      )
PUTTERS and TROJANS,                         )
TEE ALLEN, Owner of                          )
HUNTER’S PUB,                                )
CLARENCE THOMAS, Owner of                    )
CLUB ODYSSEY,                                )
ERIC STEVENS, Owner of                       )
STICKS, SAUL SULTAN, LANDMARK,               )
TEXAS REPUBLIC, THE YARD,                    )
THEORY UPTOWN, and                           )
PLAYGROUND DALLAS,                           )
CHRIS BEARDON, Owner of                      )
TRUTH & ALIBI, PUNK SOCIETY,                 )
THE TIPSY ALCHEMIST,                         )
THE TIPSY ALCHEMIST (AUSTIN),                )
THE ILL MINSTER PUB, BARCADIA, AKAI,         )
SIDEBAR DALLAS GROUP, LLC, and               )
GASLIGHT DALLAS, LLC,                        )
BEVERLY STRAIN, Owner of                     )
HUNTERS PUB and COZY CORNER BAR,             )
RYAN McNEIL, Owner of                        )
IRONWOOD SALOON,                             )
ANDRE KODA, Owner of THE GALLERY,            )
JOHN YOUNG, Owner of                         )
THE CONCHO PEARL ICEHOUSE,                   )
ROBERT L. LOAGE, Owner of                    )
THE LOST COYOTE SALOON,                      )
RANDY CROOK, Owner of                        )
SALTY DOG SPORTS BAR,                        )
BLUE DOG WINE & MARTINI BAR,                 )
DOGHOUSE, and CRYING SHAME,                  )
DYLANS BAR & GRILL,                          )
NECHES BREWING COMPANY, LLC,                 )
PUTTERS, LLC,                                )
THE TROJAN CORK & KEG, INC.                  )
RACHEL BRADLEY, Chief Operating Officer of   )
DBRB HOLDINGS,                               )
MORRIS LANDRU, WENDY LANDRUM,                )

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DAVID PHILLIPS, RENEE PHILLIPS,           )
DELIA MacKENZIE, KENNY KITTRELL,          )
JAMES W. BLAIR, III, TAMMY J. BLAIR,      )
MIKE BRASWELL, SHENITA CLEVELAND,         )
THOMAS TYRRELL, CLAYTON                   )
DAVENPORT, JIM MONROE, JARED GREIN,       )
STEVE KERNS, ROBERT MORGAN, MSN,          )
PASTOR JUAN BUSTAMANTE, PASTOR            )
DAVID VALDEZ, PASTOR JOHN GREINER,        )
PASTOR MATT WOODFILL, GARY GIUFFRE,       )
PASTOR BRIDGETTE LOZANO, PASTOR           )
CODY WEIGHTMAN, PASTOR AARON              )
COLLIER, PASTOR PATRICK STEWART,          )
PASTOR RICK SCARBOROUGH, HANNAH           )
YOUNG, KEN PREJAN, MATT BRICE, owner      )
of American Federal Grill, MIKE MORTON,   )
MIKE ZULLO, ALICIA ZULLO, ASHLEY          )
ZULLO, ROB ZULLO, TRISHA LABLANC,         )
JUDSON AJA, JANE FRAZIER, MARIO           )
HERNANDEZ, MARK SHANNON, TAMMY            )
WARREN, ANNMARIE CANTWELL, BRIAN          )
SPEER, MELISSA CARLISLE, PAUL             )
GARLAND, DARRELL W. SELF, LEE             )
JENKINS, ROBERT WHEELER, JR., DONALD      )
E. PAGE, PEGGY DENSON, JAMES RAY          )
WHITE, SHARON SYKES, DAL L. SHARP,        )
BRENT EDMINSTER, SAM ROGERS,              )
MICHELLE PUSTEJOVSKY, DANA BROCK          )
MIKE WALLACE, BENJAMIN LAMOURE,           )
KELLYE MESHBERG, GABRIEL TUFT,            )
CAROL MARKEK, TERI A. WALTER, AMY         )
SMITH, MICHAEL VAUGHN, MINT POKER         )
CLUBS, TRAVIS NORMAN, THOMAS D.           )
TYRRELL, BONNIE ANDERSON, ROBERT          )
HUNGATE, GENE STEVENS, DAVID SMITH,       )
KEVIN MOORE, JOANIE MARKHAM, DAVID        )
KEMP, BARRY D. ADKINS, CHRISTINE          )
BRADLEY, CHRIS PERSAUD, WILLIAM J.        )
BOSWELL, JR., VICKIE MICHELLE             )
KOTTWITS, R.J. SMITH, JULIA VON           )
EHRENFRIED, DAVID R. TRAYNOR, JANET       )
JACSKON, ASHLEY BRYAN, ANTHONY            )
POWELL, JASON ANDERSON, CYNTHIA D.        )
CRUZ, DAVE ANDERSON, MICHELLE             )
ANDERSON, IAN KATZ, GARY PURVIS,          )
BRENDA CHENEY, GRANT BYNUM,               )

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BENJEMEN HITSON, LESLIE HUNT,             )
GBENGA ASEDEKO, MIKE TRACY, THOMAS        )
BLACKMER, CHACE LYN, ASHLEY               )
HARVEY, WILLIAM M. STEVENS,               )
CHRISTINA BROWER, EUGENE J.               )
ROBINSON, EMANUEL LEWIS, REBECCA          )
STEINMETZ, ANDY PRESTRIDGE, ALAYNA        )
WHITE, STEVEN BAYSINGER, PAULA            )
MOORE, WILLIAM HAMMETT, KEELY             )
THOMAS, SCOTT CHAMBERLIN, LYNDSEY         )
LUSK, KRYSTAL KINCAID, SEAN               )
BIELSTEIN, AMBER MORRIS, RILEY J.         )
NASH, SALENA ROTHENBERGER, KRIS           )
MOULTON, CATHERINE BANKS, MACK            )
MILLER, BANDEE BRATTON, GABRIEL           )
DURAN, KELLY HAMILTON, JAY WEBER,         )
ARACELI CASTANEDA, DALLAS WOTTLIN,        )
FRANK ST. FRANCIS, DWAYNE RYMAN,          )
TAMMY GENTRY, CAREN MARSHALL,             )
DENISE BLALOCK, ARNOLDO RANGEL, JIM       )
PALOMO, KARLA DAWN BALLUCH, TERRIE        )
PAU, PAMELA GRANGER, GLENNA HODGE,        )
KAREN ROGERS, RICHARD HOTZE, CEO,         )
COMPRESSOR ENGINEERING                    )
CORPORATION, CECO PIPELINE SERVICES       )
COMPANY, INC., CECO SERVICES              )
CORPORATION, IN MANAGEMENT, LLC,          )
SOURCE OF SUPPLY CORPORATION, INTER       )
NOS, LTD., INTER NOS SPACE PLUS, LTD.,    )
INTER NOS ODESSA, LTD., INTER NOS         )
PIPELINE, LTD., INTER NOS TP              )
INVESTMENTS, LTD., INTER NOS WALKER,      )
LTD., INTER NOS SPRINGVILLE, LTD.,        )
PRISCILLA GORMAN, DAWN WALSH,             )
TAMARA AUSTIN, BARCLAY H. RUSSELL,        )
JR., TEXAS ELECTRICAL SAFETY              )
ASSOCIATION, ROBERT E. HATFIELD, II,      )
VERONICA B. HATFIELD, JEFF KIBODEAUX,     )
ELIZABETH BLAKE, JENNIFER                 )
LEIENDECKER, ADAM STACOVIAK, BRITT        )
HURST, RICK SMITH, BUILDING BLOCKS,       )
LLC, ES FAMILY FITNESS, LLC, BUILDING     )
BLOCK, INC., RYANN DAY, STUART            )
DAVENPORT, RICHELLE BATR, MATTHEW         )
SMITH, RICHARD THOMAS, LINDI              )
BRADDOCK, REBECCA Y. LARSON, RYAN         )

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MUNOZ, JEFF LANDRY, LISA LANDRY,         )
LINDA JANSEN, TU PHAN, MELISSA           )
ROWELL, CYNTHIA SALINAS, SHANE           )
WALKER, DAYLA WALKER, KATHRYN            )
STANDLEY, JOHN BORETSKI, JOHN D.         )
HOWELL, BRUCE BOYD, DEBBIE RAMSEY,       )
LINDA ALLEN, MARGARETE COLE,             )
MATTHEW NOWELL, JACOB FELDMAN,           )
LINDA COLLINS, TIFFANI CHAPA, ROBIN      )
HUBBARD, DAVID KUCHURIVSKYY,             )
LAURIE LOZANO, ORALIA ACOSTA,            )
BRIENNE H. LOFTIS, RAQUETTA              )
PORTALATIN, JONATHAN FINDLEY,            )
CALVIN BROWN, ELVIN COY CHEW,            )
CONNIE JONES, TONIA ALLEN PARKER,        )
MELISSA LUCE, TRINITY JACKSON HALL,      )
NICHOLAS RITCHIE, KATHRYN RITCHIE,       )
JAMES BARCLIFT, STEPHINE CONNELLY,       )
RILEY NASH, MICHELLE LETULLE, DAMON      )
SOLLMAN, ROSE RIVERA HUTCHINSON,         )
RANDY BOX, MONIQUE COOPER, TAMMY         )
COTTON, JENNY BREEN, TAMMIE              )
BIRDWELL, KELLY PELLETIER, TARRIN        )
WARREN, PACEY CHYNOWETH, DAVID           )
LEE KYKSTRA, JR., JANIE BLOMQUIST,       )
ANDREW HARMAN, KRAIG ARON                )
RUSSELL, JON W. MARSH, ERIC              )
CHRISTOPHER, NORMAN HARRIS, TAMMY        )
MORRIS, PAUL MORRIS, HILARY              )
WHEELER, SCOT MORAN, TIM NICHOLS,        )
MICHELE STRICKER, CAROL CARTER,          )
LAURIE MCCAWLEY, LESLIE NEVES,           )
LANCE NEVES, WANDA WEBB, SARAH           )
VETERE, AARON R. RASOR, WILLIAM J.       )
ODOM, JOE W. MATHIAS, MELANIE F.         )
WEBB, COLLEEN CROCKETT, LORI             )
MCDONOUGH, WAYNE RITCHIE,                )
JACQUELINE RITCHIE, LANCE CROCKETT,      )
LEE ANN CROCKETT, MICHAEL J.             )
LATHERN, MARY ANN LATHERN, M.J.          )
LATHERN CO., INC., CONNIE WOLFE,         )
BLAKE MCDANIEL, JOSE A. RIVERA, LISA     )
WOOLDRIDGE, BRYAN BILDERBACK,            )
MARK LAGRANGE, CHRIS ADAMS,              )
BOBBYE ADAMS, KEVIN MORGAN, KEVIN        )
WANN, KELLIE MESSER, THOMAS WRIGHT,      )

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LAURIE TINDALL, KATRINA CANNON,          )
DAWN HAYDEN, NANCY ROBERTS,              )
KIMBERLY GUTIERREZ, ROBERT SCHOPPE,      )
SHELIA BARTLEY, THOMAS BARRETT,          )
KENNETH T. MCDONALD, LAUREN B.           )
MCGEE, DAWN SIMPSON, KEN DERNEHL,        )
RITA DERNEHL, MARK S. BARLOW, M.D.,      )
HOLLY LANDRY, TEE PARKER, HEATHER        )
VAUGHAN, CHRYSTAL PATTERSON,             )
JOSHUA TROY FURNISH, CHARLENE            )
CHEEK, CARMEN M. JAMES, DANIEL           )
CORLEY, DAVID ALLEN, MARSHA              )
WELLMANN, ASHLEY ZANELLA, LANCE          )
OLSHOVSKY, BRANDIE FUSSELL, JASON        )
FUSSELL, MARCIA NEWMAN, KEVIN            )
PETERSON, MARY JENNIFER DUNCAN, JAY      )
MINCKS, CATHERINE ENGELBRECHT, REV.      )
BILL OWENS, DR. DEBORAH OWENS,           )
EVERETT CAMPBELL, JESSIE WILCOXSON,      )
JAMIE BORMAN, ROBYN CADE, ASHLEY         )
JOSLIN, ROBERT WILLEBY, SUSAN            )
COBURN, JOHNNIE DRYDEN, RONALD           )
WHITE, PATRICIA KUDLACEK, GALEY          )
HANNAH, PATRIKA ROMANO, JANET            )
YEANEY, LEONARD SWANSON, WV              )
ALLIANCE GROUP CORP., MARK               )
BLOMQUIST, JUANITA BLOMQUIST, JAY        )
WEBSTER, MARTHA WEBSTER, JAMES G.        )
CAIRE, JR., SANDY ARONDS, DONNA          )
TEETER, YVETTE DEOTTE, JAMES A.          )
MORRIS, KIMBERLY DEAN, NIKKI             )
SOPCHAK, ADRIAN HEATH, JAY               )
LEWCHANIN, SARAH HAWTHORNE,              )
VERONICA PEDRAZA, TAMMY HOWARD,          )
KELLI BALIKER, STEVE SESSUMS, JOSIE      )
MOSS, TRACY FORESTER, JOY BURWELL,       )
SARAH DUFFY LAMNEK, KENITH LAIRD,        )
HOLLI FEELEY, JOHANNA SCHUEPBACH,        )
JOSHUA JONES, REBECCA JONES,             )
HEATHER EVAN, CALVIN RUSSELL,            )
GINGER RUSSELL, DANI ORTIZ, DEBBIE       )
COOPER, CHRISTIAN BERGER, CHERYLE        )
ACOSTA, JOHN KMIECIK, SHEILA             )
MANGHERA, GREG SYKES, EILEEN             )
BARLOW, BRITTANY MCCLURE,                )
CHRISTINA SESSUMS, LYDEL BERTASZ,        )

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MARIS SMITH, PHILIP CONKLIN, GARY W.      )
WHITAKER, DC, KIRT HIGHBERGER, GAYE       )
POWELL, CHARLES ACKERMAN, SHANNON         )
MCGRAW, LOUCINDA PALMER, TRACY            )
VALDEZ, KELLI NICOLE STONE, MIRANDA       )
BARNETT, DIANA CHAPMAN, DARREN            )
MORAHAN, COUGAR OFFSHORE, LLC,            )
MICHELLE MORAHAN, JEFF COKENOUR,          )
PATSY SACCO LJUNGDAHL, MATTHEW            )
JAY, KIM THIEHOFF, DAVID PHILLIPS,        )
KAREN PHILLIPS, GARY STEWART,             )
WANDA STEWART, CORBY CLARK,               )
BRENDA CLARK, KEVIN MASSIE, KAM           )
MARKETING, LLC, KAM FINANCIAL, LLC,       )
SHEILA CLEMMONS, AMBER OLSEN,             )
KATHY NORRIS, JIM RAY, RUTH RAY,          )
MEREDITH GARROU, VICKI HOGAN,             )
MARGARET IMMEL, CATHI WOOD, JUDY          )
ARTALL, CURT LITTMAN, JAMES C.            )
PRUETT, KIM SWANGER, MARY ANN             )
EVERETT, GARY VANDENBERG, WENDY           )
BEGO, LAURE HARO, JOSE LUIS SOLIS,        )
MYRNA SOLIS, ROB JENSEN, CAROLE           )
MENEFEE-JENSEN, ANDREW BENNETT,           )
DEVIN GRIDER, SUSANNEA GRIDER,            )
DENNIS ALEXANDER, GRACE WALLACE,          )
DARRIN W. SMITH, RICH DEOTTE,             )
NICHOLAS LAMME, TRACY M. THOMAS,          )
JENNIFER MILNER, MEGAN HARTMAN,           )
HEIDI TRIMPE, LYNETTE GOGOL, ALICIA D.    )
CORNELL, LINDA RICE, CAMERON              )
JENNINGS, JOY ROBERTS, CORTNEY            )
RUSSELL, DR. POLLY HEIL-MEALEY, JULIE     )
LAWRENCE, CHRISTI MOORMAN, JOHN F.        )
FOOS, BRANDY GREEN, JONI SCHULTZ,         )
STEVEN SALFELDER, MELODY SPRAY,           )
WILLIAM SPRAY, MARIANNE                   )
LAGERSTROM, CHRISTIAN DOBBINS,            )
COLETTE DOBBINS, REBECCA GRAVES,          )
MIKE MOLINA, MARK LAWRENCE,               )
KATHERINE HAGOOD, KENT HAGOOD,            )
NINA LEE, LESLEY PYLE, ROBERT L.          )
SANCHEZ, MARGARET FOURNET, DR.            )
DAVID COX, DC, JUSTIN K. HALL, LORI       )
RAINES, JOSEPH RAINES, CHRIS              )
BLYSTONE, MARY D. CORLEY, MARK            )

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RUSSELL, DEBRA SLATON, LEE PROCTOR,       )
TIFFANIE FOWLER, JOHN ANDERSON,           )
DONNA MCCUNE, JOSEPH L. TRAHAN, JR.,      )
PATRICIA KRENEK, ALLEN MCHENRY,           )
JUDY H. BURNS, AMBER KUTACH, KODI         )
KIELER, DAVID WATTS, MATT GOKINGCO,       )
JOY KRISTINE WALLS, ALYSON HAYES,         )
MARY CASHION-SMITH, JESSICA RUSHING,      )
JEFF CLARK, LAURA SENSER, ROBYN           )
ALDRIDGE, STEVEN C. THOE, MITZI           )
PUDLO, PAUL TRASKAL, LIZ DEOTTE,          )
KELSEY MORRIS, CLAUDE M. JAYNES,          )
MICHELLE PETERSEN, JEFF GUNTER,           )
LARRY BURKHAM, TERESA BURKHAM,            )
RONALD ASHMORE, KRISTI GOEBEL,            )
CAROLYN B. GARD, SCOTT C. STANTON,        )
APRIL L. PYLIE, BRENT STAGGS, TROY        )
HORTON, JERRY PERDUE, LAURA E.            )
SLOVAK, JOANNE E. JUREN, ROY PHILLIPS,    )
VERONICA PHILLIPS, JOSEPH OHNHEISER,      )
CAROL CREAMER-POMPA, GARI-ANNE            )
SMITH, DEBBIE BRANCH, JULIE               )
HUFFAKER, LISA DURAN, DELILA G.           )
BOGART, CASEY HUBBARD, DANNE              )
THOMPSON, KATHERYN MOORE, RICHARD         )
PUDLO, HARPER PRICE, CARLA NAGEL,         )
WILLIAM B. TYLER, WILLIAM J.              )
WHITBURN, JR., DENICE YEAGIN, WILLIAM     )
ZED PENN, ROSE MARIE PENN, KAREN          )
STARNES, JO CARAWAY, ELLEN STEIN,         )
LAURA OAKLEY, DEBBIE ALLCOTT,             )
DEBORAH THORNE, KATHLEEN                  )
THONSGAARD, MICHAEL SILVERSMITH,          )
VANESSA SILVERSMITH, SHERRIE              )
MORRISON, CHERYL GARIHAN, NICOLE          )
TAIT, DANI TREES, ARACELI MORRIS,         )
LONNIE BEATY, MARY WINDHAM, HILARY        )
RABELER, THOMAS JENKINS, SHARILYN         )
FATH, BILL SATTERLEE, JOHN P. NICHOLS,    )
CINDA L. NICHOLS, GREG COLLIS, KEATHA     )
BROWN, CHARLES HAIGHT, DEBRA JONES,       )
LIZ COCKRELL, BRITTANY BUCHANAN,          )
CLINTON E. HILDABRAND, MICHAEL            )
FORD, REBECCA FANNING, TODD BULLIS,       )
ANTHONY UEBEL, NICOLE UEBEL, BETH         )
COLLIS, JESSICA HERRERA, ROBERT           )

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HERRERA, JONATHAN DEANDA, WILLIAM        )
ROBERTS, JULIANNE ADAMS, AUDRA           )
GRAY, SUSAN GRINDON, LAURIE SCHMID,      )
ANNDREA CRISWELL, JENNIFER               )
RINGGOLD, ALICE ATEN, DENISE GREER,      )
KEN W. BROWNING, JUDY THOMPSON,          )
GENE LAMOREAUX, JOHN R. TODD, DALE       )
J. KUBBS, MARY KONARIK, LAURA            )
PRESSLEY, PH.D., JEFFREY G. BANE, TIM    )
ZYMANTAS, JEN ZYMANTAS, DIANE VAN        )
HOOZER, SHERRI GOLDEN, MIKE              )
BLACKLEDGE, JOHN NEIGHBORS, PHILIP       )
PEPIN, LINDA GONINO, GAYE MACKIE, JIM    )
WADE, LORI VALENTI, DAVID BERNAL,        )
THOMAS MACKIE, SHERI SOUTHARD,           )
DAWN LOCK, ANDREA MOEDE, SCOTT           )
DOWN, SRI DOWN, TERRY FLICK, DARIN       )
CADE, NICOLE FLEMING, WHITNEY            )
THOMAS, TIFFANY POWERS, RICHARD          )
MENDOZA, PAMELA FAYE CAIN-JOHNSON,       )
FRANK DRYDEN, NITA ADAM, ANTONIO         )
SANCHEZ, TERRI SNOW, PEGGY DAZZIO,       )
KRISTINE LONGWOOD, MONICA                )
HALLIBURTON, KERRY HELLUMS, TONI         )
HELLUMS, RICCI BRATTON, LINDA            )
TREVINO, LOURDES GONZALEZ, HELENNA       )
MARIE NESLER, KRISTA GRAFF, LINDA        )
VESELKA, FRANKLIN L. ALLBRIGHT,          )
MAUREEN GODSEY, SPENCER DELLING,         )
MARSHA BRISTER, DR. CHRISTY FLICK,       )
CODY BECKER, BETTY ANDERSON, DANA        )
ZUERCHER, JOAN BRITZ, CHARITY KING,      )
JONI BOYD, RAND BOYD, PAMELA             )
FARLEY, RACHAEL BARTON, THOMAS R.        )
HULL, CALLIE GIBSON, GEORGE M.           )
CLEMENS, ED HUBER, JUAN M. PADRON,       )
MARTHA L. ANGLIN, PAUL ANDERSON,         )
DAVID WAKEEN, SONDRA ZIMMERMAN,          )
SANDRA E. RAY, JULIA E. DAILEY,          )
JEANINE T. VOSS, JANICE BORNE, KAREN     )
GATES FROST, LAURA BETH JACKSON, G.      )
SCOTT JACKSON, DIANE BARNES,             )
THOMAS B. BEAU, DAVID L. HARTMAN,        )
JR., ANGELA L. HOUGH, CHARLOTTE          )
DENMARK, GARY M. PIRKLE, DONALD          )
ZEEK, GERI BENTLEY, JOSEPH A. BOURGE,    )

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TERRI WILSON, CHRISTINE MARTINEZ,        )
MICHAEL KETTER, MARTHA MACLEAN,          )
KEN CLARK, CYNIA READ, DENNIS READ,      )
JANET JORDAN, DOUGLAS HAUN,              )
KENNETH CLARK, BRAD BOOTH, RONDA         )
LATHAM, ROSA M. MONTANO, JENNIFER        )
PETERSON, RICHARD ERTL, DESMOND          )
FLORES, JANICE DEMPSEY, ROSE MARY        )
LEAL, RHONDA MOGFORD, ANASTASIA          )
SANDERS, DON SANDERS, MONICA CLARK,      )
PAT CORCORAN, KEITH NOACK, JARED         )
SAENZ, KEVIN OVERBAY, LEE LESTER,        )
CYNTHIA BOWEN, MARY KESLER,              )
ANGELA COVARRUBIO, ALLISON STRAUB,       )
KEVIN SMITH, GINA MCGEE, MONETTE         )
SMITH, CYNTHIA CATON, GARY L.            )
CATHEY, KARI SCHNEIDER, LARRY            )
LATHAM, JUDY MCDANIEL, WILLIAM           )
BRUNCKE, JENNILYN SALINAS, LYNDSAY       )
MILLER, JOHN BERMUDEZ, DIANE             )
BLOOMBERG, PAUL KLIMAN, DARRELL          )
JARNAGIN, LORI DAVETTE INCE,             )
MONETTE INCE, KATHARINE KILPATRICK,      )
WILLIAM KILPATRICK, NANCY INSKO,         )
DANNY GARVIN, ANGELIA GARVIN, MYRA       )
J. ANDERSON, MIKE OLMSTEAD, KRISTIN      )
BOTA, DAVID BOTA, WILFRED VANDRESE,      )
CURTIS FISH, PAUL BILYEU, CYNTHIA        )
NEWTON, MARITA SEGAL, HOWARD             )
SEGAL, GREGORY SCOTT FULGHUM,            )
PHILIP EICHELBERGER, MELANIE WEBB,       )
JASON LARMAN, WENDY CARLSON,             )
CHELSEA SCHWARTZ, BLAKE GUNN, LISA       )
GUNN, EDWIN HAUGEN, KRISTEN              )
HAUGEN, DR. JERRY MORRISON, MD,          )
DEBRA ANN BENSON, PHILLIP                )
ARCHIBALD, THE PHYSIQUE BUILDER,         )
LLC, WYATT WINN, EULA DENNISON,          )
BUTCH MARSALIS, KAREN MARSALIS,          )
SHANNON SALDIVAR, RAYMOND                )
SALDIVAR, CHELSEY LINDSEY, DARLENE       )
A. PENDERY, DAVID ALAN PENDERY,          )
RICHARD BAKER, RASHELL BRIDLE,           )
ROBERT BRIDLE, ELIZABETH GRIMMETT,       )
SUSAN FEATHERSTONE, LOGAN BARTLEY,       )
LORI VALADEZ, ALBERT VALADEZ,            )

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DENISE DAVIS, STACY DANNENFELSER,         )
DONNA J. BROWN, LESLIE BERRIDGE,          )
BRIAN GLOVER, RANDY BRANDT, IVAN G.       )
MIETH, JR., LIZ ELLIOTT, KEITH ELLIOTT,   )
LESLIE WETZEL, JAMES TOMBERLIN, JOHN      )
A. KENAGY, MICHAEL D. PUCKETT,            )
THOMAS B. MILLER, KATHY SPITALE,          )
KARI RICHARDSON, LEIGH WILCOX, REX        )
FEBUS, PATRICK WHIPPLE, RITA WHIPPLE,     )
ALLISON FEY, LISA COX, DOUG FOLKS,        )
SANDRA G. SMITH, LOU MARINI, JENNIFER     )
MARINI, ALAINA MARINI, MICHAEL            )
MOLINA, II, SARAH BECKER, FRED BROWN,     )
MATTHEW CONNELL, CHARLENE                 )
CONNELL, JAMES C. KALLIMANI, BILLY        )
WAYNE MOORE, MARGIE VIOLA MOORE,          )
J.L. FOX, FORREST JACKSON, KELLIANNE      )
JACKSON, T.J. FABBY, TRACY FORDE, JOY     )
MITCHELL, CINDY DODSON, JERRI NEESE,      )
DONALD F. WOODSON, KAREN JONES,           )
DANIEL MILLER,DANA BARTELS, CLIDE         )
FERREIRA, DAVID KIMBROUGH, WENDY          )
LAND, LORIN CARDONA, DONALD W.            )
SKILES, JEFFERY G. BANE, MARY ROSS,       )
JERRI LYNN WARD, JD, CHRISTIAN            )
COLLINS, AMANDA HUGGINS, JACK             )
REAGAN, MIRANDA WOODCOCK, MIKE            )
SANDER, JOEY LUDER, ALICIA ZBYLOT,        )
CHRIS DISHMAN, DONNA HOLT, MARY           )
ANNE AIKEN, LINDA OGDEN, NICOLE           )
ADKINS, JEAN SHAW, WENDY PENG,            )
PHILIP LITTON, MARIBI S. LITTON, CHERYL   )
CARTER, CATHY COLLINS, TIM ARCHER,        )
DIANE NOSKRENT, JEANNE GARCIA,            )
PETER ALLISON, ANGELA KNITTEL,            )
MICHELE DUNHAM, PATRICK KNAPICK,          )
SHANE REUTHER, CHELSEY REUTHER, J.B.      )
DANIEL, STACY MCMAHAN, JEANIE             )
HUBLE, CRAIG LICCIARDI, CATHERINE         )
MASDEN, GEORGE MCDONOUGH, MARIA           )
KIND, ANN MAREK, SHERYL HENDRIX,          )
GEORGE LINGENFELDER, CHARLES A.           )
BARRON, KAREN DORMOIS, TERESA             )
COLEMAN, KATHRYN MONETTE, MONICA          )
KIDD, CATHY CRATE, JOE LOCETTA,           )
CAROL PAUWELS, KENDAL JOHNSTON,           )

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DAVID R. MOGILL, BILLY GRAFF, DAVID      )
HILL, ELIZABETH DINGMAN, CARMEN          )
STUDER, SHARON WADE, DENIZ BOYD,         )
SARAH GARDNER, ROSALIE DOYLE,            )
MARGARET RAGLAND, DALE BOCKER,           )
MOLLIE HLEBIK, ROBIN ARNOLD, JOHN        )
DAY, OTILIA CAPISTRAN, CAROLE H.         )
HAYNES, PH.D, SHANNON PRATER,            )
DENELL MCCLURE, MARCIA WALDEN,           )
JOHN MANN, CINDI SALINAS, HELEN          )
REYES, RENE GARZA, ANN BARFIELD,         )
JAMES PRESTON, RENEE SULLINS, ALAN R.    )
STEARNS, CHARLENE CREEK, PHYLLIS         )
ANDERSON, MARILYN WORD, LAURA            )
GRIZZLE, SCOTT BAILEY, ANDREA            )
SALLADE, MARY ESCALANTE, LINDA           )
CANADY, TAD PRESTON, SYLVIA              )
HALLERMAN, CATHY WELLS, B.J.             )
HARMAN, DEBBIE VANDERBURG, JAN           )
HINSON, SHEILA AMBROZ, MARCIA            )
NEWMAN, ROSE HUTCHINSON, TEESHA          )
SPENDER, MICHELLE MITTELSTAEDT,          )
CAROL LAFON, JACK CUNINGHAM,             )
SHARON MORGAN-LIND, GWYN EURY,           )
KRSLENA WESTON, REBECCA DUMAR,           )
VIRGINIA LAMOUREUX, JACOB                )
LANGSTON, KIMBERLY DRAUS, BETH           )
HEINLEY, JAMES BOUCHER, JOAN ENGEN,      )
NATALIA DELAOSSA, BARBARA HAWKINS,       )
HEATHER HARRIS TINA LANDRUM,             )
WILLIAM ROBINSON, WAYNE POTTER,          )
LAURA STEARNS, RICHARD STOISITS,         )
TANYA ADKINS, CHERYL WYBLE, ALICIA       )
CRISWELL, JACKIE MEDINA, LISA            )
DIMMITT, ROBERT HOWLE, EULA              )
MCKOWN, SHONDA JUAREZ, ARTURO            )
GALINDO, RONALD LAPAGLIA, MISSI          )
CARRA CLIFF CRISWELL, HILARY             )
SHELLHORSE, RHEA ROBISON, KIM            )
WALTONG, SHELLI SCHULGEN, JAMES          )
SCHULGEN, DEBORAH HART, ROY              )
STRECKFUSS, KATE BEUNGER, MILTON         )
RYAN, KATHRYN KROSLEY, ANGELICA          )
CLARK, LADONA WILLESS, ALVA              )
DRISCOLL, PHILIP PEOPLES, AUSTIN         )
BRODEUR, CANDY HALL, DEANNA BRIEM,       )

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MARSHA BUJNOCH, TAMMY BLAIR,             )
KRISCHENA ALLRED, MARIA                  )
MALDONADO, CHARLES JOHNSON,              )
JENIFER GIBSON, DOUG COTTON, MARTY       )
WHITMIRE, MARIA SOLIS, LAURA DAVLIN,     )
CARLA ROBERTSON, JASON BAILEY, TODD      )
SMITH, RUTH YORK, TODD HARTMAN,          )
MRAGO KELLER, LINDA DEANDA, PAULA        )
LIPSEY, SAM ANDERSON, BETSY              )
RODRIGUEZ, DIANE COLE, KRISTI            )
PENDERGRASS, CANDIE SHIPMAN,             )
ANGELA HOOPER, CARA GUNIA, SOMMER        )
LAPITSKY, RACHELLE SEATON, BARBARA       )
PATTON, KATY MARTINEZ, GINA              )
CORNELIUS, DEB NEUHUYS, LAURIE           )
WESTENHAVER, REBECCA DAHLQUIEST,         )
SUSAN MILLER, LISA WIEN, ELAINE          )
FLEMING, LIBBY HARKEY, MARINA VON        )
BERGEN, WILLIAM LANDERS, RHESHA          )
LANDERS, ARLENE SMART, MICHELLE          )
NELSON, TERRI MCGEE, ALLISON BARTON,     )
TRACY BRIDGES, VERONICA DAYOUB,          )
CLAUDIA TURCOTT, JOELENE LUX,            )
BENJAMIN BARNEY, DONALD CLARK,           )
JANE SCUSSEL, STARLA MALEK, SUZY         )
FITZGERALD, TERESA POWELL, MIKE COY,     )
GRADY THOMPSON, DOC GREENE, CINDY        )
TORIO, ERIC SUTPHIN, KATHY YOUNG,        )
STEVEN JONES, SANDRA BIRKLINE,           )
DEBBIE LAIRD, LUELLA MAY, JERRY          )
PEARCE, VERONIA PEARCE, NANCY            )
MCCONNELL, ALAN STEARNS JAMES            )
VILLARREAL, BRAD BIRDWELL,               )
ROSEMARY PANICI, GAIL ATWATER,           )
KANDISE BERTELSON, JILL EBEL, ANN        )
HAMILTON, KAREN GILBERT, SANDRA          )
CALDWELL, KIM MCMAHON, THOMAS            )
LANDRY, DEBRA STEARNS, BRIAN             )
ADKINS, PATRICK WALLACE, JULIE           )
RAINEY, FELIX RODRIQUEZ, HANNAH          )
ZBYLOT, JULIA STEPHENS, DENNIS           )
MANGRUM, WILLIAM TOLBERT, LYNETTE        )
LUCAS, AMBER COLLIER, JOHN SPRANKLE,     )
ANDREA SHEINBEIN, JAMES WALKER,          )
SUZANNE JOHNSTON, JAMES DOWELL,          )
AMY LINDSAY, STEVE SILLS, KAVITA         )

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PROOTHEE, EMANUELA RIOS, CAMERON         )
ADOM, FIDEL SANCHEZ, JEAN SANCHEZ,       )
CARRE PERRY, JOSE RIVERA, DEE JONES,     )
YVONNE RILEY, LISA                       )
HENDERSON,KATHLEEN AIRAUDI, TAMI         )
SMITH, DEBBIE LANDRY, ALAN TESSNEER,     )
BEAU HUGHES, HOOLY CRAIG, WILLIAM        )
DRENNAN, LYNN FORD, CHRISTI              )
CHERAMIE, RUSSELL RUSH, MARIE ANNE       )
RUSH, DEBBIE WEATHERFORD, NANCY          )
MADSON, DIANE JOHNSON, JOANNA STIRT,     )
WANDA MCKENZIE BEST, ROGER               )
MORMAN, VALERIE MURPHY, VICKY            )
MILNER, TERRI MORGAN, JEANNE             )
KELLEY, MICHAEL YEARY, DELAINE           )
SHENKIR, JANET CURRIE, BOBBY             )
CHAMBERLAIN, DEBBIE LANDRUM, MARY        )
MILLS, DIANNA RHODES, TONYA FOWLER,      )
GARY WILHIDE BEN ALLEN, MILLEE           )
PROCELLA, LYDIA BURNS, MECHELLE          )
JOHNSON, MATT BRYANT, SUSAN BUTLER,      )
CARL REED, KATHY BOOP, SELMA SMITH,      )
JENNIFER BERTINO, TERRY HALL, ROBERT     )
BUTLER, JOY MONTGOMERY, KIMBERLY         )
WALTZ, CLINT MCBRIDE GLENDA              )
PIACENTI, BRIDGETT ANDERSON, CNE         )
TOLIVER, MICHELLE SMITH, DANA LARUE,     )
JAMES HONEY, SHIRLENE SHEARS,            )
JOHANNA BARTON, SHERRIE HAIRSTON,        )
SHAD MARSHALL, ROBERTA AGNESS,           )
ANASTASIA BRIGHT, MELISSA KALINA,        )
CHRISTINA TIERNEY, CANDICE EDWARDS,      )
MARTA BASEZ, ANGELA HARTSOCK,            )
TERESHA NELSON, KRISTEN STONE,           )
COURTNEY HANSON, ALANE BEARD,            )
FRANCES PEREZ, CANDIDA GRANADOS,         )
DENISE HERNANDEZ, CANDACE DENNEY,        )
KENNETH BUSH, JIM BURNS, WENDI           )
BUCHER, CHRIS BIDDY, DAVID TREIBS,       )
KRISTY KINCAID, CHRISTINA KINDER,        )
RICHARD SHELLENBERGER, CORY              )
CROUCH, LORI BETH CABRERA TOMMIE         )
QUIDER, AMY MARTINEZ, JAMES TAYLOR,      )
MELINDA CERNERO, DEBBIE SMITH            )
HARTWELL, HEATHER SMITH, RAWNEY          )
MCVANEY, ZDENKA DURAN, BOBBY             )

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HILLIARD, MELISSA CIECHANOWICZ, KIM      )
FOXHOVEN, DEONA BAKER, TERESA            )
TAYLOR, STEVE GALLOWAY, JAN BECK,        )
ELIZABETH AUSTIN, LAYTHAN CLOKE,         )
MARGARET COLEMAN, LIZIE PILICY,          )
SONJA RUEHLE, KIERSTIN CHEEVER,          )
KALETA BURGIN, KIMBERLY LOE, LAURA       )
FAIR, ANGELA NEYWICK, AMY FRERE,         )
JANEEN OSINA, JOSE REYNA, DEBRA          )
PERRY, TERESA DEAR, REBECCA GOSART,      )
SUZEN WEST, JULIE JUMES, ELIZABETH       )
PAMPLIN, LINDA MUNROE, CAROLINE          )
KYHL, MELBA PARKER, JERRY METKER,        )
DEBRA SCAGGS, AUDREY AMIRIAN,            )
REBECCA STAGGS, CHRYS LEAL, LANNY        )
CARNLEY, MEG LONGHENRY, CALEB            )
SWACKHAMER, MATTHEW BUCKLEY,             )
CHRISTOPHER SWACKHAMER, NICOLE           )
SWACKHAMER, CASSIE ALLEN, JOE            )
WILSON, ALIYA MATHIESEN, STEVE           )
GROEBE, KIMBERLY THOMAS, JACKLYN         )
KING, SUSAN STOGNER, RANDA               )
ANDERSON, THEO WOOD, STEVE SPENCE,       )
SANDRA TOTH, JENNIE KLAAS, GREGORY       )
KNAPP, NATHAN HOLLOWAY, ASHLEY           )
HOLLOWAY, BILLY OWENS, KRISTI            )
YOUNG, MONTY SUTHER, MICHELLE            )
SCHRADER, SHARON JONES, JOEY             )
LOWERY, KATHLEEN BOSGRAAF, CORI          )
HYLAND, CAMI DEAN, FRANCINE              )
DANIELS, CAREY BOYNTON, DEBORAH          )
SMITHSON, JENNIFER LOPEZ, TRACI          )
GERVASE, DEANNA NEWMAN, BRIAN            )
HOWELL, JULIA APPLETON, GARY CAIN,       )
KANDY DAVIS, HEIDI KELLER, AMBERLYN      )
BELDEN, LORI JENKINS, LISA SNEED,        )
MELANIE STEIN, JEANNE JACOBS, MANDIE     )
PRICE, KENNETH MOSLEY, LISA              )
MCCONVILLE, TODD DAUGHTRY, KELLY         )
CHAU, CARLA GRAVENKEMPER, BRAN           )
CASALEGNO, MICHELLE KNIGHT, MONTI        )
POGUE, CINDY DAVID, SUZANNE              )
BLACKSTONE, JEREMY MORVANT,              )
EUGENE RALPH, TAMMY SMITH-               )
MAXWELL, VANYA WOLF, ETTA DOYLE,         )
MONICA STINNETT, GINA OLSEN, MARY        )

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TOLAND, MICHAEL LEROY, HEATHER           )
MCADOW, TONYA ALEXANDER, LARA            )
FEAGINS, SUZANNE VEAL, CAROL DALEY,      )
LESLIE STRICKLAND, TIFFANY DURAN,        )
HEATHER HULTGREN, LANA WARREN,           )
ERIN NARANJO, JULIE JONES, KIMBERLY      )
VASQUEZ, PATRICIA WHITE, JOHNN           )
AMANN, MARYLIN REYNOLDS, JEFFREY         )
CLARK, LINDA HOWELL, ANDREW              )
FARRELL, JENNY CUDD, RONALD GUIDRY,      )
DAN SCOTT, DEBORAH SAPP, CHARLES         )
SMITH, FELISA WILLIAMS, MICHAEL          )
VOETEE, DONNA VOETEE, COLLETTEE          )
ROGERS, ANGELA HAMPTON, SCOTT            )
CONDIT, LYN TREVINO, DONALD JONES,       )
ELIZABETH PRITCHARD, LYN TREVINO,        )
TIFFANY KAMPMANN, ALICIA CORNELL,        )
CATHY EDMINSTER, RON SPEAKS,             )
WILLARD KERR, KRISTAL QUINTANILLA,       )
PEGGY PLOSS, ELAINA MANGO, CHARLIE       )
MARTIN, MELINDA PRESTON, LORI            )
MARTIN, JANIE BRITTAIN, KATY HARDIN,     )
PATRICIA NICHOLAS, SHANNON TA,           )
JENNIFER MAXWELL, MICHELLE               )
OBERLECHNER, AUDRA STINSON,              )
ROWENA HARMON, JEREMIAH HUNTER,          )
JEFFERY REED, SCOTT BELL, ALLISON        )
REED, LUIS DUQUE, JR., PATRICIA          )
KENNEDY, ALLEN K. NEIGHBORS, WANDA       )
W. GRIFFIN, JUDI J. BENESTANTE, PH.D,    )
JOHN E. BENESTANTE, RACHAEL              )
FREEMAN, REBECCA ROGERS, TERRY           )
WAREHAM, ROSA FLORES, CYNDI VARA,        )
JAMES DAGGETT, STEPHEN MCKINLEY,         )
JONNY JAHANI, PATRICK GALLAGHER,         )
RACHEL GALLAGHER, HANNAH JAHANI,         )
TOM WILLIAMSON, VICKI WILLIAMSON,        )
EMILY JACKSON, GREGORY T. HARROP,        )
LYNDA HARROP, BETTY J. WINTERS,          )
CHARLES A. MULVENA, JOSEFINA             )
MULVENA, and KATHERINE PRATT,            )
                                         )
           Plaintiffs,                   )
                                         )
                  v.                     )
                                         )
GOVERNOR GREG ABBOTT,
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 in his official capacity,                           )
 THE STATE OF TEXAS,                                 )
 TEXAS HEALTH AND HUMAN SERVICES                     )
 COMMISSION                                          )
 (Texas HHSC),                                       )
 TEXAS DEPARTMENT OF STATE HEALTH                    )
 SERVICES                                            )
 (Texas DSHS),                                       )
 PHIL WILSON,                                        )
 in his official capacity as Executive Director of   )
 Texas DSHS, JOHN WILLIAM HELLERSTEDT,               )
 MD,                                                 )
 in his official capacity as Commissioner of the     )
 Texas DSHS, and                                     )
 BENTLEY NETTLES, in his official                    )
 Capacity as Executive Director of the               )
 Texas Alcohol and Beverage Commission,              )

        Defendants.

  PLAINTIFFS’ COMPLAINT AND APPLICATION FOR PRELIMINARY INJUNCTION
                  AND PERMANENT INJUNCTIVE RELIEF

       Plaintiffs Steven F. Hotze, M.D. (“Hotze”), Hotze Health & Wellness Center, Edd Hendee,

Taste of Texas Restaurant, Physicians Preference Pharmacy International, LLC, Curam Health,

LLC, Hon. William w. Zedler, Hon. Molly White, Hon. Gary W. Elkins, Hon. Rick Green, Hon.

Josh Flynn, Cathie Adams, Norman Adams, Al Hartman, Greg Blume, Walker West, Tonia “Tee”

Allen Parker, Jason Parker, Melissa Lynn Kelly, Gabrielle Ellison, Adam Duran, Jennifer Gibbs,

Elvin Coy Chew, Kevin Wann, Kellie Messer, Chris Bergeron, Sandra Young, Holly Landry,

Heather Vaughan, Erica Mann, Cody Reeves, Rodney Holder, Shawn Reising, Tee Allen, Clarence

Thomas, Eric Stevens, Saul Sultan, Chris Beardon, Beverly Strain, Ryan McNeil, Elizabeth

McNeil,, Andre Koda, John Young, Robert L. Loage, Randy Crook, Rachel Bradley, Morris

Landrum, Wendy Landrum, David Phillips, Renee Phillips, Delia MacKenzie, Kenny Kittrell,

James W. Blair, III, Tammy J. Blair, Mike Braswell, Shenita Cleveland, Thomas Tyrrell, Clayton

Davenport, Jim Monroe, Jared Grein, Steve Kerns, Robert Morgan, MSN, Pastor Juan Bustamante,

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Pastor David Valdez, Pastor John Greiner, Pastor Matt Woodfill, Gary Giuffre, Pastor Bridgette

Lozano, Pastor Cody Weightman, Pastor Aaron Collier, Pastor Patrick Stewart, Pastor Rick

Scarborough, Hannah Young, Ken Prejean, Matt Brice, owner of American Federal Grill, Mike

Morton, Mike Zullo, Alicia Zullo, Ashely Zullo, Rob Zullo, Trisha LaBlanc, Judson Aja, Jane

Frazier, Mario Hernandez, Mark Shannon Tammy Warren, Annmarie Cantwell, Brian Speer,

Melissa Carlisle, Paul Garland, Darrell W. Self, Lee Jenkins, Robert Wheeler, Jr., Donald E. Page,

Peggy Denson, James Ray White, Sharon Sykes, Dal L. Sharp, Brent Edminster, Sam Rogers,

Michelle Pustejovsky, Dana Brock, Mike Wallace, Benjamin LaMoure, Kelley Meshberg, Gabriel

Tuft, Carol Markek, Teri A. Walter, Amy Smith, Michael Vaughn, Mint Poker Clubs, Travis

Norman, Thomas D. Tyrrell, Bonnie Anderson, Robert Hungate, Gene Stevens, David Smith,

Kevin Moore, Joanie Markham, David Kemp, Barry D. Adkins, Christine Bradley, Chris Persaud,

William J. Boswell, Jr., Vickie Michelle Kottwits, R.J. Smith, Julia Von Ehrenfried, David R.

Traynor, Janet Jackson, Ashley Bryan, Anthony Powell, Jason Anderson, Cynthia D. Cruz, Dave

Anderson, Michelle Anderson, Ian Katz, Gary Purvis, Brenda Cheney, Grant Bynum, Benjemen

Hitson, Leslie Hunt, Gbenga Asedeko, Mike Tracy, Thomas Blackmer, Chace Lyn, Ashley

Harvey, William M. Stevens, Christina Brower, Eugene J. Robinson, Emanuel Lewis, Rebecca

Steinmetz, Andy Prestridge, Alayna White, Steven Baysinger, Paula Moore, William Hammett,

Keely Thomas, Scott Chamberlin, Lyndsey Lusk, Krystal Kincaid, Sean Bielstein, Amber Morris,

Riley J. Nash, Salena Rothenberger, Kris Moulton, Catherine Banks, Mack Miller, Bandee

Bratton, Gabriel Duran, Kelly Hamilton, Jay Weber, Araceli Castaneda, Dallas Wottlin, Frank St.

Francis, Dwayne Ryman, Tammy Gentry, Caren Marshall, Denise Blalock, Arnoldo Rangel, Jim

Palomo, Karla Dawn Balluch, Terrie Pau, Pamela Granger, Glenna Hodge, Karen Rogers, Richard

Hotze, CEO, Compressor Engineering Corporation, CECO Pipeline Services Company, Inc.,



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CECO Services Corporation, In Management, LLC< Source of Supply Corporation, Inter NOS,

LTD., Inter NOS Space Plus, LTD., Inter NOS Odessa, Ltd., Inter NOS Pipeline, Ltd., Inter NOS

TP Investments, LTD., Inter NOS Walker, LTD., Inter NOS Springville, LTD., Priscilla Gorman,

Dawn Walsh, Tamara Austin, Barclay H. Russell, Jr., Texas Electrical Safety Association, Robert

E. Hatfield, II, Veronica B. Hatfield, Jeff Kibodeaux, Elizabeth Blake, Jennifer Leiendecker,

Adam Stacoviak, Britt Hurst, Rick Smith, Building Blocks, LLC, ES Family Fitness, LLC,

Building Block, Inc., Ryann Day, Stuart Davenport, Richelle Batt, Matthew Smith, Richard

Thomas, Lindi Braddock, Rebecca Y. Larson, Ryan Munoz, Jeff Landry, Lisa Landry, Linda

Jansen, Tu Phan, Melissa Rowell, Cynthia Salnias, Shane Walker, Cayla Walker, Kathryn

Standley, John Boretski, John D. Howell, Bruce Boyd, Debbie Ramsey, Linda Allen, Margarete

Cole, Matthew Nowell, Jacob Feldman, Linda Collins, Tiffani Chapa, Robin Hubbard, David

Kuchurivskyy, Laurie Lozano, Oralia Acosta, Brienne H. Loftis, Raquetta Portalatin, Jonathan

Findley, Calvin Brown, Elvin Coy Chew, Connie Jones, Tonia Allen Parker, Melissa Luce, Trinity

Jackson Hall, Nicholas Ritchie, Kathryn Ritchie, James Barclift, Stephine Connelly, Riley Nash,

Michelle LeTulle, Damon Sollman, Rose Rivera Hutchinson, Randy Box, Monique Cooper,

Tammy Cotton, Jenny Breen, Tammie Birdwell, Kelly Pelletier, Tarrin Warren, Pacey Chynoweth,

David Lee Kykstra, Jr., Janie Blomquiest, Andrew Harman, Kraig Aron Russell, Jon W. Marsh,

Eric Christopher, Norman Harris, Tammy Morris, Paul Morris, Hilary Wheeler, Scot Moran, Tim

Nichols, Michele Stricker, Carol Carter, Laurie McCawley, Leslie Neves, Lance Neves, Wanda

Webb, Sarah Vetere, Aaron R. Rasor, William J. Odom, Joe W. Mathias, Melanie F. Webb,

Colleen Crockett, Lori McDonough, Wayne Ritchie, Jacqueline Ritchie, Lance Crockett, Lee Ann

Crockett, Michael J. Lathern, Mary Ann Lathern, M.J. Lathern Co., Inc., Connie Wolfe, Blake

McDaniel, Jose A. Rivera, Lisa Wooldridge, Bryan Bilderback, Mark LaGrange, Chris Adams,



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Bobbye Adams, Kevin Morgan, Kevin Wann, Kellie Messer, Thomas Wright, Laurie Tindall,

Katrina Cannon, Dawn Hayden, Nancy Roberts, Kimberly Gutierrez, Robert Schoppe, Shelia

Bartley, Thomas Barrett, Kenneth T. McDonald, Lauren B. McGee, Dawn Simpson, Ken Dernehl,

Rita Dernehl, Mark S. Barlow, M.D., Holly Landry, Tee Parker, Heather Vaughan, Chrystal

Patterson, Joshua Troy Furnish, Charlene Cheek, Carmen M. James, Daniel Corley, David Allen,

Marsha Wellmann, Ashley Zanella, Lance Olshovsky, Brandie Fussell, Jason Fussell, Marcia

Newman, Kevin Peterson, Mary Jennifer Duncan, Jay Mincks, Catherine Engelbrecht, Rev. Bill

Owens, Dr. Deborah Owens, Everett Campbell, Jessie Wilcoxson, Jamie Borman, Robyn Cade,

Ashley Joslin, Robert Willeby, Susan Coburn, Johnnie Dryden, Ronald White, Patricia Kudlacek,

Galey Hannah, Patrika Romano, Janet Yeaney, Leonard Swanson, WV Alliance Group Corp.,

Mark Blomquist, Juanita Blomquist, Jay Webster, Martha Webster, James G. Caire, Jr., Sandy

Aronds, Donna Teeter, Yvette DeOtte, James A. Morris, Kimberly Dean, Nikki Sopchak, Adrian

Heath, Jay Lewchanin, Sarah Hawthorne, Veronica Pedraza, Tammy Howard, Kelli Baliker, Steve

Sessums, Josie Moss, Tracy Forester, Joy Burwell, Sarah Duffy Lamnek, Kenith Laird, Holli

Feeley, Johanna Schuepbach, Joshua Jones, Rebecca Jones, Heather Evan, Calvin Russell, Ginger

Russell, Dani Ortiz, Debbie Cooper, Christian Berger, Cheryle Acosta, John Kmiecik, Sheila

Manghera, Greg Sykes, Eileen Barlow, Brittany McClure, Christina Sessums, Lydel Bertasz,

Maris Smith, Philip Conklin, Gary W. Whitaker, DC, Kirt Highberger, Gaye Powell, Charles

Ackerman, Shannon McGraw, Loucinda Palmer, Tracy Valdez, Kelli Nicole Stone, Miranda

Barnett, Diana Chapman, Darren Morahan, Cougar Offshore, LLC, Michelle Morahan, Jeff

Cokenour, Patsy Sacco Ljungdahl, Matthew Jay, Kim Thiehoff, David Phillips, Karen Phillips,

Gary Stewart, Wanda Stewart, Corby Clark, Brenda Clark, Kevin Massie, KAM Marketing, LLC,

KAM Financial, LLC, Sheila Clemmons, Amber Olsen, Kathy Norris, Jim Ray, Ruth Ray,



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Meredith Garrou, Vicki Hogan, Margaret Immel, Cathi Wood, Judy Artall, Curt Littman, James

C. Pruett, Kim Swanger, Mary Ann Everett, Gary Vandenberg, Wendy Bego, Laure Haro, Jose

Luis Solis, Myrna Solis, Rob Jensen, Carole Menefee-Jensen, Andrew Bennett, Devin Grider,

Susannea Grider, Dennis Alexander, Grace Wallace, Darrin W. Smith, Rich DeOtte, Nicholas

Lamme, Tracy M. Thomas, Jennifer Milner, Megan Hartman, Heidi Trimpe, Lynette Gogol, Alicia

D. Cornell, Linda Rice, Cameron Jennings, Joy Roberts, Cortney Russell, Dr. Polly Heil-Mealey,

Julie Lawrence, Christi Moorman, John F. Foos, Brandy Green, Joni Schultz, Steven Salfelder,

Melody Spray, William Spray, Marianne Lagerstrom, Christian Dobbins, Colette Dobbins,

Rebecca Graves, Mike Molina, Mark Lawrence, Katherine Hagood, Kent Hagood, Nina Lee,

Lesley Pyle, Robert L. Sanchez, Margaret Fournet, Dr. David Cox, DC, Justin K. Hall, Lori Raines,

Joseph Raines, Chris Blystone, Mary D. Corley, Mark Russell, Debra Slaton, Lee Proctor, Tiffanie

Fowler, John Anderson, Donna McCune, Joseph L. Trahan, Jr., Patricia Krenek, Allen McHenry,

Judy H. Burns, Amber Kutach, Kodi Kieler, David Watts, Matt Gokingco, Joy Kristine Walls,

Alyson Hayes, Mary Cashion-Smith, Jessica Rushing, Jeff Clark, Laura Senser, Robyn Aldridge,

Steven C. Thoe, Mitzi Pudlo, Paul Traskal, Liz DeOtte, Kelsey Morris, Claude M. Jaynes,

Michelle Petersen, Jeff Gunter, Larry Burkham, Teresa Burkham, Ronald Ashmore, Kristi Goebel,

Carolyn B. Gard, Scott C. Stanton, April L. Pylie, Brent Staggs, Troy Horton, Jerry Perdue, Larry

E. Slovak, Joanne E. Juren, Roy Phillips, Veronica Phillips, Joseph Ohnheiser, Carol Creamer-

Pompa, Gari-Anne Smith, Debbie Branch, Julie Huffaker, Lisa Duran, DeLila G. Bogart, Casey

Hubbard, Danne Thompson, Katheryn Moore, Richard Pudlo, Harper Price, Carla Nagel, William

B. Tyler, William J. Whitburn, Jr., Denice Yeagin, William Zed Penn, Rose Marie Penn, Karen

Starnes, Jo Caraway, Ellen Stein, Laura Oakley, Debbie Allcott, Deborah Thorne, Kathleen

Thonsgaard, Michael Silversmith, Vanessa Silversmith, Sherrie Morrison, Cheryl Garihan, Nicole



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Tait, Dani Trees, Araceli Morris, Lonnie Beaty, Mary Windham, Hilary Rabeler, Thomas Jenkins,

Sharilyn Fathy, Bill Satterlee, John P. Nichols, Cinda L. Nichols, Greg Collis, Keatha Brown,

Charles Haight, Debra Jones, Liz Cockrell, Brittany Buchanan, Clinton E. Hildabrand, Michael

Ford, Rebecca Fanning, Todd Bullis, Anthony Uebel, Nicole Uebel, Beth Collis, Jessica Herrera,

Robert Herrera, Jonathan DeAnda, William Roberts, Julianne Adams, Audra Gray, Susan Grindon,

Laurie Schmid, Anndrea Criswell, Jennifer Ringgold, Alice Aten, Denise Greer, Ken W.

Browning, Judy Thompson, Gene Lamoreaux, John R. Todd, Dale J. Kubbs, Mary Konarik, Laura

Pressley, Ph.D., Jeffrey G. Bane, Tim Zymantas, Jen Zymantas, Diane Van Hoozer, Sherri Golden,

Mike Blackledge, John Neighbors, Philip Pepin, Linda Gonino, Gaye Mackie, Jim Wade, Lori

Valenti, David Bernal, Thomas Mackie, Sheri Southard, Dawn Lock, Andrea Moede, Scott Down,

Sri Down, Terry Flick, Darin Cade, Nicole Fleming, Whitney Thomas, Tiffany Powers, Richard

Mendoza, Pamela Faye Cain-Johnson, Frank Dryden, Nita Adam, Antonio Sanchez, Terri Snow,

Peggy Dazzio, Kristine Longwood, Monica Halliburton, Kerry Hellums, Toni Hellums, Ricci

Bratton, Linda Trevino, Lourdes Gonzalez, Helenna Marie Nesler, Krista Graff, Linda Veselka,

Franklin L. Allbright, Maureen Godsey, Spencer Delling, Marsha Brister, Dr. Christy Flick, Cody

Becker, Betty Anderson, Dana Zuercher, Joan Britz, Charity King, Joni Boyd, Rand Boyd, Pamela

Farley, Rachael Barton, Thomas R. Hull, Callie Gibson, George M. Clemens, Ed Huber, Juan M.

Padron, Martha L. Anglin, Paul Anderson, David Wakeen, Sondra Zimmerman, Sandra E. Ray,

Julia E. Dailey, Jeanine T. Voss, Janice Borne, Karen Gates Frost, Laura Beth Jackson, G. Scott

Jackson, Diane Barnes, Thomas B. Beau, David L. Hartman, Jr., Angela L. Hough, Charlotte

Denmark, Gary M. Pirkle, Donald Zeek, Geri Bentley, Joseph A. Bourge, Terri Wilson, Christine

Martinez, Michael Ketter, Martha MacLean, Ken Clark, Cynia Read, Dennis Read, Janet Jordan,

Douglas Haun, Kenneth Clark, Brad Booth, Ronda Latham, Rosa M. Montano, Jennifer Peterson,



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Richard Ertl, Desmond Flores, Janice Dempsey, Rose Mary Leal, Rhonda Mogford, Anastasia

Sanders, Don Sanders, Monica Clark, Pat Corcoran, Keith Noack, Jared Saenz, Kevin Overbay,

Lee Lester, Cynthia Bowen, Mary Kesler, Angela Covarrubio, Allison Straub, Kevin Smith, Gina

McGee, Monette Smith, Cynthia Caton, Gary L. Cathey, Kari Schneider, Larry Latham, Judy

McDaniel, William Bruncke, Jennilyn Salinas, Lyndsay Miller, John Bermudez, Diane

Bloomberg, Paul Kliman, Darrell Jarnagin, Lori Davette Ince, Monette Ince, Katharine Kilpatrick,

William Kilpatrick, Nancy Insko, Danny Garvin, Angelia Garvin, Myra J. Anderson, Mike

Olmstead, Kristin Bota, David Bota, Wilfred Vandrese, Curtis Fish, Paul Bilyeu, Cynthia Newton,

Marita Segal, Howard Segal, Gregory Scott Fulghum, Philip Eichelberger, Melanie Webb, Jason

Larman, Wendy Carlson, Chelsea Schwartz, Blake Gunn, Lisa Gunn, Edwin Haugen, Kristen

Haugen, Dr. Jerry Morrison, MD, Debra Ann Benson, Phillip Archibald, The Physique Builder,

LLC, Wyatt Winn, Eula Dennison, Butch Marsalis, Karen Marsalis, Shannon Saldivar, Raymond

Saldivar, Chelsey Lindsey, Darlene A. Pendery, David Alan Pendery, Richard Baker, Rashell

Bridle, Robert Bridle, Elizabeth Grimmett, Susan Featherstone, Logan Bartley, Lori Valadez,

Albert Valadez, Denise Davis, Stacy Dannenfelser, Donna J. Brown, Leslie Berridge, Brian

Glover, Randy Brandt, Ivan G. Mieth, Jr., Liz Elliott, Keith Elliott, Leslie Wetzel, James

Tomberlin, John A. Kenagy, Michael D. Puckett, Thomas B. Miller, Kathy Spitale, Kari

Richardson, Leigh Wilcox, Rex Febus, Patrick Whipple, Rita Whipple, Allison Fey, Lisa Cox,

Doug Folks, Sandra G. Smith, Lou Marini, Jennifer Marini, Alaina Marini, Michael Molina, II,

Sarah Becker, Fred Brown, Matthew Connell, Charlene Connell, James C. Kallimani, Billy Wayne

Moore, Margie Viola Moore, J.L. Fox, Forrest Jackson, Kellianne Jackson, T.J. Fabby, Tracy

Forde, Joy Mitchell, Cindy Dodson, Jerri Neese, Donald F. Woodson, Karen Jones, Daniel Miller,

Dana Bartels, Clide Ferreira, David Kimbrough, Wendy Land, Lorin Cardona, Donald W. Skiles,



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Jeffery G. Bane, Mary Ross, Jerri Lynn Ward, JD, Christian Collins, Amanda Huggins, Jack

Reagan, Miranda Woodcock, Mike Sanders, Joey Luder, Alicia Zbylot, Chris Dishman, Donna

Holt, Mary Anne Aiken, Linda Ogden, Nicole Adkins, Jean Shaw, Wendy Peng, Philip Litton,

Maribi S. Litton, Cheryl Carter, Cathy Collins, Tim Archer, Diane Noskrent, Jeanne Garcia, Peter

Allison, Angela Knittel, Michele Dunham, Patrick Knapick, Shane Reuther, Chelsey Reuther, J.B.

Daniel, Stacy McMahan, Jeanie Huble, Craig Licciardi, Catherine Masden, George McDonough,

Maria Kind, Ann Marek, Sheryl Hendrix, George Lingenfelder, Charles A. Barron, Karen

Dormois, Teresa Coleman, Monica Kidd, Cathy Crate, Joe Locetta, Carol Pauwels, Kendal

Johnston, David R. Mogill, Billy Graff, David Hill, Elizabeth Dingman, Carmen Studer, Sharon

Wade, Deniz Boyd, Sarah Gardner, Rosalie Doyle, Margaret Ragland, Dale Bocker, Mollie

Hlebik, Robin Arnold, John Day, Otilia Capistran, Carole H. Haynes, Ph.D, Shannon Prater,

Denell McClure, Marcia Walden, John Mann, Cindi Salinas, Helen Reyes, Rene Garza, Ann

Barfield, James Preston, Renee Sullins, Alan R. Stearns, Charlene Creek, Phyllis Anderson,

Marilyn Word, Laura Grizzle, Scott Bailey, Andrea Sallade, Mary Escalante, Linda Canady, Tad

Preston, Sylvia Hallerman, Cathy Wells, B.J. Harman, Debbie Vanderburg, Jan Hinson, Sheila

Ambroz, Marcia Newman, Rose Hutchinson, Teesha Spencer, Michelle Mittelstaedt, Carol LaFon,

Jack Cunningham, Sharon Morgan-Lind, Gwyn Eury, Krislena Weston, Rebecca Kumar, Virginia

Lamoureux, Jacob Langston, Kimberly Kraus, Beth Heinley, James Boucher, Joan Engen, Natalia

DeLaOssa, Barbara Hawkins, Heather Harris, Tina Landrum, William Robinson, Wayne Potter,

Laura Stearns, Richard Stoisits, Tanya Adkins, Cheryl Wyble, Alcia Criswell, Jackie Medina, Lisa

Dimmitt, Robert Howle, Eula McKown, Shonda Juarez, Arturo Galindo, Ronald Lapaglia, Missie

Carra, Cliff Criswell, Hilary Shellhorse, Rhea Robison, Kim Walton, Shelli Schulgen, James

Schulgen, Deborah Hart, Roy Streckfuss, Kate Buenger, Milton Ryan, Kathryn Krosley, Angelica



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Clark, LaDona Willess, Alva Driscoll, Philip Peoples, Austin Brodeur, Candy Hall, Deanna Briem,

Marsha, Bujnoch, Tammy Blair, Krischena Allred, Maria Maldonado, Charles Johnson, Jenifer

Gibson, Doug Cotton, Marty Whitmire, Maria Solis, Laura Davlin, Carla Robertson, Jason Bailey,

Todd Smith, Ruth York, Todd Hartman, Margo Keller, Linda DeAnda, Paula Lipsey, Sam

Anderson, Betsy Rodriguez, Diane Cole, Kristi Pendergrass, Candie Shipman, Angela Hooper,

Cara Gunia, Sommer Lapitsky, Rachelle Seaton, Barbara Patton, Katy Martinez, Gina Cornelius,

Deb Neuhuys, Laurie Westenhaver, Rebecca Dahlquist, Susan Miller, Lisa Wien, Elaine Fleming,

Libby Harkey, Marina Von Bergen, William Landers, Rhesha Landers, Arlene Smart, Michelle

Nelson, Terri McGee, Allison Barton, Tracy Bridges, Veronica Dayoub, Claudia Turcott, Joelene

Lux, Benjamin, Barney, Donald Clark, Jane Scussel, Starla Malek, Suzy Fitzgerald, Teresa Powell,

Mike coy, Grady Thompson, Doc Greene, Cindy Torio, Eric Sutphin, Kathy Young, Steven Jones,

Sandra Birkline, Debbie Laird, Luella May, Jerry Pearce, Veronica Pearce, Nancy McConnell,

Alan Stearns, James Villarreal, Brad Birdwell, Rosemary Panici, Gail Atwater, Kandise Bertelson,

Jill Ebel, Ann Hamilton, Karen Gilbert, Sandra Caldwell, Kim McMahon, Thomas Landry, Debra

Stearns, Brian Adkins, Patrick Wallace, Julie Rainey, Felix Rodriquez, Hannah Zbylot, Julia

Stephens, Dennis Mangrum, William Tolbert, Lynette Lucas, Amber Collier, John Sprankle,

Andrea Sheinbein, James Walker, Suzanne Johnston, James Dowell, Amy Lindsay, Steve Sills,

Kavita Proothee, Emanuela Rios, Cameron Adom, Fidel Sanchez, Jean Sanchez, Carre Perry, Jose

Rivera, Dee Jones, Yvonne Riley, Lisa Henderson, Kathleen Airaudi, Tami Smith, Debbie Landry,

Alan Tessneer, Beau Hughes, Holly Craig, William Drennan, Lynn Ford, Christi Cheramie,

Russell Rush, Marie Anne Rush, Debbie Weatherford, Nancy Madson, Diane Johnson, Joanna

Stirt, Wanda McKenzie Best, Roger Morman, Valerie Murphy, Vicky Milner, Terri Morgan,

Jeanne Kelley, Michael, Yeary, Delaine Shenkir, Janet Currie, Bobby Chamberlain, Debbie



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Landrum, Mary Mills, Dianna Rhodes, Tonya Fowler, Gary Wilhide, Ben Allen, Millee Procella,

Lydia Burns, Mechelle Johnson, Matt Bryant, Susan Butler, Carl Reed, Kathy Boop, Selma Smith,

Jennifer Bertino, Terry Hall, Robert Butler, Joy Montgomery, Kimberly Waltz, clint McBride,

Glenda Piacenti, Bridgett Anderson, CNE Toliver, Michelle Smith, Dana Larue, James Honey,

Shirlene Shears, Johanna Barton, Sherrie Hairston, Shad Marshall, Roberta Agness, Anastasia

Bright, Melissa Kalina, Christina Tierney, Candice Edwards, Marta Basez, Angela Hartsock,

Teresha Nelson, Kristen Stone, Courtney Hanson, Alane Beard, Frances Perez, Candida Granados,

Denise Hernandez, Candace Denney, Kenneth Bush, Jim Burns, Wendi Bucher, Chris Biddy,

David Treibs, Kristy Kincaid, Christina Kinder, Richard Shellenberger, Cory Crouch, Lori Beth

Cabrera, Tommie Quider, Amy Martinez, James Taylor, Melinda Cernero, Debbie Smith Hartwell,

Heather Smith, Rawney McVaney, Zdenka Duran, Bobby Hilliard, Melissa Ciechanowicz, Kim

Foxhoven, Deona Baker, Teresa Taylor, Steve Galloway, Jan Beck, Elizabeth Austin, Laythan

Cloke, Margaret Coleman, Lizie Pilicy, Sonja Ruehle, Kierstin Cheever, Kaleta Burgin, Kimberly

Loe, Laura Fair, Angela Neywick, Amy Frere, Janeen Osina, Jose Reyna, Debra Perry, Teresa

Dear, Rebecca Gosart, Suzen West, Julie Jumes, Elizabeth Pamplin, Lind Munroe, Caroline Kyhl,

Melba Parker, Jerry Metker, Debra Scaggs, Audrey Amirian, Rebecca Staggs, Charys Leal, Lanny

Carnley, Meg Longhenry, Caleb Swackhamer, Matthew Buckley, Christopher Swackhamer,

Nicole Swackhamer, Cassie Allen, Joe Wilson, Aliya Mathiesen, Steve Groebe, Kimberly

Thomas, Jacklyn King, Susan Stogner, Randa Anderson, Theo Wood, Steve Spence, Sandra Toth,

Jennie Klaas, Gregory Knapp, Nathan Holloway, Ashley Holloway, Billy Owens, Kristi Young,

Monty Suther, Michelle Schrader, Sharon Jones, Joey Lowery, Kathleen Bosgraaf, Cori Hyland,

Cami Dean, Francine Daniels, Carey Boynton, Deborah Smithson, Jennifer Lopez, Traci Gervase,

Deanna Newman, Brian Howell, Julia Appleton, Gary Cain, Kandy Davis, Heidi Keller, Amberlyn



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Belden, Lori Jenkins, Lisa Sneed, Melanie Stein, Jeanne Jacobs, Mandie Price, Kenneth Mosley,

Lisa McConville, Todd Daughtry, Kelly Chau, Carla Gravenkemper, Bryan Casalegno, Michelle

Knight, Monti Pogue, Cindy David, Suzanne Blackstone, Jeremy Morvant, Eugene Ralph, Tammy

Smith-Maxwell, Vanya Wolf, Etta Doyle, Monica Stinnett, Gina Olsen, Mary Toland, Michael

LeRoy, Heather McAdow, Tonya Alexander, Lara Feagins, Suzanne Veal, Carol Daley, Leslie

Strickland, Tiffany Duran, Heather Hultgren, Lana Warren, Erin Naranjo, Julie Jones, Kimberly

Vasquez, Patricia white, John Amann, Marylin Reynolds, Jeffrey Clark, Linda Howell, Andrew

Farrell, Jenny Cudd, Ronald Guidry, Dan Scott, Deborah Sapp, Charles Smith, Felisa Williams,

Michael Voetee, Donna Voetee, Collettee Rogers, Angela Hampton, Scott condit, Lyn Trevino,

Donald Jones, Elizabeth Pritchard, Tiffany Kampmann, Alicia Cornell, Cathy Edminster, Ron

Speaks, Willard Kerr, Kristal Quintanilla, Peggy Ploss, Elaina Mango, Charlie Martin Melinda,

Preston, Lori Martin, Janie Brittain, Katy Hardin, Patricia Nichols, Shannon Ta, Jennifer Maxwell,

Michelle Oberlechner, Audra Stinson, Rowena Harmon, Jeremiah Huter, Jeffery Reed, Scott Bell,

Allison Reed, Luis Duque, Jr., Patricia Kennedy, Allen K. Neighbors, Wanda W. Griffin, Judi J.

Benestante, Ph.D, John E. Benestante, Rachael Freeman, Rebecca Rogers, Terry Wareham, Rosa

Flores, Cyndi Vara, James Daggett, Stephen McKinley, Jonny Jahani, Patrick Gallagher, Rachel

Gallagher, Hannah Jahani, Tom Williamson, Vicki Williamson, Emily Jackson, Gregory T.

Harrop, Lynda Harrop, Betty J. Winters, Charles A. Mulvena, Josefina Mulvena, and Katherine

Pratt, (“Plaintiffs”) file this Complaint and Application for Preliminary Injunction, and Permanent

Injunctive Relief (the “Complaint”) against Governor Greg Abbott, in his official capacity, and the

State of Texas, including its employees and agents, Texas Health And Human Services

Commission (Texas HHSC), Texas Department Of State Health Services (Texas DSHS), Phil

Wilson, in his official capacity as Executive Director of Texas DSHS, John William Hellerstedt,



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MD, in his official capacity as Commissioner of the Texas DSHS, Bentley Nettles, in his official

capacity as Executive Director of the Texas Alcohol and Beverage Commission, (collectively,

“State Defendants”), and in support Plaintiffs allege as follows:

                                  NATURE OF THE ACTION


         1.    Plaintiffs sue Defendants for declaratory judgment and injunctive relief pursuant to

42 U.S.C. § 1983 for violations of the Plaintiffs’ First, Fourth, and Fourteenth Amendment rights,

in connection with Defendants’ unjustified interference with Plaintiffs’ lawful activities and

Defendants’ unlawful adoption of “contact tracing” to track and monitor daily movements of

Texans, including Plaintiffs.

         2.    As set forth more fully in the Prayer for Relief, Plaintiffs seek the following relief:

               (a)     An injunction prohibiting Defendants from implementing “contract tracing”

of law-abiding Texans, including Plaintiffs;

               (b)     Declaratory relief that Defendants have violated Plaintiffs’ constitutional

rights; and

               (c)     Monetary damages in the amounts suffered by Plaintiffs by virtue of

Defendants’ infringements on their constitutional rights.

                                            PARTIES


         1.    Plaintiff Steven F. Hotze, M.D., is a Texas resident who resides in Harris County,

Texas.

         2.    Plaintiff Hotze Health and Wellness Center is a Texas Corporation doing business

in Harris County, Texas.

         3.    Plaintiff Edd Hendee is a Texas resident who resides in Harris County, Texas.



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         4.    Plaintiff Taste of Texas Restaurant is a Texas Corporation doing business in Harris

County, Texas.

         5.    Plaintiff Physicians Preference Pharmacy International, LLC is a Texas Limited

Liability Company doing business in Harris County, Texas.

         6.    Plaintiff Curam Health, LLC is a Texas Limited Liability Company doing business

in Harris County, Texas.

         7.    Plaintiff Hon. William W. Zedler is a member of the Texas House of

Representatives and a resident of Tarrant County, Texas.

         8.    Plaintiff Hon. Molly White is a former member of the Texas House of

Representatives and a resident of Bell County, Texas.

         9.    Plaintiff Hon. Gary W. Elkins is a former member of the Texas House of

Representatives and a resident of Harris County, Texas.

         10.   Plaintiff Hon. Rick Green is a former member of the Texas House of

Representatives and a resident of Hays County, Texas.

         11.   Plaintiff Hon. Josh Flynn is a delegate and Secretary for the Republican Party of

Texas and a resident of Harris County, Texas.

         12.   Plaintiff Cathie Adams is the former Chairperson, Republican Party of Texas and a

resident of Collin County, Texas.

         13.   Plaintiff Norman Adams is a Texas resident who resides in Harris County, Texas.

         14.   Plaintiff Al Hartman is a Texas resident who resides in Harris County, Texas.

         15.   Plaintiff Greg Blume is a Texas resident who resides in Harris County, Texas.

         16.   Plaintiff Walker West is a Texas resident who resides in Montgomery County,

Texas.



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       17.    Plaintiff Tonia Allen Parker is an owner of the Machine Shed Bar and Grill located

at 6113 State Highway 31, Kilgore, Smith County, Texas 75662.

       18.    Plaintiff Jason Parker is an owner of the Machine Shed Bar and Grill located at

6113 State Highway 31, Kilgore, Smith County, Texas 75662.

       19.    Plaintiff Melissa Lynn Kelly is the owner of Outlaws Longview Bar located at 1315

Marshall Avenue, Longview, Gregg County, Texas 75601.

       20.    Plaintiff Gabrielle Ellison is the owner of Big Daddy Zanes Bar located at 6840 W.

University Boulevard, Odessa, Ector County, Texas.

       21.    Plaintiff Adam Duran is the owner of Fry Street Tavern located at 121 Avenue A,

Denton, Denton County, Texas 76201, Shots & Crafts located at 103 Avenue A, Denton, Denton

County, Texas 76201, and Northside Drafthouse & Eatery located at 3000 Northside Boulevard,

Suite 800, Richardson, Texas 75080.

       22.    Plaintiff Jennifer Gibbs is the owner of Dusty’s Bar & Grill located at 119 S. Elm

Street, Denton, Denton County, Texas 76201, Game Changers located at 122 W. Mulberry Street,

Denton, Denton County, Texas 76201, and Cletus’s located at 119 S. Elm Street, Denton, Denton

County, Texas 76201.

       23.    Plaintiff Elvin Coy Chew is the owner of Whiskey Girl Bar located at 833 U.S.

Highway 80 E, Abilene, Taylor County, Texas 76601.

       24.    Plaintiff Kevin Wann is an owner of Texas Borders Bar & Grill located at 20940

Katy Freeway, Suite H, Katy, Harris County, Texas 77449.

       25.    Plaintiff Kellie Messer is an owner of Texas Borders Bar & Grill located at 20940

Katy Freeway, Suite H, Katy, Harris County, Texas, 77449.




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       26.    Plaintiff Chris Bergeron is the owner of Chuters Dancehall and Saloon located at

7337 Spencer Highway, Pasadena, Harris County, Texas 77505.

       27.    Plaintiff Sandra Young is the owner of Bokeeters Cocktail Bar located at 18110

Highway 59, New Caney, Montgomery County, Texas 77357.

       28.    Plaintiff Holly Landry is the owner of Sharky’s Tavern, 504 25 th Street, Galveston,

Galveston County, Texas 77550.

       29.    Plaintiff Heather Vaughan is the owner of Crossroad Saloon located at 2101 S. U.S.

Highway 87, Big Spring, Howard County, Texas 79720.

       30.    Plaintiff Erica Mann is an owner of The Blue Door located at 4610 N. Garfield,

Suite D, #1C, Midland, Midland County, Texas, 79705.

       31.    Plaintiff Cody Reeves is an owner of The Blue Door located at 4610 N. Garfield,

Suite D, #1C, Midland, Midland County, Texas, 79705.

       32.    Plaintiff Rodney Holder is the owner of Spring Tavern located at 24401 Alden

Westfield Road, Suite J, Spring, Harris County, Texas 77373.

       33.    Plaintiff Sean Reising is the owner of Putters located at 320 S. 2 nd Street, Waco,

McLennan County, Texas 76701, and Trojans located at 215 Mary Street, Waco, McLennan

County, Texas 76706.

       34.    Plaintiff Tee Allen is the owner of Hunter’s Pub located at 10549 S. Post Oak Road,

Houston, Harris County, Texas 77035.

       35.    Plaintiff Clarence Thomas is the owner of Club Odyssey located at 7439 at S.

Westmoreland Road, Dallas, Dallas County, Texas 75237.

       36.    Plaintiff Eric Stevens is the owner of Sticks located at 3305 Sheppard Access Road,

Wichita Falls, Wichita County, Texas 76306.



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         37.   Plaintiff Saul Sultan is the owner of Landmark located at 3008 Bledsoe Street, Fort

Worth, Tarrant County, Texas 76107, Texas Republic located at 946 Foch Street, Forth Worth,

Tarrant County, Texas 76107, The Yard located at 3017 Morton Street, Fort Worth, Tarrant

County, Texas 76107, Theory Uptown located at 2912 McKinney Avenue, Dallas, Dallas County,

Texas 75204, and Playground Dallas, located at 2908 McKinney Avenue, Dallas County, Texas

75204.

         38.   Plaintiff Chris Beardon is the owner of Truth & Alibi, 2618 Elm Street, Dallas,

Dallas County, Texas 75226, PUNK Society located at 2723 Elm Street, Dallas, Dallas County,

Texas 75226, The Tipsy Alchemist located at 2101 Cedar Springs Road, Ste. R125, Dallas, Dallas

County, Texas 75201, The Tipsy Alchemist (Austin) located at 70 Rainey Street #200, Austin,

Travis County, Texas 78701, The ILL Minster Pub located at 2600 Cedar Springs Road, Dallas,

Dallas County, Texas 75201, Barcadia located at 1917 N. Henderson, Dallas, Dallas County, Texas

75206, AKAI located at 1740 Crockett Street, Dallas, Dallas County, Texas 75201, Sidebar Dallas

Group, LLC located at 2626 Howell Street, Suite 100, Dallas, Dallas County, Texas 75204, and

Gaslight Dallas, LLC located at 3407 McKinney, Dallas, Dallas County, Texas 75204.

         39.   Plaintiff Beverly Strain is the owner of Hunter’s Pub located at 1059 S. Post Oak,

Houston, Harris County, Texas 77035 and Cozy Corner Bar located at 10549 Burdine, Houston,

Harris County, Texas 77035.

         40.   Plaintiff Ryan McNeil is an owner of Ironwood Saloon located at 312 North Center

Street, Sabinal, Ulvade County, Texas 78881.

         41.   Plaintiff Elizabeth McNeil is an owner of Ironwood Saloon located 312 North

Center Street, Sabinal, Ulvade County, Texas 78881.




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       42.    Plaintiff Andre Koda is the owner of the The Gallery located at 109 N. Texas Street,

De Leon, Comanche County, Texas 76444.

       43.    Plaintiff John Young is the owner of The Concho Pearl Icehouse located at 1605 S.

Chadbourne, San Angelo, Texas 76903.

       44.    Plaintiff Robert L. Loage is the owner of The Lost Coyote Saloon located at 6108

Andrews Highway, Odessa, Ector, Texas 79762.

       45.    Plaintiff Randy Crook is the owner of Salty Dog Sports Bar located at 2004 North

Valley Mills Drive, Waco, McLennan County, Texas 76710, Blue Dog Wine & Martini Bar

located at 2004 North Valley Mills Drive, Waco, McLennan County, Texas 76710, Doghouse

located at 2524 West Waco Drive, Waco, McLennan County, Texas 76710, and Crying Shame

located at 7020 Sanger Avenue, Waco, McLennan County, Texas 76710.

       46.    Dylans Bar & Grill is a business located at 8601 9th Avenue, Port Arthur, Jefferson

County, Texas 77624.

       47.    Neches Brewing Company, LLC is a Texas limited liability company located at

1108 Port Neches Avenue, Port Neches, Jefferson County, Texas.

       48.    Putters, LLC is a Texas limited liability company located at 320 S. 2 nd Street, Suite

120, Waco, McLennan County, Texas 76657.

       49.    The Trojan cork and Keg, Inc., is a Texas corporation located at 215 Mary Street,

Suite 305, Waco, McLennan County, Texas.

       50.    Plaintiff Rachel Bradley is a citizen and resident of the State of Texas.

       51.    Plaintiff Morris Landrum is a citizen and resident of Smith County, Texas.

       52.    Plaintiff Wendy Landrum is a citizen and resident of Smith County, Texas.

       53.    Plaintiff David Phillips is a citizen and resident of Gregg County, Texas.



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         54.   Plaintiff Renee Phillips is a citizen and resident of Gregg County, Texas.

         55.   Plaintiff Delia MacKenzie is a citizen and resident of Gregg County, Texas.

         56.   Plaintiff Kenny Kittrell is a citizen and resident of Gregg County, Texas.

         57.   Plaintiff James W. Blair, III is a citizen and resident of Smith County, Texas.

         58.   Plaintiff Tammy J. Blair is a citizen and resident of Smith County, Texas.

         59.   Plaintiff Mike Braswell is a citizen and resident of Smith County, Texas.

         60.   Plaintiff Shenita Cleveland is a citizen and resident of Dallas County, Texas.

         61.   Plaintiff Thomas Tyrrell is a Texas resident who resides in Harris County, Texas.

         62.   Plaintiff Clayton Davenport is a Texas resident who resides in Harris County,

Texas.

         63.   Plaintiff Jim Monroe is a Texas resident who resides in Harris County, Texas.

         64.   Plaintiff Jared Grein is a Texas resident who resides in Harris County, Texas.

         65.   Plaintiff Steve Kerns is a Texas resident who resides in Harris County, Texas.

         66.   Plaintiff Robert Morgan is a Texas resident who resides in Harris County, Texas.

         67.   Plaintiff Pastor Juan Bustamante is a Texas resident who resides in Harris County,

Texas.

         68.   Plaintiff Pastor George Garcia is a Texas resident who resides in Harris County,

Texas.

         69.   Plaintiff Pastor David Valdez is a Texas resident who resides in Harris County,

Texas.

         70.   Plaintiff Pastor John Griener is a Texas resident who resides in Harris County,

Texas.




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         71.   Plaintiff Pastor Matt Woodfill is a Texas resident who resides in Montgomery

County, Texas.

         72.   Plaintiff Gary Giuffre is a Texas resident who resides in Fort Bend County, Texas.

         73.   Plaintiff Pastor Birdgette Lozano is a Texas resident who resides in Tarrant County,

Texas.

         74.   Plaintiff Pastor Cody Weightman is a Texas resident who resides in Denton County,

Texas.

         75.   Plaintiff Pastor Aaron Collier is a Texas resident who resides in Jefferson County,

Texas.

         76.   Plaintiff Pastor Patrick Stewart is a Texas resident who resides in Harris County,

Texas.

         77.   Plaintiff Pastor Rick Scarborough is a Texas resident who resides in Nacogdoches

County, Texas.

         78.   Plaintiff Hannah Young is a Texas resident who resides in Harris County, Texas.

         79.   Plaintiff Ken Prejean is a Texas resident who resides in Montgomery County,

Texas.

         80.   Plaintiff Matt Brice, owner of American Federal Grill, is a Texas resident who

resides in Harris County, Texas.

         81.   Plaintiff Mike Morton is a Texas resident who resides in Montgomery County,

Texas.

         82.   Plaintiff Mike Zullo is a Texas resident who resides in Montgomery County, Texas.

         83.   Plaintiff Alicia Zullo is a Texas resident who resides in Montgomery County,

Texas.



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         84.    Plaintiff Ashley Zullo is a Texas resident who resides in Montgomery County,

Texas.

         85.    Plaintiff Rob Zullo is a Texas resident who resides in Montgomery County, Texas.

         86.    Plaintiff Trisha LaBlanc is a Texas resident who resides in Montgomery County,

Texas.

         87.    Plaintiff Judson Aja is a Texas resident who resides in Montgomery County, Texas.

         88.    Plaintiff Jane Frazier is a Texas resident who resides in Harris County, Texas.

         89.    Plaintiff Mario Hernandez is a Texas resident who resides in Bexar County, Texas.

         90.    Plaintiff Mark Shannon is a Texas resident who resides in Taylor County, Texas.

         91.    Plaintiff Tammy Warren is a Texas resident who resides in Collin County, Texas.

         92.    Plaintiff Anmarie Cantwell is a Texas resident who resides in Wise County, Texas.

         93.    Plaintiff Brian Speer is a Texas resident who resides in Houston County, Texas.

         94.    Plaintiff Melissa Carlisle is a Texas resident who resides in Collin County, Texas.

         95.    Plaintiff Paul Garland is a Texas resident who resides in Grayson County, Texas.

         96.    Plaintiff Darrell W. Self is a Texas resident who resides in Collin County, Texas.

         97.    Plaintiff Lee Jenkins is a Texas resident who resides in Dallas County, Texas.

         98.    Plaintiff Robert Wheeler, Jr. is a Texas resident.

         99.    Plaintiff Donald E. Page is a Texas resident who resides in Gonzales County, Texas.

         100.   Plaintiff Peggy Denson is a Texas resident who resides in Nueces County, Texas.

         101.   Plaintiff James Ray White is a Texas resident who resides in Johnson County,

Texas.

         102.   Plaintiff Sharon Sykes is a Texas resident who resides in Denton County, Texas.

         103.   Plaintiff Dal L. Sharp is a Texas resident who resides in Williamson County, Texas.



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         104.   Plaintiff Brent Edminster is a Texas resident who resides in Ellis County, Texas.

         105.   Plaintiff Sam Rogers is a Texas resident who resides in Denton County, Texas.

         106.   Plaintiff Michelle Pustejovsky is a Texas resident who resides in Harris County,

Texas.

         107.   Plaintiff Dana Brock is a Texas resident who resides in Clay County, Texas.

         108.   Plaintiff Mike Wallace is a Texas resident who resides in Rains County, Texas.

         109.   Plaintiff Benjamin LaMoure is a Texas resident who resides in Van Zandt County,

Texas.

         110.   Plaintiff Kellye Meshberg is a Texas resident who resides in Dallas County, Texas.

         111.   Plaintiff Gabe Tuft is a Texas resident who resides in Williamson County, Texas.

         112.   Plaintiff Carol Marek is a Texas resident who resides in Dallas County, Texas.

         113.   Plaintiff Teri A. Walter is a Texas resident who resides in Harris County, Texas.

         114.   Plaintiff Amy Smith is a Texas resident who resides in Harris County, Texas.

         115.   Plaintiff Michael Vaughn is a Texas resident who resides in Harris County, Texas.

         116.   Plaintiff Mint Poker Club is a Texas business doing business in Harris County,

Texas.

         117.   Plaintiff Travis Norman is a Texas resident who resides in Harris County, Texas.

         118.   Plaintiff Thomas D. Tyrrell is a Texas resident.

         119.   Plaintiff Bonnie Anderson is a Texas resident who resides in Fort Bend County,

Texas.

         120.   Plaintiff Rob Hungate is a Texas resident.

         121.   Plaintiff Gene Stevens is a Texas resident.

         122.   Plaintiff David Smith is a Texas resident who resides in Tarrant County, Texas.



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         123.   Plaintiff Kevin Moore is a Texas resident who resides in Johnson County, Texas.

         124.   Plaintiff Joanie Markham is a Texas resident who resides in Denton County, Texas.

         125.   Plaintiff David Kemp is a Texas resident.

         126.   Plaintiff Barry D. Adkins is a Texas resident who resides in Harris County, Texas.

         127.   Plaintiff Christine Bradley is a Texas resident who resides in Collin County, Texas.

         128.   Plaintiff Chris Persaud is a Texas resident.

         129.   Plaintiff William J. Boswell, Jr. is a Texas resident who resides in Lubbock County,

Texas.

         130.   Plaintiff Vickie Michelle Kottwitz is a Texas resident.

         131.   Plaintiff R.J. Smith is a Texas resident.

         132.   Plaintiff Julia Von Ehrenfried is a Texas resident who resides in Tarrant County,

Texas.

         133.   Plaintiff David R. Traynor is a Texas resident who resides in Denton County,

Texas.

         134.   Plaintiff Janet Jackson is a Texas resident who resides in Tarrant County, Texas.

         135.   Plaintiff Ashley Bryan is a Texas resident who resides in Parker County, Texas.

         136.   Plaintiff Anthony Powell is a Texas resident who resides in Dallas County, Texas.

         137.   Plaintiff Jason Anderson is a Texas resident who resides in Smith County, Texas.

         138.   Plaintiff Cynthia D. Cruz is a Texas resident who resides in Tarrant County, Texas.

         139.   Plaintiff Dave Anderson is a Texas resident who resides in Fort Bend County,

Texas.

         140.   Plaintiff Michelle Anderson is a Texas resident who resides in Fort Bend County,

Texas.



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         141.   Plaintiff Ian Katz is a Texas resident who resides in Tarrant County, Texas.

         142.   Plaintiff Gary Purvis is a Texas resident who resides in Dallas County, Texas.

         143.   Plaintiff Grant Bynum is a Texas resident who resides in Collin County, Texas.

         144.   Plaintiff Benjemen Hitson is a Texas resident who resides in Parker County, Texas.

         145.   Plaintiff Leslie Hunt is a Texas resident who resides in Hays County, Texas.

         146.   Plaintiff Gbenga Asedeko is a Texas resident who resides in El Pason County,

Texas.

         147.   Plaintiff Mike Tracy is a Texas resident who resides in Brazoria County, Texas.

         148.   Plaintiff Thomas Blackmer is a Texas resident who resides in Dallas County, Texas.

         149.   Plaintiff Chace Lyn is a Texas resident who resides in Ellis County, Texas.

         150.   Plaintiff Ashley Harvey is a Texas resident who resides in Harris County, Texas.

         151.   Plaintiff William M. Stevens is a Texas resident who resides in Dallas County,

Texas.

         152.   Plaintiff Christina Brower is a Texas resident who resides in Tarrant County, Texas.

         153.   Plaintiff Eugene J. Robinson is a Texas resident who resides in Dallas County,

Texas.

         154.   Plaintiff Emanuel Lewis is a Texas resident who resides in Dallas County, Texas.

         155.   Plaintiff Rebecca Steinmetz is a Texas resident who resides in Fort Bend County,

Texas.

         156.   Plaintiff Andy Prestridge is a Texas resident who resides in Taylor County, Texas.

         157.   Plaintiff Alayna White is a Texas resident who resides in Travis County, Texas.

         158.   Plaintiff Steven Baysinger is a Texas resident who resides in Comal County, Texas.

         159.   Plaintiff Paula Moore is a Texas resident who resides in Bexar County, Texas.



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         160.   Plaintiff William Hammett is a Texas resident who resides in Harrison County,

Texas.

         161.   Plaintiff Keely Thomas is a Texas resident who resides in Collin County, Texas.

         162.   Plaintiff Scott Chamberlin is a Texas resident who resides in Parker County, Texas.

         163.   Plaintiff Lyndsey Lusk is a Texas resident who resides in Smith County, Texas.

         164.   Plaintiff Krystal Kincaid is a Texas resident who resides in Travis County, Texas.

         165.   Plaintiff Sean Bielstein is a Texas resident who resides in Fort Bend County, Texas.

         166.   Plaintiff Amber Morris is a Texas resident who resides in Marion County, Texas.

         167.   Plaintiff Riley J. Nash is a Texas resident who resides in Galveston County, Texas.

         168.   Plaintiff Salena Rothenberger is a Texas resident who resides in Nacogdoches

County, Texas.

         169.   Plaintiff Kris Moulton is a Texas resident who resides in Tarrant County, Texas.

         170.   Plaintiff Catherine Banks is a Texas resident who resides in Collin County, Texas.

         171.   Plaintiff Mack Miller is a Texas resident who resides in Harris County, Texas.

         172.   Plaintiff Bandee Bratton is a Texas resident who resides in Victoria County, Texas.

         173.   Plaintiff Gabriel Duran is a Texas resident who resides in Dallas County, Texas.

         174.   Plaintiff Kelly Hamilton is a Texas resident who resides in Parker County, Texas.

         175.   Plaintiff Jay Weber is a Texas resident who resides in Harris County, Texas.

         176.   Plaintiff Araceli Castaneda is a Texas resident who resides in Uvalde County,

Texas.

         177.   Plaintiff Dallas Wottlin is a Texas resident who resides in Dallas County, Texas.

         178.   Plaintiff Frank St. Francis is a Texas resident who resides in Schleicher County,

Texas.



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         179.   Plaintiff Dwayne Ryman is a Texas resident who resides in Collin County, Texas.

         180.   Plaintiff Tammy Gentry is a Texas resident who resides in Van Zandt County,

Texas.

         181.   Plaintiff Caren Marshall is a Texas resident who resides in Bexar County, Texas.

         182.   Plaintiff Denise Blalock is a Texas resident who resides in Tarrant County, Texas.

         183.   Plaintiff Arnoldo Rangel is a Texas resident who resides in Bexar County, Texas.

         184.   Plaintiff Jim Palomo is a Texas resident.

         185.   Plaintiff Cindy Palomo is a Texas resident.

         186.   Plaintiff Jerome Palomo is a Texas resident.

         187.   Plaintiff Terrie Pau is a Texas resident who resides in Harris County, Texas.

         188.   Plaintiff Pamela Granger is a Texas resident who resides in Denton County, Texas.

         189.   Plaintiff Glenna Hodge is a Texas resident who resides in Burnet County, Texas.

         190.   Plaintiff Karen Rogers is a Texas resident who resides in Ector County, Texas.

         191.   Plaintiff Rick Hotze is a Texas resident who resides in Harris County, Texas.

         192.   Plaintiff Michael Vaughn is a Texas resident who resides in Harris County, Texas.

         193.   Plaintiff Compressor Engineering Corporation is a Texas Corporation doing

business in Harris County, Texas.

         194.   Plaintiff CECO Pipeline Services Company, Inc. is a Texas Corporation doing

business in Harris County, Texas.

         195.   Plaintiff CECO Services Corporation is a Texas Corporation doing business in

Harris County, Texas.

         196.   Plaintiff In Management, LLC is a limited liability company doing business in

Harris County, Texas.



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         197.   Plaintiff Source of Supply Corporation is a Texas Corporation doing business in

Harris County, Texas.

         198.   Plaintiff Inter Nos, Ltd. is a business entity doing business in Harris County, Texas.

         199.   Plaintiff Inter Nos Space Plus, Ltd. is a business entity doing business in Harris

County, Texas.

         200.   Plaintiff Inter Nos Odessa, Ltd. is a business entity doing business in Harris County,

Texas.

         201.   Plaintiff Inter Nos Pipeline, Ltd. is a business entity doing business in Harris

County, Texas.

         202.   Plaintiff Inter Nos TP Investments, Ltd. is a business entity doing business in Harris

County, Texas.

         203.   Plaintiff Inter Nos Walker, Ltd. is a business entity doing business in Harris County,

Texas.

         204.   Plaintiff Inter Nos Springville, Ltd. is a business entity doing business in Harris

County, Texas.

         205.   Plaintiff Priscella Gorman is a Texas resident who resides in Harris County, Texas.

         206.   Plaintiff Dawn Walsh is a Texas resident who resides in Henderson County, Texas.

         207.   Plaintiff Tamara Austin is a Texas resident who resides in Collin County, Texas.

         208.   Plaintiff Barclay H. Russell, Jr. is a Texas resident who resides in Bexar County,

Texas.

         209.   Plaintiff Texas Electrical Safety Association is a non-profit vocational trade school

in Harris County, Texas.




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         210.   Plaintiff Robert E. Hatfield, II is a Texas resident who resides in Harris County,

Texas.

         211.   Plaintiff Veronica B. Hatfield is a Texas resident who resides in Harris County,

Texas.

         212.   Plaintiff Jeff Kibodeaux is a Texas resident who resides in Montgomery County,

Texas.

         213.   Plaintiff Elizabeth Blake is a Texas resident who resides in Wood County, Texas.

         214.   Plaintiff Jennifer Leiendecker is a Texas resident who resides in Fort Bend County,

Texas.

         215.   Plaintiff Adam Stacoviak is a Texas resident who resides in Harris County, Texas.

         216.   Plaintiff Britt Hurst is a Texas resident who resides in Lubbock County, Texas.

         217.   Plaintiff Rick Smith is a Texas resident who resides in Harris County, Texas.

         218.   Plaintiff Building Blocks, LLC is a limited liability company doing business in

Henderson County, Texas.

         219.   Plaintiff ES Family Fitness, LLC is a limited liability company doing business in

Henderson County, Texas.

         220.   Plaintiff Building Blocks, Inc. is a Texas Corporation doing business in Henderson

County, Texas.

         221.   Plaintiff Ryann Day is a Texas resident and resides in Galveston County, Texas.

         222.   Plaintiff Stuart Davenport is a Texas resident who resides in Bexar County, Texas.

         223.   Plaintiff Richelle Batt is a Texas resident who resides in Montgomery County,

Texas.

         224.   Plaintiff Matthew Smith is a Texas resident who resides in Harris County, Texas.



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         225.   Plaintiff Richard Thomas is a Texas resident who resides in Harris County, Texas.

         226.   Plaintiff Lindi Braddock is a Texas resident who resides in Washington County,

Texas.

         227.   Plaintiff Rebecca Y. Larson is a Texas resident who resides in Washington County,

Texas.

         228.   Plaintiff Ryan Munoz is a Texas resident who resides in Harris County, Texas.

         229.   Plaintiff Jeff Landry is a Texas resident who resides in Harris County, Texas.

         230.   Plaintiff Lisa Landry is a Texas resident who resides in Harris County, Texas.

         231.   Plaintiff Linda Jansen is a Texas resident who resides in Galveston County, Texas.

         232.   Plaintiff Tu Phan is a Texas resident who resides in McLennan County, Texas.

         233.   Plaintiff Melissa Rowell is a Texas resident who resides in Harris County, Texas.

         234.   Plaintiff Cynthia Salinas is a Texas resident who resides in Harris County, Texas.

         235.   Plaintiff Shane Walker is a Texas resident who resides in Clay County, Texas.

         236.   Plaintiff Dayla Walker is a Texas resident who resides in Clay County, Texas.

         237.   Plaintiff Kathryn Standley is a Texas resident who resides in Washington County,

Texas.

         238.   Plaintiff John Boretski is a Texas resident who resides in Harris County, Texas.

         239.   Plaintiff John D. Howell is a Texas resident who resides in Brazoria County, Texas.

         240.   Plaintiff Bruce Boyd is a Texas resident who resides in Travis County, Texas.

         241.   Plaintiff Debbie Ramsey is a Texas resident who resides in Harris County, Texas.

         242.   Plaintiff Linda Allen is a Texas resident who resides in Harris County, Texas.

         243.   Plaintiff Margarete Cole is a Texas resident who resides in Harris County, Texas.

         244.   Plaintiff Matthew Nowell is a Texas resident who resides in Bell County, Texas.



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         245.   Plaintiff Jacob Feldman is a Texas resident who resides in Harris County, Texas.

         246.   Plaintiff Linda Collins is a Texas resident who resides in Harris County, Texas.

         247.   Plaintiff Tiffani Chapa is a Texas resident who resides in Galveston County, Texas.

         248.   Plaintiff Robin Hubbard is a Texas resident who resides in Harris County, Texas.

         249.   Plaintiff David Kuchurivskyy is a Texas resident who resides in Johnson County,

Texas.

         250.   Plaintiff Laurie Lozano is a Texas resident who resides in Tarrant County, Texas.

         251.   Plaintiff Oralia Acosta is a Texas resident who resides in Galveston County, Texas.

         252.   Plaintiff Brienne H. Loftis is a Texas resident who resides in Collin County, Texas.

         253.   Plaintiff Raquetta Portalatin is a Texas resident who resides in Harris County,

Texas.

         254.   Plaintiff Jonathan Findley is a Texas resident who resides in Harris County, Texas.

         255.   Plaintiff Calvin Brown is a Texas resident who resides in Harris County, Texas.

         256.   Plaintiff Elvin Coy Chew is a Texas resident who resides in Taylor County, Texas.

         257.   Plaintiff Connie Jones is a Texas resident who resides in Harris County, Texas.

         258.   Plaintiff Tonia Allen Parker is a Texas resident who resides in Gregg County,

Texas.

         259.   Plaintiff Melissa Luce is a Texas resident who resides in Harris County, Texas.

         260.   Plaintiff Trinity Jackson Hall is a Texas resident who resides in Ector County,

Texas.

         261.   Plaintiff Nichols Ritchie is a Texas resident who resides in Harris County, Texas.

         262.   Plaintiff Kathryn Ritchie is a Texas resident who resides in Harris County, Texas.




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         263.   Plaintiff James Barclift is a Texas resident who resides in Montgomery County,

Texas.

         264.   Plaintiff Stephine Connelly is a Texas resident who resides in Travis County,

Texas.

         265.   Plaintiff Riley Nash is a Texas resident who resides in Orange County, Texas.

         266.   Plaintiff Michelle LeTulle is a Texas resident who resides in Fort Bend County,

Texas.

         267.   Plaintiff Damon Sollman is a Texas resident who resides in Dallas County, Texas.

         268.   Plaintiff Rose Rivera Hutchinson is a Texas resident who resides in Harris County,

Texas.

         269.   Plaintiff Randy Box is a Texas resident who resides in Harris County, Texas.

         270.   Plaintiff Monique Cooper is a Texas resident who resides in Harris County, Texas.

         271.   Plaintiff Tammy Cotten is a Texas resident who resides in Burelson County, Texas.

         272.   Plaintiff Jenny Breen is a Texas resident who resides in Smith County, Texas.

         273.   Plaintiff Tammie Birdwell is a Texas resident who resides in Dallas County, Texas.

         274.   Plaintiff Kelly Pelletier is a Texas resident who resides in El Paso County, Texas.

         275.   Plaintiff Tarrin Warren is a Texas resident who resides in Milam County, Texas.

         276.   Plaintiff Pacey Chynoweth is a Texas resident who resides in Williamson County,

Texas.

         277.   Plaintiff David Lee Dykstra, Jr. is a Texas resident who resides in Harris County,

Texas.

         278.   Plaintiff Janie Blomquist is a Texas resident who resides in Waller County, Texas.

         279.   Plaintiff Andrew Harman is a Texas resident who resides in Waller County, Texas.



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         280.   Plaintiff Kraig Aron Russell is a Texas resident who resides in El Paso County,

Texas.

         281.   Plaintiff Jon W. Marsh is a Texas resident who resides in Fort Bend County, Texas.

         282.   Plaintiff Eric Christopher is a Texas resident who resides in Harris County, Texas.

         283.   Plaintiff Norman Harris is a Texas resident who resides in Fort Bend County,

Texas.

         284.   Plaintiff Tammy Morris is a Texas resident who resides in Wood County, Texas.

         285.   Plaintiff Paul Morris is a Texas resident who resides in Wood County, Texas.

         286.   Plaintiff Hilary Wheeler is a Texas resident who resides in Harris County, Texas.

         287.   Plaintiff Scot Moran is a Texas resident who resides in Tarrant County, Texas.

         288.   Plaintiff Tim Nichols is a Texas resident who resides in Dallas County, Texas.

         289.   Plaintiff Michele Stricker is a Texas resident who resides in Hays County, Texas.

         290.   Plaintiff Carol Carter is a Texas resident who resides in Tarrant County, Texas.

         291.   Plaintiff Laurie McCawley is a Texas resident who resides in TarrantHarris County,

Texas.

         292.   Plaintiff Leslie Neves is a Texas resident who resides in Dallas County, Texas.

         293.   Plaintiff Lance Neves is a Texas resident who resides in Dallas County, Texas.

         294.   Plaintiff Wanda Webb is a Texas resident who resides in Hardin County, Texas.

         295.   Plaintiff Sarah Vetere is a Texas resident who resides in Tarrant County, Texas.

         296.   Plaintiff Aaron R. Rasor is a Texas resident who resides in Tarrant County, Texas.

         297.   Plaintiff William J. Odom is a Texas resident who resides in Harris County, Texas.

         298.   Plaintiff Joe W. Mathias is a Texas resident who resides in Denton County, Texas.

         299.   Plaintiff Melanie F. Webb is a Texas resident who resides in Travis County, Texas.



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         300.   Plaintiff Colleen Crockett is a Texas resident who resides in Bexar County, Texas.

         301.   Plaintiff Lori McDonough is a Texas resident who resides in Bexar County, Texas.

         302.   Plaintiff Wayne Ritchie is a Texas resident who resides in Harris County, Texas.

         303.   Plaintiff Jacqueline Ritchie is a Texas resident who resides in Harris County, Texas.

         304.   Plaintiff Lance Crockett is a Texas resident who resides in Bexar County, Texas.

         305.   Plaintiff Lee Ann Crockett is a Texas resident who resides in Bexar County, Texas.

         306.   Plaintiff Michael J. Lathern is a Texas resident who resides in McLennan County,

Texas.

         307.   Plaintiff Mary Ann Lathern is a Texas resident who resides in McLennan County,

Texas.

         308.   Plaintiff M.J. Lathern Co., Inc. is a Texas Corporation doing business in McLennan

County, Texas.

         309.   Plaintiff Connie Wolfe is a Texas resident who resides in Harris County, Texas.

         310.   Plaintiff Blake McDaniel is a Texas resident who resides in Williamson County,

Texas.

         311.   Plaintiff Jose A. Rivera is a Texas resident who resides in Harrison County, Texas.

         312.   Plaintiff Lisa Wooldridge is a Texas resident who resides in Montgomery County,

Texas.

         313.   Plaintiff Bryan Bilderback is a Texas resident who resides in Harris County, Texas.

         314.   Plaintiff Mark LaGrange is a Texas resident who resides in Harris County, Texas.

         315.   Plaintiff Chris Adams is a Texas resident who resides in Harris County, Texas.

         316.   Plaintiff Bobbye Adams is a Texas resident who resides in Harris County, Texas.

         317.   Plaintiff Kevin Morgan is a Texas resident who resides in Orange County, Texas.



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         318.   Plaintiff Kevin Wann is a Texas resident who resides in Harris County, Texas.

         319.   Plaintiff Kellie Messer is a Texas resident who resides in Harris County, Texas.

         320.   Plaintiff Thomas Wright is a Texas resident who resides in Harris County, Texas.

         321.   Plaintiff Laurie Tindall is a Texas resident who resides in Harris County, Texas.

         322.   Plaintiff Katrina Cannon is a Texas resident who resides in Victoria County, Texas.

         323.   Plaintiff Dawn Hayden is a Texas resident who resides in McLennan County,

Texas.

         324.   Plaintiff Nancy Roberts is a Texas resident who resides in Upshur County, Texas.

         325.   Plaintiff Kimberly Gutierrez is a Texas resident who resides in Harris County,

Texas.

         326.   Plaintiff Robert Schoppe is a Texas resident who resides in Fort Bend County,

Texas.

         327.   Plaintiff Sheila Bartley is a Texas resident who resides in Collin County, Texas.

         328.   Plaintiff Thomas Barrett is a Texas resident who resides in Harris County, Texas.

         329.   Plaintiff Shelia Bartley is a Texas resident who resides in Collin County, Texas.

         330.   Plaintiff Kenneth T. McDonald is a Texas resident who resides in Bastrop County,

Texas.

         331.   Plaintiff Lauren B. McGee is a Texas resident who resides in Hays County, Texas.

         332.   Plaintiff Dawn Simpson is a Texas resident who resides in Harris County, Texas.

         333.   Plaintiff Ken Dernehl is a Texas resident who resides in Fayette County, Texas.

         334.   Plaintiff Rita Dernehl is a Texas resident who resides in Fayette County, Texas.

         335.   Plaintiff Mark S. Barlow, M.D. is a Texas resident who resides in Harris County,

Texas.



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         336.   Plaintiff Holly Landry is a Texas resident who resides in Galveston County, Texas.

         337.   Plaintiff Tee Parker is a Texas resident who resides in Smith County, Texas.

         338.   Plaintiff Heather Vaughan is a Texas resident who resides in Howard County,

Texas.

         339.   Plaintiff Chrystal Patterson is a Texas resident who resides in Brazoria County,

Texas.

         340.   Plaintiff Joshua Troy Furnish is a Texas resident who resides in Hunt County,

Texas.

         341.   Plaintiff Charlene Cheek is a Texas resident who resides in Carson County, Texas.

         342.   Plaintiff Carmen M. James is a Texas resident who resides in Harris County, Texas.

         343.   Plaintiff Daniel Corley is a Texas resident who resides in Hays County, Texas.

         344.   Plaintiff David Allen is a Texas resident who resides in Dallas County, Texas.

         345.   Plaintiff Marsha Wellmann is a Texas resident who resides in Harris County, Texas.

         346.   Plaintiff Ashley Zanella is a Texas resident who resides in Williamson County,

Texas.

         347.   Plaintiff Lance Olshovsky is a Texas resident who resides in Brazoria County,

Texas.

         348.   Plaintiff Brandie Fussell is a Texas resident who resides in Jefferson County, Texas.

         349.   Plaintiff Jason Fussell is a Texas resident who resides in Jefferson County, Texas.

         350.   Plaintiff Marcia Newman is a Texas resident who resides in Montgomery County,

Texas.

         351.   Plaintiff Kevin Peterson is a Texas resident who resides in Walker County, Texas.




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         352.   Plaintiff Mary Jennifer Duncan is a Texas resident who resides in Fort Bend

County, Texas.

         353.   Plaintiff Jay Mincks is a Texas resident who resides in Montgomery County, Texas.

         354.   Plaintiff Catherine Engelbrecht is a Texas resident who resides in Austin County,

Texas.

         355.   Plaintiff Rev. Bill Owens is a Texas resident who resides in Fort Bend County,

Texas.

         356.   Plaintiff Dr. Deborah Owens is a Texas resident who resides in Fort Bend County,

Texas.

         357.   Plaintiff Everett Campbell is a Texas resident who resides in Waller County, Texas.

         358.   Plaintiff Jessie Wilcoxson is a Texas resident who resides in Grayson County,

Texas.

         359.   Plaintiff Jamie Borman is a Texas resident who resides in Harris County, Texas.

         360.   Plaintiff Robyn Cade is a Texas resident who resides in Fort Bend County, Texas.

         361.   Plaintiff Ashley Joslin is a Texas resident who resides in Montgomery County,

Texas.

         362.   Plaintiff Robert Willeby is a Texas resident who resides in Harris County, Texas.

         363.   Plaintiff Susan Coburn is a Texas resident who resides in Harris County, Texas.

         364.   Plaintiff Johnnie Dryden is a Texas resident who resides in Jack County, Texas.

         365.   Plaintiff Ronald White is a Texas resident who resides in Bell County, Texas.

         366.   Plaintiff Patricia Kudlacek is a Texas resident who resides in Harris County, Texas.

         367.   Plaintiff Galey Hannah is a Texas resident who resides in Rockwall County, Texas.

         368.   Plaintiff Patrika Romano is a Texas resident.



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         369.   Plaintiff Janet Yeaney is a Texas resident who resides in Tarrant County, Texas.

         370.   Plaintiff Leonard Swanson is a Texas resident who resides in Harris County, Texas.

         371.   Plaintiff WV Alliance Group Corp. is a Texas Corporation doing business in Harris

County, Texas.

         372.   Plaintiff Mark Blomquist is a Texas resident who resides in Waller County, Texas.

         373.   Plaintiff Juanita Blomquist is a Texas resident who resides in Waller County,

Texas.

         374.   Plaintiff Jay Webster is a Texas resident who resides in Travis County, Texas.

         375.   Plaintiff Martha Webster is a Texas resident who resides in Travis County, Texas.

         376.   Plaintiff James G. Caire, Jr. is a Texas resident who resides in Harris County, Texas.

         377.   Plaintiff Sandy Aronds is a Texas resident who resides in Harris County, Texas.

         378.   Plaintiff Donna Teeter is a Texas resident who resides in Tarrant County, Texas.

         379.   Plaintiff Yvette DeOtte is a Texas resident who resides in Tarrant County, Texas.

         380.   Plaintiff James A. Morris is a Texas resident who resides in Collin County, Texas.

         381.   Plaintiff Kimberly Dean is a Texas resident who resides in Johnson County, Texas.

         382.   Plaintiff Nikki Sopchak is a Texas resident who resides in Hood County, Texas.

         383.   Plaintiff Adrian Heath is a Texas resident who resides in Montgomery County,

Texas.

         384.   Plaintiff Jay Lewchanin is a Texas resident who resides in Harris County, Texas.

         385.   Plaintiff Sarah Hawthorne is a Texas resident who resides in Tarrant County, Texas.

         386.   Plaintiff Veronica Pedraza is a Texas resident.

         387.   Plaintiff Tammy Howard is a Texas resident who resides in Eastland County,

Texas.



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         388.   Plaintiff Kelli Baliker is a Texas resident who resides in Harris County, Texas.

         389.   Plaintiff Steve Sessums is a Texas resident who resides in Bell County, Texas.

         390.   Plaintiff Josie Moss is a Texas resident who resides in Montgomery County, Texas.

         391.   Plaintiff Tracy Forester is a Texas resident who resides in Caldwell County, Texas.

         392.   Plaintiff Joy Burwell is a Texas resident who resides in Liberty County, Texas.

         393.   Plaintiff Sarah Duffy Lamnek is a Texas resident who resides in Montgomery

County, Texas.

         394.   Plaintiff Kenith Laird is a Texas resident who resides in Brazoria County, Texas.

         395.   Plaintiff Holli Feeley is a Texas resident who resides in Hill County, Texas.

         396.   Plaintiff Johanna Schuepbach is a Texas resident who resides in Kendall County,

Texas.

         397.   Plaintiff Joshua Jones is a Texas resident who resides in Comal County, Texas.

         398.   Plaintiff Rebecca Jones is a Texas resident who resides in Comal County, Texas.

         399.   Plaintiff Heather Evan is a Texas resident who resides in Bexar County, Texas.

         400.   Plaintiff Calvin Russell is a Texas resident who resides in Montgomery County,

Texas.

         401.   Plaintiff Ginger Russell is a Texas resident who resides in Montgomery County,

Texas.

         402.   Plaintiff Dani Ortiz is a Texas resident who resides in Harris County, Texas.

         403.   Plaintiff Debbie Cooper is a Texas resident who resides in Harris County, Texas.

         404.   Plaintiff Christian Berger is a Texas resident who resides in Dallas County, Texas.

         405.   Plaintiff Cheryle Acosta is a Texas resident who resides in Harris County, Texas.

         406.   Plaintiff John Kmiecik is a Texas resident who resides in Harris County, Texas.



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         407.   Plaintiff Sheila Manghera is a Texas resident who resides in Denton County, Texas.

         408.   Plaintiff Greg Sykes is a Texas resident who resides in Gregg County, Texas.

         409.   Plaintiff Eileen Barlow is a Texas resident who resides in Harris County, Texas.

         410.   Plaintiff Brittany McClure is a Texas resident who resides in Kendall County,

Texas.

         411.   Plaintiff Christina Sessums is a Texas resident who resides in Bell County, Texas.

         412.   Plaintiff Lydel Bertasz is a Texas resident who resides in Anderson County, Texas.

         413.   Plaintiff Maris Smith is a Texas resident who resides in Val Verde County, Texas.

         414.   Plaintiff Philip Conklin is a Texas resident who resides in Galveston County, Texas.

         415.   Plaintiff Gary W. Whitaker, DC is a Texas resident who resides in Harris County,

Texas.

         416.   Plaintiff Kirt Highberger is a Texas resident who resides in Bell County, Texas.

         417.   Plaintiff Gaye Powell is a Texas resident who resides in Nueces County, Texas.

         418.   Plaintiff Charles Ackerman is a Texas resident who resides in Montgomery County,

Texas.

         419.   Plaintiff Shannon McGraw is a Texas resident who resides in Dallas County, Texas.

         420.   Plaintiff Loucinda Palmer is a Texas resident who resides in Burnet County, Texas.

         421.   Plaintiff Tracy Valdez is a Texas resident who resides in Parker County, Texas.

         422.   Plaintiff Kelli Nicole Stone is a Texas resident who resides in Denton County,

Texas.

         423.   Plaintiff Miranda Barnett is a Texas resident who resides in Bexar County, Texas.

         424.   Plaintiff Diana Chapman is a Texas resident who resides in Dallas County, Texas.

         425.   Plaintiff Darren Morahan is a Texas resident who resides in Waller County, Texas.



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         426.   Plaintiff Cougar Offshore, LLC is a Texas Limited Liability Company doing

business in Harris County, Texas.

         427.   Plaintiff Michelle Morahan is a Texas resident who resides in Waller County,

Texas.

         428.   Plaintiff Jeff Cokenour is a Texas resident who resides in Liberty County, Texas.

         429.   Plaintiff Patsy Sacco Ljungdahl is a Texas resident who resides in Brewster County,

Texas.

         430.   Plaintiff Matthew Jay is a Texas resident who resides in Harris County, Texas.

         431.   Plaintiff Kim Thiehoff is a Texas resident who resides in Dallas County, Texas.

         432.   Plaintiff David Phillips is a Texas resident who resides in Collin County, Texas.

         433.   Plaintiff Karen Phillips is a Texas resident who resides in Collin County, Texas.

         434.   Plaintiff Gary Stewart is a Texas resident who resides in Collin County, Texas.

         435.   Plaintiff Wanda Stewart is a Texas resident who resides in Collin County, Texas.

         436.   Plaintiff Corby Clark is a Texas resident who resides in Fort Bend County, Texas.

         437.   Plaintiff Brenda Clark is a Texas resident who resides in Fort Bend County, Texas.

         438.   Plaintiff Kevin Massie is a Texas resident who resides in Denton County, Texas.

         439.   Plaintiff KAM Marketing, LLC is a Texas Limited Liability Company doing

business in Denton County, Texas.

         440.   Plaintiff KAM Financial, LLC is a Texas Limited Liability Company doing

business in Denton County, Texas.

         441.   Plaintiff Sheila Clemmons is a Texas resident who resides in Tarrant County,

Texas.

         442.   Plaintiff Amber Olsen is a Texas resident who resides in Fannin County, Texas.



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         443.   Plaintiff Kathy Norris is a Texas resident who resides in Dallas County, Texas.

         444.   Plaintiff Jim Ray is a Texas resident who resides in Tarrant County, Texas.

         445.   Plaintiff Ruth Ray is a Texas resident who resides in Tarrant County, Texas.

         446.   Plaintiff Meredith Garrou is a Texas resident who resides in Harris County, Texas.

         447.   Plaintiff Vicki Hogan is a Texas resident who resides in Parker County, Texas.

         448.   Plaintiff Margaret Immel is a Texas resident who resides in Harris County, Texas.

         449.   Plaintiff Cathi Wood is a Texas resident who resides in Dallas County, Texas.

         450.   Plaintiff Judy Artall is a Texas resident who resides in Harris County, Texas.

         451.   Plaintiff Curt Littman is a Texas resident who resides in Gillespie County, Texas.

         452.   Plaintiff James C. Pruett is a Texas resident who resides in Collin County, Texas.

         453.   Plaintiff Kim Swanger is a Texas resident who resides in Harris County, Texas.

         454.   Plaintiff Mary Ann Everett is a Texas resident who resides in Bell County, Texas.

         455.   Plaintiff Gary Vandenberg is a Texas resident who resides in Travis County, Texas.

         456.   Plaintiff Wendy Bego is a Texas resident who resides in Nueces County, Texas.

         457.   Plaintiff Laure Haro is a Texas resident who resides in Montgomery County, Texas.

         458.   Plaintiff Jose Luis Solis is a Texas resident who resides in Brazoria County, Texas.

         459.   Plaintiff Myrna Solis is a Texas resident who resides in Brazoria County, Texas.

         460.   Plaintiff Rob Jensen is a Texas resident who resides in Harris County, Texas.

         461.   Plaintiff Carole Menefee-Jensen is a Texas resident who resides in Harris County,

Texas.

         462.   Plaintiff Andrew Bennett is a Texas resident who resides in Denton County, Texas.

         463.   Plaintiff Devin Grider is a Texas resident who resides in Henderson County, Texas.




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         464.   Plaintiff Susannea Grider is a Texas resident who resides in Henderson County,

Texas.

         465.   Plaintiff Dennis Alexander is a Texas resident who resides in Grimes County,

Texas.

         466.   Plaintiff Grace Wallace is a Texas resident who resides in Montgomery County,

Texas.

         467.   Plaintiff Darrin W. Smith is a Texas resident who resides in Smith County, Texas.

         468.   Plaintiff Rich DeOtte is a Texas resident who resides in Tarrant County, Texas.

         469.   Plaintiff Nicholas Lamme is a Texas resident who resides in Harris County, Texas.

         470.   Plaintiff Tracy M. Thomas is a Texas resident who resides in Collin County, Texas.

         471.   Plaintiff Jennifer Milner is a Texas resident who resides in Tarrant County, Texas.

         472.   Plaintiff Megan Hartman is a Texas resident who resides in Guadalupe County,

Texas.

         473.   Plaintiff Heidi Trimpe is a Texas resident who resides in Grayson County, Texas.

         474.   Plaintiff Lynette Gogol is a Texas resident who resides in Galveston County, Texas.

         475.   Plaintiff Alicia D. Cornell is a Texas resident.

         476.   Plaintiff Linda Rice is a Texas resident who resides in Grayson County, Texas.

         477.   Plaintiff Cameron Jennings is a Texas resident who resides in Harris County, Texas.

         478.   Plaintiff Joy Roberts is a Texas resident who resides in Grayson County, Texas.

         479.   Plaintiff Cortney Russell is a Texas resident who resides in Harris County, Texas.

         480.   Plaintiff Dr. Polly Heil-Mealey is a Texas resident.

         481.   Plaintiff Julie Lawrence is a Texas resident who resides in Tarrant County, Texas.

         482.   Plaintiff Christi Moorman is a Texas resident who resides in Bexar County, Texas.



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         483.   Plaintiff John F. Foos is a Texas resident who resides in Montgomery County,

Texas.

         484.   Plaintiff Brandy Green is a Texas resident who resides in Grayson County, Texas.

         485.   Plaintiff Joni Schultz is a Texas resident who resides in Harris County, Texas.

         486.   Plaintiff Steven Salfelder is a Texas resident who resides in Williamson County,

Texas.

         487.   Plaintiff Melody Spray is a Texas resident who resides in Harrison County, Texas.

         488.   Plaintiff William Spray is a Texas resident who resides in Harrison County, Texas.

         489.   Plaintiff Marianne Lagerstrom is a Texas resident.

         490.   Plaintiff Christian Dobbins is a Texas resident who resides in Galveston County,

Texas.

         491.   Plaintiff Colette Dobbins is a Texas resident who resides in Galveston County,

Texas.

         492.   Plaintiff Rebecca Graves is a Texas resident.

         493.   Plaintiff Mike Molina is a Texas resident.

         494.   Plaintiff Mark Lawrence is a Texas resident who resides in Tarrant County, Texas.

         495.   Plaintiff Katherine Hagood is a Texas resident who resides in Tarrant County,

Texas.

         496.   Plaintiff Kent Hagood is a Texas resident who resides in Tarrant County, Texas.

         497.   Plaintiff Nina Lee is a Texas resident who resides in Dallas County, Texas.

         498.   Plaintiff Lesley Pyle is a Texas resident.

         499.   Plaintiff Robert L. Sanchez is a Texas resident who resides in Harris County, Texas.




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         500.   Plaintiff Margaret Fournet is a Texas resident who resides in Galveston County,

Texas.

         501.   Plaintiff Dr. David Cox, DC is a Texas resident.

         502.   Plaintiff Justin K. Hall is a Texas resident who resides in Rockwall County, Texas.

         503.   Plaintiff Lori Raines is a Texas resident who resides in Tarrant County, Texas.

         504.   Plaintiff Joseph Raines is a Texas resident who resides in Tarrant County, Texas.

         505.   Plaintiff Chris Blystone is a Texas resident who resides in Smith County, Texas.

         506.   Plaintiff Mary D. Corley is a Texas resident who resides in Hays County, Texas.

         507.   Plaintiff Mark Russell is a Texas resident who resides in Kerr County, Texas.

         508.   Plaintiff Debra Slaton is a Texas resident who resides in Eastland County, Texas.

         509.   Plaintiff Lee Proctor is a Texas resident who resides in Ector County, Texas.

         510.   Plaintiff Tiffanie Fowler is a Texas resident who resides in Denton County, Texas.

         511.   Plaintiff John Anderson is a Texas resident.

         512.   Plaintiff Donna McCune is a Texas resident who resides in Cherokee County,

Texas.

         513.   Plaintiff Joseph L. Trahan, Jr. is a Texas resident who resides in Harris County,

Texas.

         514.   Plaintiff Patricia Krenek is a Texas resident who resides in Wharton County, Texas.

         515.   Plaintiff Allen McHenry is a Texas resident who resides in Tarrant County, Texas.

         516.   Plaintiff Judy H. Burns is a Texas resident who resides in Harris County, Texas.

         517.   Plaintiff Amber Kutach is a Texas resident who resides in Victoria County, Texas.

         518.   Plaintiff Kodi Kieler is a Texas resident who resides in Wharton County, Texas.

         519.   Plaintiff David Watts is a Texas resident who resides in Kaufman County, Texas.



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         520.   Plaintiff Matt Gokingco is a Texas resident who resides in Bell County, Texas.

         521.   Plaintiff Joy Kristine Walls is a Texas resident who resides in Montgomery County,

Texas.

         522.   Plaintiff Alyson Hayes is a Texas resident who resides in Tarrant County, Texas.

         523.   Plaintiff Mary Cashion-Smith is a Texas resident who resides in McLennan County,

Texas.

         524.   Plaintiff Jessica Rushing is a Texas resident who resides in Harris County, Texas.

         525.   Plaintiff Jeff Clark is a Texas resident who resides in Hays County, Texas.

         526.   Plaintiff Laura Senser is a Texas resident who resides in Williamson County, Texas.

         527.   Plaintiff Robyn Aldridge is a Texas resident who resides in Harris County, Texas.

         528.   Plaintiff Steven C. Thoe is a Texas resident who resides in Williamson County,

Texas.

         529.   Plaintiff Mitzi Pudlo is a Texas resident who resides in Montgomery County,

Texas.

         530.   Plaintiff Paul Traskal is a Texas resident who resides in Travis County, Texas.

         531.   Plaintiff Liz DeOtte is a Texas resident who resides in Tarrant County, Texas.

         532.   Plaintiff Kelsey Morris is a Texas resident who resides in Harris County, Texas.

         533.   Plaintiff Claude M. Jaynes is a Texas resident who resides in Wood County, Texas.

         534.   Plaintiff Michelle Petersen is a Texas resident who resides in Tarrant County,

Texas.

         535.   Plaintiff Jeff Gunter is a Texas resident who resides in Bexar County, Texas.

         536.   Plaintiff Larry Burkham is a Texas resident who resides in Montgomery County,

Texas.



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         537.   Plaintiff Teresa Burkham is a Texas resident who resides in Montgomery County,

Texas.

         538.   Plaintiff Ronald Ashmore is a Texas resident who resides in Hamilton County,

Texas.

         539.   Plaintiff Kristi Goebel is a Texas resident who resides in Denton County, Texas.

         540.   Plaintiff Carolyn B. Gard is a Texas resident who resides in Harris County, Texas.

         541.   Plaintiff Scott C. Stanton is a Texas resident who resides in Bexar County, Texas.

         542.   Plaintiff April L. Pylie is a Texas resident who resides in Kaufman County, Texas.

         543.   Plaintiff Brent Staggs is a Texas resident who resides in Lubbock County, Texas.

         544.   Plaintiff Troy Horton is a Texas resident who resides in Collin County, Texas.

         545.   Plaintiff Jerry Perdue is a Texas resident who resides in Montgomery County,

Texas.

         546.   Plaintiff Laura E. Slovak is a Texas resident who resides in Dallas County, Texas.

         547.   Plaintiff Joanne E. Juren is a Texas resident who resides in Harris County, Texas.

         548.   Plaintiff Roy Phillips is a Texas resident who resides in Henderson County, Texas.

         549.   Plaintiff Veronica Phillips is a Texas resident who resides in Henderson County,

Texas.

         550.   Plaintiff Joseph Ohnheiser is a Texas resident who resides in Colorado County,

Texas.

         551.   Plaintiff Carol Creamer-Pompa is a Texas resident who resides in Johnson County,

Texas.

         552.   Plaintiff Gari-Anne Smith is a Texas resident who resides in Parker County, Texas.




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         553.   Plaintiff Debbie Branch is a Texas resident who resides in Galveston County,

Texas.

         554.   Plaintiff Julie Huffaker is a Texas resident who resides in Montgomery County,

Texas.

         555.   Plaintiff Lisa Duran is a Texas resident who resides in Travis County, Texas.

         556.   Plaintiff DeLila G. Bogart is a Texas resident who resides in Brazos County, Texas.

         557.   Plaintiff Casey Hubbard is a Texas resident who resides in Grayson County, Texas.

         558.   Plaintiff Danne Thompson is a Texas resident who resides in Bexar County, Texas.

         559.   Plaintiff Katheryn Moore is a Texas resident who resides in Tarrant County, Texas.

         560.   Plaintiff Richard Pudlo is a Texas resident who resides in Montgomery County,

Texas.

         561.   Plaintiff Harper Price is a Texas resident who resides in Brazoria County, Texas.

         562.   Plaintiff Carla Nagel is a Texas resident who resides in Cleburne County, Texas.

         563.   Plaintiff William B. Tyler is a Texas resident who resides in Montgomery County,

Texas.

         564.   Plaintiff William J. Whitburn, Jr. is a Texas resident who resides in Hunt County,

Texas.

         565.   Plaintiff Denice Yeagin is a Texas resident who resides in Travis County, Texas.

         566.   Plaintiff William Zed Penn is a Texas resident who resides in Harris County, Texas.

         567.   Plaintiff Rose Marie Penn is a Texas resident who resides in Harris County, Texas.

         568.   Plaintiff Karen Starnes is a Texas resident.

         569.   Plaintiff Jo Caraway is a Texas resident who resides in Jefferson County, Texas.

         570.   Plaintiff Ellen Stein is a Texas resident who resides in Montgomery County, Texas.



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         571.   Plaintiff Laura Oakley is a Texas resident who resides in Tarrant County, Texas.

         572.   Plaintiff Debbie Allcott is a Texas resident who resides in Montgomery County,

Texas.

         573.   Plaintiff Deborah Thorne is a Texas resident who resides in Collin County, Texas.

         574.   Plaintiff Kathleen Thonsgaard is a Texas resident.

         575.   Plaintiff Michael Silversmith is a Texas resident.

         576.   Plaintiff Vanessa Silversmith is a Texas resident.

         577.   Plaintiff Sherrie Morrison is a Texas resident who resides in Ector County, Texas.

         578.   Plaintiff Cheryl Garihan is a Texas resident who resides in Kerr County, Texas.

         579.   Plaintiff Nicole Tait is a Texas resident who resides in Tarrant County, Texas.

         580.   Plaintiff Dani Trees is a Texas resident who resides in Montgomery County, Texas.

         581.   Plaintiff Araceli Morris is a Texas resident who resides in Collin County, Texas.

         582.   Plaintiff Lonnie Beaty is a Texas resident who resides in Tarrant County, Texas.

         583.   Plaintiff Mary Windham is a Texas resident who resides in Harris County, Texas.

         584.   Plaintiff Hilary Rabeler is a Texas resident who resides in Tarrant County, Texas.

         585.   Plaintiff Thomas Jenkins is a Texas resident who resides in Williamson County,

Texas.

         586.   Plaintiff Sharilyn Fath is a Texas resident who resides in Brazoria County, Texas.

         587.   Plaintiff Bill Satterlee is a Texas resident who resides in Polk County, Texas.

         588.   Plaintiff John P. Nichols is a Texas resident who resides in Tarrant County, Texas.

         589.   Plaintiff Cinda L. Nichols is a Texas resident who resides in Tarrant County, Texas.

         590.   Plaintiff Greg Collis is a Texas resident who resides in Cooke County, Texas.




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         591.   Plaintiff Keatha Brown is a Texas resident who resides in Montgomery County,

Texas.

         592.   Plaintiff Charles Haight is a Texas resident who resides in Bell County, Texas.

         593.   Plaintiff Debra Jones is a Texas resident who resides in Dallas County, Texas.

         594.   Plaintiff Liz Cockrell is a Texas resident who resides in Fort Bend County, Texas.

         595.   Plaintiff Brittany Buchanan is a Texas resident who resides in Rockwall County,

Texas.

         596.   Plaintiff Clinton E. Hildabrand is a Texas resident who resides in Bexar County,

Texas.

         597.   Plaintiff Michael Ford is a Texas resident.

         598.   Plaintiff Rebecca Fanning is a Texas resident.

         599.   Plaintiff Todd Bullis is a Texas resident.

         600.   Plaintiff Anthony Uebel is a Texas resident who resides in Johnson County, Texas.

         601.   Plaintiff Nicole Uebel is a Texas resident who resides in Johnson County, Texas.

         602.   Plaintiff Beth Collis is a Texas resident who resides in Cooke County, Texas.

         603.   Plaintiff Jessica Herrera is a Texas resident who resides in Tarrant County, Texas.

         604.   Plaintiff Robert Herrera is a Texas resident who resides in Tarrant County, Texas.

         605.   Plaintiff Jonathan DeAnda is a Texas resident who resides in Harris County, Texas.

         606.   Plaintiff William Roberts is a Texas resident who resides in Walker County, Texas.

         607.   Plaintiff Julianne Adams is a Texas resident who resides in Kerr County, Texas.

         608.   Plaintiff Audra Gray is a Texas resident who resides in Collin County, Texas.

         609.   Plaintiff Susan Grindon is a Texas resident who resides in Harris County, Texas.

         610.   Plaintiff Laurie Schmid is a Texas resident who resides in Harris County, Texas.



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         611.   Plaintiff Anndrea Criswell is a Texas resident who resides in Harris County, Texas.

         612.   Plaintiff Jennifer Ringgold is a Texas resident who resides in Brazoria County,

Texas.

         613.   Plaintiff Alice Aten is a Texas resident who resides in Rusk County, Texas.

         614.   Plaintiff Denise Greer is a Texas resident who resides in Harris County, Texas.

         615.   Plaintiff Ken W. Browning is a Texas resident who resides in Montgomery County,

Texas.

         616.   Plaintiff Judy Thompson is a Texas resident who resides in Bell County, Texas.

         617.   Plaintiff Gene Lamoreaux is a Texas resident who resides in Collin County, Texas.

         618.   Plaintiff John R. Todd is a Texas resident who resides in Comal County, Texas.

         619.   Plaintiff Dale J. Kubbs is a Texas resident who resides in Collin County, Texas.

         620.   Plaintiff Mary Konarik is a Texas resident who resides in Harris County, Texas.

         621.   Plaintiff Laura Pressley, Ph.D. is a Texas resident who resides in Coryell County,

Texas.

         622.   Plaintiff Jeffrey G. Bane is a Texas resident who resides in Midland County, Texas.

         623.   Plaintiff Tim Zymantas is a Texas resident who resides in Collin County, Texas.

         624.   Plaintiff Jen Zymantas is a Texas resident who resides in Collin County, Texas.

         625.   Plaintiff Diane Van Hoozer is a Texas resident who resides in Fort Bend County,

Texas.

         626.   Plaintiff Sherri Golden is a Texas resident who resides in Taylor County, Texas.

         627.   Plaintiff Mike Blackledge is a Texas resident.

         628.   Plaintiff John Neighbors is a Texas resident.

         629.   Plaintiff Philip Pepin is a Texas resident who resides in Bexar County, Texas.



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         630.   Plaintiff Linda Gonino is a Texas resident.

         631.   Plaintiff Gaye Mackie is a Texas resident who resides in Hayes County, Texas.

         632.   Plaintiff Jim Wade is a Texas resident who resides in Grayson County, Texas.

         633.   Plaintiff Lori Valenti is a Texas resident.

         634.   Plaintiff David Bernal is a Texas resident.

         635.   Plaintiff Thomas Mackie is a Texas resident who resides in Hayes County, Texas.

         636.   Plaintiff Sheri Southard is a Texas resident who resides in Fort Bend County, Texas.

         637.   Plaintiff Dawn Lock is a Texas resident.

         638.   Plaintiff Andrea Moede is a Texas resident who resides in Comal County, Texas.

         639.   Plaintiff Scott Down is a Texas resident who resides in Harris County, Texas.

         640.   Plaintiff Sri Down is a Texas resident who resides in Harris County, Texas.

         641.   Plaintiff Terry Flick is a Texas resident who resides in Collin County, Texas.

         642.   Plaintiff Darin Cade is a Texas resident who resides in Harris County, Texas.

         643.   Plaintiff Nicole Fleming is a Texas resident who resides in Brazos County, Texas.

         644.   Plaintiff Whitney Thomas is a Texas resident who resides in Collin County, Texas.

         645.   Plaintiff Tiffany Powers is a Texas resident who resides in Williamson County,

Texas.

         646.   Plaintiff Richard Mendoza is a Texas resident.

         647.   Plaintiff Pamela Faye Cain-Johnson is a Texas resident who resides in Harris

County, Texas.

         648.   Plaintiff Frank Dryden is a Texas resident who resides in Jack County, Texas.

         649.   Plaintiff Nita Adam is a Texas resident.

         650.   Plaintiff Antonio Sanchez is a Texas resident.



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         651.   Plaintiff Terri Snow is a Texas resident who resides in Houston County, Texas.

         652.   Plaintiff Peggy Dazzio is a Texas resident who resides in Harris County, Texas.

         653.   Plaintiff Kristine Longwood is a Texas resident who resides in Fort Bend County,

Texas.

         654.   Plaintiff Monica Halliburton is a Texas resident who resides in Bexar County,

Texas.

         655.   Plaintiff Kerry Hellums is a Texas resident who resides in Gillespie County, Texas.

         656.   Plaintiff Toni Hellums is a Texas resident who resides in Gillespie County, Texas.

         657.   Plaintiff Ricci Bratton is a Texas resident who resides in Williamson County,

Texas.

         658.   Plaintiff Linda Trevino is a Texas resident who resides in Hidalgo County, Texas.

         659.   Plaintiff Lourdes Gonzalez is a Texas resident who resides in Maverick County,

Texas.

         660.   Plaintiff Helenna Marie Nesler is a Texas resident who resides in Hunt County,

Texas.

         661.   Plaintiff Krista Graff is a Texas resident who resides in Tarrant County, Texas.

         662.   Plaintiff Linda Veselka is a Texas resident.

         663.   Plaintiff Franklin L. Allbright is a Texas resident who resides in Bell County,

Texas.

         664.   Plaintiff Maureen Godsey is a Texas resident who resides in Denton County, Texas.

         665.   Plaintiff Spencer Delling is a Texas resident.

         666.   Plaintiff Marsha Brister is a Texas resident.

         667.   Plaintiff Dr. Christy Flick is a Texas resident.



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         668.   Plaintiff Cody Becker is a Texas resident who resides in Travis County, Texas.

         669.   Plaintiff Betty Anderson is a Texas resident who resides in Montgomery County,

Texas.

         670.   Plaintiff Dana Zuercher is a Texas resident.

         671.   Plaintiff Joan Britz is a Texas resident.

         672.   Plaintiff Charity King is a Texas resident who resides in Comal County, Texas.

         673.   Plaintiff Joni Boyd is a Texas resident who resides in Tarrant County, Texas.

         674.   Plaintiff Rand Boyd is a Texas resident who resides in Tarrant County, Texas.

         675.   Plaintiff Pamela Farley is a Texas resident who resides in Travis County, Texas.

         676.   Plaintiff Rachael Barton is a Texas resident who resides in Tarrant County, Texas.

         677.   Plaintiff Thomas R. Hull is a Texas resident.

         678.   Plaintiff Callie Gibson is a Texas resident.

         679.   Plaintiff George M. Clemens is a Texas resident who resides in Tarrant County,

Texas.

         680.   Plaintiff Ed Huber is a Texas resident.

         681.   Plaintiff Juan M. Padron is a Texas resident who resides in Jefferson County, Texas.

         682.   Plaintiff Martha L. Anglin is a Texas resident who resides in Galveston County,

Texas.

         683.   Plaintiff Paul Anderson is a Texas resident who resides in Kerr County, Texas.

         684.   Plaintiff David Wakeen is a Texas resident.

         685.   Plaintiff Sondra Zimmerman is a Texas resident who resides in Dallas County,

Texas.

         686.   Plaintiff Sandra E. Ray is a Texas resident who resides in Harris County, Texas.



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         687.   Plaintiff Julia E. Dailey is a Texas resident who resides in Kaufman County, Texas.

         688.   Plaintiff Jeanine T. Voss is a Texas resident who resides in Harris County, Texas.

         689.   Plaintiff Janice Borne is a Texas resident who resides in Brazoria County, Texas.

         690.   Plaintiff Karen Gates Frost is a Texas resident who resides in Angelina County,

Texas.

         691.   Plaintiff Laura Beth Jackson is a Texas resident who resides in Harris County,

Texas.

         692.   Plaintiff G. Scott Jackson is a Texas resident who resides in Harris County, Texas.

         693.   Plaintiff Diane Barnes is a Texas resident who resides in Denison County, Texas.

         694.   Plaintiff Thomas B. Beau is a Texas resident who resides in Galveston County,

Texas.

         695.   Plaintiff David L. Hartman, Jr. is a Texas resident.

         696.   Plaintiff Angela L. Hough is a Texas resident who resides in Tarrant County, Texas.

         697.   Plaintiff Charlotte Denmark is a Texas resident.

         698.   Plaintiff Gary M. Pirkle is a Texas resident who resides in Guadalupe County,

Texas.

         699.   Plaintiff Donald Zeek is a Texas resident who resides in Galveston County, Texas.

         700.   Plaintiff Geri Bentley is a Texas resident who resides in Galveston County, Texas.

         701.   Plaintiff Joseph A. Bourge is a Texas resident who resides in Orange County,

Texas.

         702.   Plaintiff Terri Wilson is a Texas resident.

         703.   Plaintiff Christine Martinez is a Texas resident who resides in Bexar County, Texas.

         704.   Plaintiff Michael Ketter is a Texas resident who resides in Tarrant County, Texas.



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         705.   Plaintiff Martha MacLean is a Texas resident.

         706.   Plaintiff Ken Clark is a Texas resident.

         707.   Plaintiff Cynia Read is a Texas resident.

         708.   Plaintiff Dennis Read is a Texas resident.

         709.   Plaintiff Janet Jordan is a Texas resident who resides in Montgomery County,

Texas.

         710.   Plaintiff Douglas Haun is a Texas resident who resides in Harris County, Texas.

         711.   Plaintiff Kenneth Clark is a Texas resident who resides in Galveston County, Texas.

         712.   Plaintiff Brad Booth is a Texas resident who resides in Tarrant County, Texas.

         713.   Plaintiff Ronda Latham is a Texas resident who resides in Hays County, Texas.

         714.   Plaintiff Rosa M. Montano is a Texas resident who resides in Hidalgo County,

Texas.

         715.   Plaintiff Jennifer Peterson is a Texas resident.

         716.   Plaintiff Richard Ertl is a Texas resident who resides in Travis County, Texas.

         717.   Plaintiff Desmond Flores is a Texas resident who resides in Harris County, Texas.

         718.   Plaintiff Janice Dempsey is a Texas resident who resides in Travis County, Texas.

         719.   Plaintiff Rose Mary Leal is a Texas resident who resides in Galveston County,

Texas.

         720.   Plaintiff Rhonda Mogford is a Texas resident who resides in Harris County, Texas.

         721.   Plaintiff Anastasia Sanders is a Texas resident.

         722.   Plaintiff Don Sanders is a Texas resident.

         723.   Plaintiff Monica Clark is a Texas resident.

         724.   Plaintiff Pat Corcoran is a Texas resident.



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         725.   Plaintiff Keith Noack is a Texas resident who resides in Montgomery County,

Texas.

         726.   Plaintiff Jared Saenz is a Texas resident who resides in Tarrant County, Texas.

         727.   Plaintiff Kevin Overbay is a Texas resident who resides in Kendall County, Texas.

         728.   Plaintiff Lee Lester is a Texas resident who resides in Harrison County, Texas.

         729.   Plaintiff Cynthia Bowen is a Texas resident who resides in Harris County, Texas.

         730.   Plaintiff Mary Kesler is a Texas resident who resides in Fort Bend County, Texas.

         731.   Plaintiff Angela Covarrubio is a Texas resident who resides in Colorado County,

Texas.

         732.   Plaintiff Allison Straub is a Texas resident who resides in Denton County, Texas.

         733.   Plaintiff Kevin Smith is a Texas resident who resides in Lee County, Texas.

         734.   Plaintiff Gina McGee is a Texas resident who resides in Tarrant County, Texas.

         735.   Plaintiff Monette Smith is a Texas resident who resides in Williamson County,

Texas.

         736.   Plaintiff Cynthia Caton is a Texas resident who resides in Dallas County, Texas.

         737.   Plaintiff Gary L. Cathey is a Texas resident who resides in Harris County, Texas.

         738.   Plaintiff Kari Schneider is a Texas resident who resides in Montgomery County,

Texas.

         739.   Plaintiff Larry Latham is a Texas resident who resides in Potter County, Texas.

         740.   Plaintiff Judy McDaniel is a Texas resident who resides in Midland County, Texas.

         741.   Plaintiff William Bruncke is a Texas resident who resides in Collin County, Texas.

         742.   Plaintiff Jennilyn Salinas is a Texas resident who resides in Bexar County, Texas.

         743.   Plaintiff Lyndsay Miller is a Texas resident who resides in Gregg County, Texas.



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         744.   Plaintiff John Bermudez is a Texas resident who resides in Harris County, Texas.

         745.   Plaintiff Diane Bloomberg is a Texas resident who resides in Brazoria County,

Texas.

         746.   Plaintiff Paul Kliman is a Texas resident who resides in Angelina County, Texas.

         747.   Plaintiff Darrell Jarnagin is a Texas resident.

         748.   Plaintiff Lori Davette Ince is a Texas resident who resides in Travis County, Texas.

         749.   Plaintiff Monette Ince is a Texas resident who resides in Travis County, Texas.

         750.   Plaintiff Katharine Kilpatrick is a Texas resident who resides in Collin County,

Texas.

         751.   Plaintiff William Kilpatrick is a Texas resident who resides in Collin County,

Texas.

         752.   Plaintiff Nancy Insko is a Texas resident who resides in Collin County, Texas.

         753.   Plaintiff Danny Garvin is a Texas resident who resides in Liberty County, Texas.

         754.   Plaintiff Angelia Garvin is a Texas resident who resides in Liberty County, Texas.

         755.   Plaintiff Myra J. Anderson is a Texas resident who resides in Bexar County, Texas.

         756.   Plaintiff Mike Olmstead is a Texas resident who resides in Harris County, Texas.

         757.   Plaintiff Kristin Bota is a Texas resident who resides in Rockwall County, Texas.

         758.   Plaintiff David Bota is a Texas resident who resides in Rockwall County, Texas.

         759.   Plaintiff Wilfred Vandrese is a Texas resident who resides in Rockwall County,

Texas.

         760.   Plaintiff Curtis Fish is a Texas resident who resides in Lubbock County, Texas.

         761.   Plaintiff Paul Bilyeu is a Texas resident.

         762.   Plaintiff Cynthia Newton is a Texas resident.



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         763.   Plaintiff Marita Segal is a Texas resident who resides in Fort Bend County, Texas.

         764.   Plaintiff Howard Segal is a Texas resident who resides in Fort Bend County, Texas.

         765.   Plaintiff Myra J. Anderson is a Texas resident who resides in Bexar County, Texas.

         766.   Plaintiff Gregory Scott Fulghum is a Texas resident who resides in Travis County,

Texas.

         767.   Plaintiff Philip Eichelberger is a Texas resident who resides in Dallas County,

Texas.

         768.   Plaintiff Melanie Webb is a Texas resident who resides in Travis County, Texas.

         769.   Plaintiff Jason Larman is a Texas resident who resides in Midland County, Texas.

         770.   Plaintiff Wendy Carlson is a Texas resident who resides in Rockwall County,

Texas.

         771.   Plaintiff Chelsea Schwartz is a Texas resident who resides in Denton County,

Texas.

         772.   Plaintiff Blake Gunn is a Texas resident who resides in Collin County, Texas.

         773.   Plaintiff Lisa Gunn is a Texas resident who resides in Collin County, Texas.

         774.   Plaintiff Edwin Haugen is a Texas resident who resides in Parker County, Texas.

         775.   Plaintiff Kristen Haugen is a Texas resident who resides in Parker County, Texas.

         776.   Plaintiff Dr. Jerry Morrison, MD is a Texas resident who resides in Harris County,

Texas.

         777.   Plaintiff Debra Ann Benson is a Texas resident who resides in Harris County,

Texas.

         778.   Plaintiff Phillip Archibald is a Texas resident who resides in Dallas County, Texas.




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         779.   Plaintiff The Physique Builder, LLC is a Texas Limited Liability Company doing

business in Dallas County, Texas.

         780.   Plaintiff Wyatt Winn is a Texas resident who resides in Denton County, Texas.

         781.   Plaintiff Eula Dennison is a Texas resident who resides in Brazoria County, Texas.

         782.   Plaintiff Butch Marsalis is a Texas resident who resides in Panola County, Texas.

         783.   Plaintiff Karen Marsalis is a Texas resident who resides in Panola County, Texas.

         784.   Plaintiff Shannon Saldivar is a Texas resident who resides in Dallas County, Texas.

         785.   Plaintiff Raymond Saldivar is a Texas resident who resides in Dallas County,

Texas.

         786.   Plaintiff Chelsey Lindsey is a Texas resident who resides in Dallas County, Texas.

         787.   Plaintiff Darlene A. Pendery is a Texas resident who resides in Denton County,

Texas.

         788.   Plaintiff David Alan Pendery is a Texas resident who resides in Denton County,

Texas.

         789.   Plaintiff Richard Baker is a Texas resident who resides in Erath County, Texas.

         790.   Plaintiff Rashell Bridle is a Texas resident who resides in Jefferson County, Texas.

         791.   Plaintiff Robert Bridle is a Texas resident who resides in Jefferson County, Texas.

         792.   Plaintiff Elizabeth Grimmett is a Texas resident who resides in Dallas County,

Texas.

         793.   Plaintiff Susan Featherstone is a Texas resident who resides in Kerr County, Texas.

         794.   Plaintiff Logan Bartley is a Texas resident who resides in Grayson County, Texas.

         795.   Plaintiff Lori Valadez is a Texas resident who resides in Tarrant County, Texas.

         796.   Plaintiff Albert Valadez is a Texas resident who resides in Tarrant County, Texas.



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         797.   Plaintiff Denise Davis is a Texas resident who resides in Travis County, Texas.

         798.   Plaintiff Stacy Dannenfelser is a Texas resident who resides in Harris County,

Texas.

         799.   Plaintiff Donna J. Brown is a Texas resident who resides in Ector County, Texas.

         800.   Plaintiff Leslie Berridge is a Texas resident who resides in Harris County, Texas.

         801.   Plaintiff Brian Glover is a Texas resident who resides in Tarrant County, Texas.

         802.   Plaintiff Randy Brandt is a Texas resident who resides in Galveston County, Texas.

         803.   Plaintiff Ivan G. Mieth, Jr. is a Texas resident who resides in Erath County, Texas

         804.   Plaintiff Liz Elliott is a Texas resident who resides in Ellis County, Texas.

         805.   Plaintiff Keith Elliott is a Texas resident who resides in Ellis County, Texas.

         806.   Plaintiff Leslie Wetzel is a Texas resident who resides in Burnet County, Texas.

         807.   Plaintiff James Tomberlin is a Texas resident who resides in Harris County, Texas.

         808.   Plaintiff John A. Kenagy is a Texas resident who resides in Bexar County, Texas.

         809.   Plaintiff Michael D. Puckett is a Texas resident who resides in Galveston County,

Texas.

         810.   Plaintiff Thomas B. Miller is a Texas resident who resides in Galveston County,

Texas.

         811.   Plaintiff Kathy Spitale is a Texas resident who resides in Tarrant County, Texas.

         812.   Plaintiff Kari Richardson is a Texas resident who resides in Harris County, Texas.

         813.   Plaintiff Leigh Wilcox is a Texas resident who resides in Collin County, Texas.

         814.   Plaintiff Rex Febus is a Texas resident who resides in Lubbock County, Texas.

         815.   Plaintiff Patrick Whipple is a Texas resident who resides in Harris County, Texas.

         816.   Plaintiff Rita Whipple is a Texas resident who resides in Harris County, Texas.



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         817.   Plaintiff Allison Fey is a Texas resident who resides in Guadalupe County, Texas.

         818.   Plaintiff Lisa Cox is a Texas resident who resides in Grayson County, Texas.

         819.   Plaintiff Doug Folks is a Texas resident.

         820.   Plaintiff Sandra G. Smith is a Texas resident who resides in Howard County, Texas.

         821.   Plaintiff Lou Marini is a Texas resident who resides in Collin County, Texas.

         822.   Plaintiff Jennifer Marini is a Texas resident who resides in Collin County, Texas.

         823.   Plaintiff Alaina Marini is a Texas resident who resides in Collin County, Texas.

         824.   Plaintiff Michael Molina, II is a Texas resident who resides in Williamson County,

Texas.

         825.   Plaintiff Sarah Becker is a Texas resident who resides in Travis County, Texas.

         826.   Plaintiff Fred Brown is a Texas resident who resides in Milam County, Texas.

         827.   Plaintiff Matthew Connell is a Texas resident who resides in Bexar County, Texas.

         828.   Plaintiff Charlene Connell is a Texas resident who resides in Bexar County, Texas.

         829.   Plaintiff James C. Kallimani is a Texas resident who resides in Travis County,

Texas.

         830.   Plaintiff Billy Wayne Moore is a Texas resident who resides in Montgomery

County, Texas.

         831.   Plaintiff Margie Viola Moore is a Texas resident who resides in Montgomery

County, Texas.

         832.   Plaintiff J.L. Fox is a Texas resident who resides in Parker County, Texas.

         833.   Plaintiff Forrest Jackson is a Texas resident.

         834.   Plaintiff Kellianne Jackson is a Texas resident.

         835.   Plaintiff T.J. Fabby is a Texas resident.



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         836.   Plaintiff Tracy Forde is a Texas resident.

         837.   Plaintiff Joy Mitchell is a Texas resident who resides in Motgomery County, Texas.

         838.   Plaintiff Cindy Dodson is a Texas resident.

         839.   Plaintiff Jerri Neese is a Texas resident.

         840.   Plaintiff Donald F. Woodson is a Texas resident who resides in Ellis County, Texas.

         841.   Plaintiff Karen Jones is a Texas resident who resides in Montgomery County,

Texas.

         842.   Plaintiff Daniel Miller is a Texas resident.

         843.   Plaintiff Dana Bartels is a Texas resident.

         844.   Plaintiff Clide Ferreira is a Texas resident who resides in Montgomery County,

Texas.

         845.   Plaintiff David Kimbrough is a Texas resident.

         846.   Plaintiff Wendy Land is a Texas resident.

         847.   Plaintiff Lorin Cardona is a Texas resident who resides in Collin County, Texas.

         848.   Plaintiff Donald W. Skiles is a Texas resident who resides in Coryell County,

Texas.

         849.   Plaintiff Jeffery G. Bane is a Texas resident who resides in Midland County, Texas.

         850.   Plaintiff Mary Ross is a Texas resident who resides in Harris County, Texas.

         851.   Plaintiff Jerri Lynn Ward, JD is a Texas resident who resides in Travis County,

Texas.

         852.   Plaintiff Christian Collins is a Texas resident.

         853.   Plaintiff Amanda Huggins is a Texas resident who resides in Denton County,

Texas.



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         854.   Plaintiff Jack Reagan is a Texas resident.

         855.   Plaintiff Miranda Woodcock is a Texas resident.

         856.   Plaintiff Mike Sanders is a Texas resident who resides in Travis County, Texas.

         857.   Plaintiff Joey Luder is a Texas resident.

         858.   Plaintiff Alicia Zbylot is a Texas resident who resides in Harris County, Texas.

         859.   Plaintiff Chris Dishman is a Texas resident.

         860.   Plaintiff Donna Holt is a Texas resident who resides in Harris County, Texas.

         861.   Plaintiff Mary Anne Aiken is a Texas resident who resides in Smith County, Texas.

         862.   Plaintiff Linda Ogden is a Texas resident who resides in Montgomery County,

Texas.

         863.   Plaintiff Nicole Adkins is a Texas resident who resides in Comal County, Texas.

         864.   Plaintiff Jean Shaw is a Texas resident who resides in Montgomery County, Texas.

         865.   Plaintiff Wendy Peng is a Texas resident who resides in Denton County, Texas.

         866.   Plaintiff Philip Litton is a Texas resident who resides in Hays County, Texas.

         867.   Plaintiff Maribi S. Litton is a Texas resident who resides in Hays County, Texas.

         868.   Plaintiff Cheryl Carter is a Texas resident who resides in San Jacinto County,

Texas.

         869.   Plaintiff Cathy Collins is a Texas resident who resides in Denton County, Texas.

         870.   Plaintiff Tim Archer is a Texas resident who resides in Denton County, Texas.

         871.   Plaintiff Diane Noskrent is a Texas resident who resides in Montgomery County,

Texas.

         872.   Plaintiff Jeanne Garcia is a Texas resident who resides in Harris County, Texas.




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         873.   Plaintiff Peter Allison is a Texas resident who resides in Montgomery County,

Texas.

         874.   Plaintiff Angela Knittel is a Texas resident who resides in Williamson County,

Texas.

         875.   Plaintiff Michele Dunham is a Texas resident who resides in Collin County, Texas.

         876.   Plaintiff Patrick Knapick is a Texas resident who resides in Bexar County, Texas.

         877.   Plaintiff Shane Reuther is a Texas resident who resides in Upshur County, Texas.

         878.   Plaintiff Chelsey Reuther is a Texas resident who resides in Upshur County, Texas.

         879.   Plaintiff J.B. Daniel is a Texas resident who resides in Bandera County, Texas.

         880.   Plaintiff Stacy McMahan is a Texas resident who resides in Upshur County, Texas.

         881.   Plaintiff Jeanie Huble is a Texas resident who resides in Harris County, Texas.

         882.   Plaintiff Craig Licciardi is a Texas resident who resides in Smith County, Texas.

         883.   Plaintiff Catherine Masden is a Texas resident who resides in Montgomery County,

Texas.

         884.   Plaintiff George McDonough is a Texas resident who resides in Harris County,

Texas.

         885.   Plaintiff Maria Kind is a Texas resident who resides in Williamson County, Texas.

         886.   Plaintiff Ann Marek is a Texas resident who resides in Montgomery County, Texas.

         887.   Plaintiff Sheryl Hendrix is a Texas resident who resides in Polk County, Texas.

         888.   Plaintiff George Lingenfelder is a Texas resident who resides in Harris County,

Texas.

         889.   Plaintiff Charles A. Barron is a Texas resident who resides in Montgomery County,

Texas.



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         890.   Plaintiff Karen Dormois is a Texas resident who resides in Austin County, Texas.

         891.   Plaintiff Teresa Coleman is a Texas resident who resides in Ellis County, Texas.

         892.   Plaintiff Kathryn Monette is a Texas resident who resides in Dallas County, Texas.

         893.   Plaintiff Monica Kidd is a Texas resident who resides in Smith County, Texas.

         894.   Plaintiff Cathy Crate is a Texas resident who resides in Harris County, Texas.

         895.   Plaintiff Joe Locetta is a Texas resident who resides in Montgomery County, Texas.

         896.   Plaintiff Carol Pauwels is a Texas resident who resides in Fort Bend County, Texas.

         897.   Plaintiff Kendal Johnston is a Texas resident who resides in Taylor County, Texas.

         898.   Plaintiff David R. Mogill is a Texas resident who resides in Montgomery County,

Texas.

         899.   Plaintiff Billy Graff is a Texas resident who resides in Montgomery County, Texas.

         900.   Plaintiff David Hill is a Texas resident.

         901.   Plaintiff Elizabeth Dingman is a Texas.

         902.   Plaintiff Carmen Studer is a Texas resident.

         903.   Plaintiff Sharon Wade is a Texas resident who resides in Grayson County, Texas.

         904.   Plaintiff Deniz Boyd is a Texas resident who resides in Harris County, Texas.

         905.   Plaintiff Sarah Gardner is a Texas resident who resides in Bell County, Texas.

         906.   Plaintiff Rosalie Doyle is a Texas resident who resides in Travis County, Texas.

         907.   Plaintiff Margaret Ragland is a Texas resident who resides in Dallas County, Texas.

         908.   Plaintiff Dale Bocker is a Texas resident who resides in Taylor County, Texas.

         909.   Plaintiff Mollie Hlebik is a Texas resident who resides in Guadalupe County,

Texas.




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         910.   Plaintiff Robin Arnold is a Texas resident who resides in Montgomery County,

Texas.

         911.   Plaintiff John Day is a Texas resident who resides in Taylor County, Texas.

         912.   Plaintiff Otilia Capistran is a Texas resident who resides in Harris County, Texas.

         913.   Plaintiff Carole H. Haynes, Ph.D is a Texas resident who resides in Denton County,

Texas.

         914.   Plaintiff Shannon Prater is a Texas resident who resides in Dallas County, Texas.

         915.   Plaintiff Denell McClure is a Texas resident.

         916.   Plaintiff Marcia Walden is a Texas resident who resides in Montgomery County,

Texas.

         917.   Plaintiff John Mann is a Texas resident who resides in Galveston County, Texas.

         918.   Plaintiff Cindi Salinas is a Texas resident who resides in Harris County, Texas.

         919.   Plaintiff Helen Reyes is a Texas resident who resides in Jefferson County, Texas.

         920.   Plaintiff Rene Garza is a Texas resident who resides in Brazoria County, Texas.

         921.   Plaintiff Ann Barfield is a Texas resident who resides in Bowie County, Texas.

         922.   Plaintiff James Preston is a Texas resident who resides in Harris County, Texas.

         923.   Plaintiff Renee Sullins is a Texas resident who resides in Austin County, Texas.

         924.   Plaintiff Alan R. Stearns is a Texas resident who resides in Montgomery County,

Texas.

         925.   Plaintiff Charlene Creek is a Texas resident who resides in Carson County, Texas.

         926.   Plaintiff Phyllis Anderson is a Texas resident who resides in Wood County, Texas.

         927.   Plaintiff Marilyn Word is a Texas resident who resides in Sutton County, Texas.

         928.   Plaintiff Laura Grizzle is a Texas resident who resides in Wharton County, Texas.



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         929.   Plaintiff Scott Bailey is a Texas resident who resides in Collin County, Texas.

         930.   Plaintiff Andrea Sallade is a Texas resident who resides in Parker County, Texas.

         931.   Plaintiff Mary Escalante is a Texas resident who resides in Harris County, Texas.

         932.   Plaintiff Linda Canady is a Texas resident who resides in Hamilton County, Texas.

         933.   Plaintiff Tad Preston is a Texas resident who resides in Denton County, Texas.

         934.   Plaintiff Sylvia Hallerman is a Texas resident who resides in Tarrant County,

Texas.

         935.   Plaintiff Cathy Wells is a Texas resident who resides in Wise County, Texas.

         936.   Plaintiff B.J. Harman is a Texas resident who resides in Collin County, Texas.

         937.   Plaintiff Debbie Vanderburg is a Texas resident who resides in Collin County,

Texas.

         938.   Plaintiff Jan Hinson is a Texas resident who resides in Taylor County, Texas.

         939.   Plaintiff Sheila Ambroz is a Texas resident who resides in Bosque County, Texas.

         940.   Plaintiff Marcia Newman is a Texas resident who resides in Montgomery County,

Texas.

         941.   Plaintiff Rose Hutchinson is a Texas resident who resides in Harris County, Texas.

         942.   Plaintiff Teesha Spencer is a Texas resident who resides in Montgomery County,

Texas.

         943.   Plaintiff Michelle Mittelstaedt is a Texas resident who resides in Denton County,

Texas.

         944.   Plaintiff Carol LaFon is a Texas resident who resides in Montgomery County,

Texas.

         945.   Plaintiff Jack Cunningham is a Texas resident who resides in Harris County, Texas.



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         946.   Plaintiff Sharon Morgan-Lind is a Texas resident who resides in Harris County,

Texas.

         947.   Plaintiff Gwyn Eury is a Texas resident who resides in Rockwall County, Texas.

         948.   Plaintiff Krislena Weston is a Texas resident who resides in Travis County, Texas.

         949.   Plaintiff Rebecca Kumar is a Texas resident who resides in Denton County, Texas.

         950.   Plaintiff Virginia Lamoureux is a Texas resident who resides in Denton County,

Texas.

         951.   Plaintiff Jacob Langston is a Texas resident who resides in Bexar County, Texas.

         952.   Plaintiff Kimberly Kraus is a Texas resident who resides in Gillespie County,

Texas.

         953.   Plaintiff Beth Heinley is a Texas resident who resides in Wood County, Texas.

         954.   Plaintiff James Boucher is a Texas resident who resides in Refugio County, Texas.

         955.   Plaintiff Joan Engen is a Texas resident who resides in Travis County, Texas.

         956.   Plaintiff Natalia DeLaOssa is a Texas resident who resides in Wood County, Texas.

         957.   Plaintiff Barbara Hawkins is a Texas resident who resides in Montgomery County,

Texas.

         958.   Plaintiff Heather Harris is a Texas resident who resides in Stephens County, Texas.

         959.   Plaintiff Tina Landrum is a Texas resident who resides in Galveston County, Texas.

         960.   Plaintiff William Robinson is a Texas resident who resides in Val Verde County,

Texas.

         961.   Plaintiff Wayne Potter is a Texas resident who resides in Fort Bend County, Texas.

         962.   Plaintiff Laura Stearns is a Texas resident who resides in Ector County, Texas.

         963.   Plaintiff Richard Stoisits is a Texas resident who resides in Harris County, Texas.



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         964.   Plaintiff Tanya Adkins is a Texas resident who resides in Ellis County, Texas.

         965.   Plaintiff Cheryl Wyble is a Texas resident who resides in Burelson County, Texas.

         966.   Plaintiff Alicia Criswell is a Texas resident who resides in Denton County, Texas.

         967.   Plaintiff Jackie Medina is a Texas resident who resides in Harris County, Texas.

         968.   Plaintiff Lisa Dimmitt is a Texas resident who resides in Fort Bend County, Texas.

         969.   Plaintiff Robert Howle is a Texas resident who resides in Collin County, Texas.

         970.   Plaintiff Eula McKown is a Texas resident who resides in McLennan County,

Texas.

         971.   Plaintiff Shonda Juarez is a Texas resident who resides in Smith County, Texas.

         972.   Plaintiff Arturo Galindo is a Texas resident who resides in Bexar County, Texas.

         973.   Plaintiff Ronald Lapaglia is a Texas resident who resides in Montgomery County,

Texas.

         974.   Plaintiff Missie Carra is a Texas resident who resides in Tarrant County, Texas.

         975.   Plaintiff Cliff Criswell is a Texas resident who resides in Hood County, Texas.

         976.   Plaintiff Hilary Shellhorse is a Texas resident who resides in Tarrant County,

Texas.

         977.   Plaintiff Rhea Robison is a Texas resident who resides in Montgomery County,

Texas.

         978.   Plaintiff Kim Walton is a Texas resident who resides in Tarrant County, Texas.

         979.   Plaintiff Shelli Schulgen is a Texas resident who resides in Van Zandt County,

Texas.

         980.   Plaintiff James Schulgen is a Texas resident who resides in Van Zandt County,

Texas.



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         981.   Plaintiff Deborah Hart is a Texas resident who resides in Collin County, Texas.

         982.   Plaintiff Roy Streckfuss is a Texas resident who resides in Harris County, Texas.

         983.   Plaintiff Kate Buenger is a Texas resident who resides in Collin County, Texas.

         984.   Plaintiff Milton Ryan is a Texas resident who resides in Tarrant County, Texas.

         985.   Plaintiff Kathryn Krosley is a Texas resident who resides in Bell County, Texas.

         986.   Plaintiff Angelica Clark is a Texas resident who resides in Waller County, Texas.

         987.   Plaintiff LaDona Willess is a Texas resident who resides in Rockwall County,

Texas.

         988.   Plaintiff Alva Driscoll is a Texas resident who resides in Parker County, Texas.

         989.   Plaintiff Philip Peoples is a Texas resident who resides in Rockwall County, Texas.

         990.   Plaintiff Austin Brodeur is a Texas resident who resides in Harris County, Texas.

         991.   Plaintiff Candy Hall is a Texas resident who resides in Collin County, Texas.

         992.   Plaintiff Deanna Briem is a Texas resident who resides in Harris County, Texas.

         993.   Plaintiff Marsha Bujnoch is a Texas resident who resides in Harris County, Texas.

         994.   Plaintiff Tammy Blair is a Texas resident who resides in Smith County, Texas.

         995.   Plaintiff Krischena Allred is a Texas resident who resides in Tarrant County, Texas.

         996.   Plaintiff Maria Maldonado is a Texas resident who resides in Dallas County, Texas.

         997.   Plaintiff Charles Johnson is a Texas resident who resides in Montgomery County,

Texas.

         998.   Plaintiff Jenifer Gibson is a Texas resident who resides in Wood County, Texas.

         999.   Plaintiff Doug Cotton is a Texas resident who resides in Llano County, Texas.

         1000. Plaintiff Marty Whitmire is a Texas resident who resides in Rusk County, Texas.

         1001. Plaintiff Maria Solis is a Texas resident who resides in Johnson County, Texas.



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         1002. Plaintiff Laura Davlin is a Texas resident who resides in Smith County, Texas.

         1003. Plaintiff Carla Robertson is a Texas resident who resides in Orange County, Texas.

         1004. Plaintiff Jason Bailey is a Texas resident who resides in Harris County, Texas.

         1005. Plaintiff Todd Smith is a Texas resident who resides in Travis County, Texas.

         1006. Plaintiff Ruth York is a Texas resident who resides in Eastland County, Texas.

         1007. Plaintiff Todd Hartman is a Texas resident who resides in Williamson County,

Texas.

         1008. Plaintiff Margo Keller is a Texas resident who resides in Harris County, Texas.

         1009. Plaintiff Linda DeAnda is a Texas resident who resides in Hidalgo County, Texas.

         1010. Plaintiff Paula Lipsey is a Texas resident who resides in Ellis County, Texas.

         1011. Plaintiff Sam Anderson is a Texas resident who resides in Denton County, Texas.

         1012. Plaintiff Betsy Rodriguez is a Texas resident who resides in Collin County, Texas.

         1013. Plaintiff Diane Cole is a Texas resident who resides in Smith County, Texas.

         1014. Plaintiff Kristi Pendergrass is a Texas resident who resides in Collin County, Texas.

         1015. Plaintiff Candie Shipman is a Texas resident who resides in Collin County, Texas.

         1016. Plaintiff Angela Hooper is a Texas resident who resides in Tarrant County, Texas.

         1017. Plaintiff Cara Gunia is a Texas resident who resides in Tarrant County, Texas.

         1018. Plaintiff Sommer Lapitsky is a Texas resident who resides in Tarrant County,

Texas.

         1019. Plaintiff Rachelle Seaton is a Texas resident who resides in Rains County, Texas.

         1020. Plaintiff Barbara Patton is a Texas resident who resides in Ector County, Texas.

         1021. Plaintiff Katy Martinez is a Texas resident who resides in Harris County, Texas.




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         1022. Plaintiff Gina Cornelius is a Texas resident who resides in Fort Bend County,

Texas.

         1023. Plaintiff Deb Neuhuyse is a Texas resident who resides in Collin County, Texas.

         1024. Plaintiff Laurie Westenhaver is a Texas resident who resides in Dallas County,

Texas.

         1025. Plaintiff Rebecca Dahlquist is a Texas resident who resides in Bexar County, Texas.

         1026. Plaintiff Susan Miller is a Texas resident who resides in Van Zandt County, Texas.

         1027. Plaintiff Lisa Wien is a Texas resident who resides in Collin County, Texas.

         1028. Plaintiff Elaine Fleming is a Texas resident who resides in Goliad County, Texas.

         1029. Plaintiff Libby Harkey is a Texas resident who resides in Camp County, Texas.

         1030. Plaintiff Marina Von Bergen is a Texas resident who resides in Harris County,

Texas.

         1031. Plaintiff William Landers is a Texas resident who resides in Rockwall County,

Texas.

         1032. Plaintiff Rhesha Landers is a Texas resident who resides in Rockwall County,

Texas.

         1033. Plaintiff Arlene Smart is a Texas resident who resides in Liberty County, Texas.

         1034. Plaintiff Michelle Nelson is a Texas resident who resides in Denton County, Texas.

         1035. Plaintiff Terri McGee is a Texas resident who resides in Callahan County, Texas.

         1036. Plaintiff Allison Barton is a Texas resident who resides in Denton County, Texas.

         1037. Plaintiff Tracy Bridges is a Texas resident who resides in Fannin County, Texas.

         1038. Plaintiff Veronica Dayoub is a Texas resident who resides in Ector County, Texas.

         1039. Plaintiff Claudia Turcott is a Texas resident who resides in Harris County, Texas.



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         1040. Plaintiff Joelene Lux is a Texas resident who resides in Harris County, Texas.

         1041. Plaintiff Benjamin Barney is a Texas resident.

         1042. Plaintiff Donald Clark is a Texas resident who resides in Smith County, Texas.

         1043. Plaintiff Jane Scussel is a Texas resident who resides in Harris County, Texas.

         1044. Plaintiff Starla Malek is a Texas resident who resides in Fort Bend County, Texas.

         1045. Plaintiff Suzy Fitzgerald is a Texas resident who resides in Harris County, Texas.

         1046. Plaintiff Teresa Powell is a Texas resident who resides in Leon County, Texas.

         1047. Plaintiff Mike Coy is a Texas resident who resides in Leon County, Texas.

         1048. Plaintiff Grady Thompson is a Texas resident who resides in Jefferson County,

Texas.

         1049. Plaintiff Doc Greene is a Texas resident who resides in Harris County, Texas.

         1050. Plaintiff Cindy Torio is a Texas resident who resides in Guadalupe County, Texas.

         1051. Plaintiff Eric Sutphin is a Texas resident who resides in Dallas County, Texas.

         1052. Plaintiff Kathy Young is a Texas resident who resides in Harris County, Texas.

         1053. Plaintiff Steven Jones is a Texas resident who resides in Travis County, Texas.

         1054. Plaintiff Sandra Birkline is a Texas resident who resides in Harris County, Texas.

         1055. Plaintiff Debbie Laird is a Texas resident who resides in Bastrop County, Texas.

         1056. Plaintiff Luella May is a Texas resident who resides in Delta County, Texas.

         1057. Plaintiff Jerry Pearce is a Texas resident who resides in Harris County, Texas.

         1058. Plaintiff Veronica Pearce is a Texas resident who resides in Harris County, Texas.

         1059. Plaintiff Nancy McConnell is a Texas resident who resides in Palo Pinto County,

Texas.




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         1060. Plaintiff Alan Stearns is a Texas resident who resides in Montgomery County,

Texas.

         1061. Plaintiff James Villarreal is a Texas resident who resides in Tarrant County, Texas.

         1062. Plaintiff Brad Birdwell is a Texas resident who resides in Harris County, Texas.

         1063. Plaintiff Rosemary Panici is a Texas resident who resides in Guadalupe County,

Texas.

         1064. Plaintiff Gail Atwater is a Texas resident who resides in Travis County, Texas.

         1065. Plaintiff Kandise Bertelson is a Texas resident who resides in Ellis County, Texas.

         1066. Plaintiff Jill Ebel is a Texas resident who resides in Rockwall County, Texas.

         1067. Plaintiff Ann Hamilton is a Texas resident who resides in Travis County, Texas.

         1068. Plaintiff Karen Gilbert is a Texas resident who resides in Montgomery County,

Texas.

         1069. Plaintiff Sandra Caldwell is a Texas resident who resides in Montgomery County,

Texas.

         1070. Plaintiff Kim McMahon is a Texas resident who resides in Hardin County, Texas.

         1071. Plaintiff Thomas Landry is a Texas resident who resides in Fort Bend County,

Texas.

         1072. Plaintiff Debra Stearns is a Texas resident who resides in Montgomery County,

Texas.

         1073. Plaintiff Brian Adkins is a Texas resident who resides in Parker County, Texas.

         1074. Plaintiff Patrick Wallace is a Texas resident who resides in Tarrant County, Texas.

         1075. Plaintiff Julie Rainey is a Texas resident who resides in Harris County, Texas.

         1076. Plaintiff Felix Rodriquez is a Texas resident who resides in Ector County, Texas.



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         1077. Plaintiff Hannah Zbylot is a Texas resident who resides in Harris County, Texas.

         1078. Plaintiff Julia Stephens is a Texas resident who resides in Van Zandt County, Texas.

         1079. Plaintiff Dennis Mangrum is a Texas resident who resides in Grayson County,

Texas.

         1080. Plaintiff William Tolbert is a Texas resident who resides in Walker County, Texas.

         1081. Plaintiff Lynette Lucas is a Texas resident who resides in Tom Green County,

Texas.

         1082. Plaintiff Amber Colier is a Texas resident who resides in Brazos County, Texas.

         1083. Plaintiff John Sprankle is a Texas resident.

         1084. Plaintiff Andrea Sheinbein is a Texas resident who resides in Williamson County,

Texas.

         1085. Plaintiff James Walker is a Texas resident who resides in Tarrant County, Texas.

         1086. Plaintiff Suzanne Johnston is a Texas resident who resides in Collin County, Texas.

         1087. Plaintiff James Dowell is a Texas resident who resides in Galveston County, Texas.

         1088. Plaintiff Amy Lindsay is a Texas resident who resides in Walker County, Texas.

         1089. Plaintiff Kavita Proothee is a Texas resident who resides in Tarrant County, Texas.

         1090. Plaintiff Emanuela Rios is a Texas resident who resides in Harris County, Texas.

         1091. Plaintiff Fidel Sanchez is a Texas resident who resides in Harris County, Texas.

         1092. Plaintiff Jean Sanchez is a Texas resident who resides in Harris County, Texas.

         1093. Plaintiff Carre Perry is a Texas resident who resides in Harris County, Texas.

         1094. Plaintiff Jose Rivera is a Texas resident who resides in Harris County, Texas.

         1095. Plaintiff Dee Jones is a Texas resident who resides in Fort Bend County, Texas.

         1096. Plaintiff Yvonne Riley is a Texas resident who resides in Harris County, Texas.



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         1097. Plaintiff Lisa Henderson is a Texas resident who resides in Brazoria County, Texas.

         1098. Plaintiff Kathleen Airaudi is a Texas resident who resides in Bastrop County,

Texas.

         1099. Plaintiff Tami Smith is a Texas resident who resides in Harris County, Texas.

         1100. Plaintiff Debbie Landry is a Texas resident who resides in Fort Bend County,

Texas.

         1101. Plaintiff Alan Tessneer is a Texas resident who resides in Potter County, Texas.

         1102. Plaintiff Beau Hughes is a Texas resident who resides in Midland County, Texas.

         1103. Plaintiff Holly Craig is a Texas resident who resides in Burnet County, Texas.

         1104. Plaintiff William Drennan is a Texas resident who resides in Franklin County,

Texas.

         1105. Plaintiff Lynn Ford is a Texas resident who resides in Tarrant County, Texas.

         1106. Plaintiff Christi Cheramie is a Texas resident who resides in Harris County, Texas.

         1107. Plaintiff Russell Rush is a Texas resident who resides in Harris County, Texas.

         1108. Plaintiff Marie Anne Rush is a Texas resident who resides in Harris County, Texas.

         1109. Plaintiff Debbie Weatherford is a Texas resident who resides in Waller County,

Texas.

         1110. Plaintiff Nancy Madson is a Texas resident who resides in Collin County, Texas.

         1111. Plaintiff Diane Johnson is a Texas resident who resides in Tarrant County, Texas.

         1112. Plaintiff Joanna Stirt is a Texas resident who resides in Bandera County, Texas.

         1113. Plaintiff Wanda McKenzie Best is a Texas resident who resides in Denton County,

Texas.

         1114. Plaintiff Roger Morman is a Texas resident who resides in Titus County, Texas.



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         1115. Plaintiff Valerie Murphy is a Texas resident who resides in Montgomery County,

Texas.

         1116. Plaintiff Vicky Milner is a Texas resident who resides in Brazoria County, Texas.

         1117. Plaintiff Terri Morgan is a Texas resident who resides in Hood County, Texas.

         1118. Plaintiff Jeanne Kelley is a Texas resident who resides in Tarrant County, Texas.

         1119. Plaintiff Michael Yeary is a Texas resident who resides in Upton County, Texas.

         1120. Plaintiff Delaine Shenkir is a Texas resident.

         1121. Plaintiff Janet Currie is a Texas resident who resides in Gonzales County, Texas.

         1122. Plaintiff Bobby Chamberlain is a Texas resident who resides in Dallas County,

Texas.

         1123. Plaintiff Debbie Landrum is a Texas resident who resides in Kendall County,

Texas.

         1124. Plaintiff Mary Mills is a Texas resident who resides in Travis County, Texas.

         1125. Plaintiff Dianna Rhodes is a Texas resident who resides in Comal County, Texas.

         1126. Plaintiff Tonya Fowler is a Texas resident who resides in Comal County, Texas.

         1127. Plaintiff Gary Wilhide is a Texas resident who resides in Fort Bend County, Texas.

         1128. Plaintiff Ben Allen is a Texas resident who resides in Bastrop County, Texas.

         1129. Plaintiff Millee Procella is a Texas resident who resides in Orange County, Texas.

         1130. Plaintiff Lydia Burns is a Texas resident who resides in Harris County, Texas.

         1131. Plaintiff Mechelle Johnson is a Texas resident who resides in Harris County, Texas.

         1132. Plaintiff Matt Bryant is a Texas resident who resides in Dallas County, Texas.

         1133. Plaintiff Susan Butler is a Texas resident who resides in San Jacinto County, Texas.

         1134. Plaintiff Carl Reed is a Texas resident who resides in Travis County, Texas.



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         1135. Plaintiff Kathy Boop is a Texas resident who resides in Dallas County, Texas.

         1136. Plaintiff Selma Smith is a Texas resident who resides in Travis County, Texas.

         1137. Plaintiff Jennifer Bertino is a Texas resident who resides in Travis County, Texas.

         1138. Plaintiff Terry Hall is a Texas resident who resides in Travis County, Texas.

         1139. Plaintiff Robert Butler is a Texas resident who resides in Fort Bend County, Texas.

         1140. Plaintiff Joy Montgomery is a Texas resident who resides in Hays County, Texas.

         1141. Plaintiff Kimberly Waltz is a Texas resident who resides in Scurry County, Texas.

         1142. Plaintiff Clint McBride is a Texas resident.

         1143. Plaintiff Glenda Piacenti is a Texas resident who resides in Montgomery County,

Texas.

         1144. Plaintiff Bridgett Anderson is a Texas resident who resides in Montague County,

Texas.

         1145. Plaintiff Cne Tolivar is a Texas resident who resides in Van Zandt County, Texas.

         1146. Plaintiff Dana LaRue is a Texas resident who resides in Collin County, Texas.

         1147. Plaintiff James Honey is a Texas resident who resides in Harris County, Texas.

         1148. Plaintiff Shirlene Shears is a Texas resident who resides in Guadalupe County,

Texas.

         1149. Plaintiff Johanna Barton is a Texas resident who resides in Galveston County,

Texas.

         1150. Plaintiff Sherrie Hairston is a Texas resident who resides in Dallas County, Texas.

         1151. Plaintiff Shad Marshall is a Texas resident who resides in Collin County, Texas.

         1152. Plaintiff Roberta Agness is a Texas resident who resides in Polk County, Texas.

         1153. Plaintiff Anastasia Bright is a Texas resident who resides in Collin County, Texas.



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         1154. Plaintiff Melissa Kalina is a Texas resident who resides in Travis County, Texas.

         1155. Plaintiff Christina Tierney is a Texas resident who resides in Collin County, Texas.

         1156. Plaintiff Candice Edwards is a Texas resident who resides in Fort Bend County,

Texas.

         1157. Plaintiff Marta Basez is a Texas resident who resides in Travis County, Texas.

         1158. Plaintiff Angela Hartsock is a Texas resident who resides in Rockwall County,

Texas.

         1159. Plaintiff Teresha Nelson is a Texas resident who resides in Comal County, Texas.

         1160. Plaintiff Kristen Stone is a Texas resident who resides in Travis County, Texas.

         1161. Plaintiff Courtney Hanson is a Texas resident who resides in Erath County, Texas.

         1162. Plaintiff Alane Beard is a Texas resident who resides in Collin County, Texas.

         1163. Plaintiff Frances Perez is a Texas resident who resides in Galveston County, Texas.

         1164. Plaintiff Candida Granados is a Texas resident who resides in Collin County, Texas.

         1165. Plaintiff Denise Hernandez is a Texas resident who resides in Bexar County, Texas.

         1166. Plaintiff Candace Denney is a Texas resident who resides in Dallas County, Texas.

         1167. Plaintiff Kenneth Bush is a Texas resident who resides in Tarrant County, Texas.

         1168. Plaintiff Jim Burns is a Texas resident who resides in Brazoria County, Texas.

         1169. Plaintiff Wendi Bucher is a Texas resident who resides in Bastrop County, Texas.

         1170. Plaintiff Chris Biddy is a Texas resident who resides in Tarrant County, Texas.

         1171. Plaintiff David Treibs is a Texas resident who resides in Gillespie County, Texas.

         1172. Plaintiff Kristy Kincaid is a Texas resident who resides in Dallas County, Texas.

         1173. Plaintiff Christina Kinder is a Texas resident who resides in Jack County, Texas.




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         1174. Plaintiff Richard Shellenberger is a Texas resident who resides in Montgomery

County, Texas.

         1175. Plaintiff Cory Crouch is a Texas resident.

         1176. Plaintiff Lori Beth Cabrera is a Texas resident who resides in Collin County, Texas.

         1177. Plaintiff Tommie Quider is a Texas resident who resides in Denton County, Texas.

         1178. Plaintiff Amy Martinez is a Texas resident who resides in Brazos County, Texas.

         1179. Plaintiff James Taylor is a Texas resident.

         1180. Plaintiff Melinda Cernero is a Texas resident.

         1181. Plaintiff Debbie Smith Hartwell is a Texas resident who resides in Collin County,

Texas.

         1182. Plaintiff Heather Smith is a Texas resident who resides in Grimes County, Texas.

         1183. Plaintiff Rawney McVaney is a Texas resident who resides in Travis County,

Texas.

         1184. Plaintiff Zdenka Duran is a Texas resident who resides in Tarrant County, Texas.

         1185. Plaintiff Bobby Hilliard is a Texas resident who resides in Leon County, Texas.

         1186. Plaintiff Melissa Ciechanowicz is a Texas resident who resides in Travis County,

Texas.

         1187. Plaintiff Kim Foxhoven is a Texas resident who resides in Travis County, Texas.

         1188. Plaintiff Deona Baker is a Texas resident who resides in Rains County, Texas.

         1189. Plaintiff Teresa Taylor is a Texas resident who resides in Denton County, Texas.

         1190. Plaintiff Steve Galloway is a Texas resident who resides in Caldwell County,

Texas.

         1191. Plaintiff Jan Beck is a Texas resident who resides in Kaufman County, Texas.



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         1192. Plaintiff Elizabeth Austin is a Texas resident who resides in Montague County,

Texas.

         1193. Plaintiff Laythan Cloke is a Texas resident who resides in Nueces County, Texas.

         1194. Plaintiff Margaret Coleman is a Texas resident who resides in Denton County,

Texas.

         1195. Plaintiff Lizie Pilicy is a Texas resident who resides in Denton County, Texas.

         1196. Plaintiff Sonja Ruehle is a Texas resident who resides in Montgomery County,

Texas.

         1197. Plaintiff Kierstin Cheever is a Texas resident who resides in Kendall County,

Texas.

         1198. Plaintiff Kaleta Burgin is a Texas resident who resides in Morris County, Texas.

         1199. Plaintiff Kimberly Loe is a Texas resident who resides in Collin County, Texas.

         1200. Plaintiff Laura Fair is a Texas resident who resides in Bexar County, Texas.

         1201. Plaintiff Angela Neywick is a Texas resident who resides in Dallas County, Texas.

         1202. Plaintiff Amy Frere is a Texas resident who resides in Harris County, Texas.

         1203. Plaintiff Janeen Osina is a Texas resident who resides in Montgomery County,

Texas.

         1204. Plaintiff Jose Reyna is a Texas resident who resides in Cameron County, Texas.

         1205. Plaintiff Debra Perry is a Texas resident who resides in Lubbock County, Texas.

         1206. Plaintiff Teresa Dear is a Texas resident who resides in Williamson County, Texas.

         1207. Plaintiff Rebecca Gosart is a Texas resident who resides in Tarrant County, Texas.

         1208. Plaintiff Suzen West is a Texas resident who resides in Cooke County, Texas.

         1209. Plaintiff Julie Jumes is a Texas resident who resides in Kendall County, Texas.



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         1210. Plaintiff Elizabeth Pamplin is a Texas resident who resides in Williamson County,

Texas.

         1211. Plaintiff Linda Munroe is a Texas resident who resides in Collin County, Texas.

         1212. Plaintiff Caroline Kyhl is a Texas resident who resides in Tarrant County, Texas.

         1213. Plaintiff Melba Parker is a Texas resident who resides in Collin County, Texas.

         1214. Plaintiff Jerry Metker is a Texas resident who resides in Denton County, Texas.

         1215. Plaintiff Debra Scaggs is a Texas resident who resides in Denton County, Texas.

         1216. Plaintiff Audrey Amirian is a Texas resident who resides in Harris County, Texas.

         1217. Plaintiff Rebecca Staggs is a Texas resident who resides in Wood County, Texas.

         1218. Plaintiff Charys Leal is a Texas resident who resides in Brown County, Texas.

         1219. Plaintiff Lanny Carnley is a Texas resident who resides in Angelina County, Texas.

         1220. Plaintiff Meg Longhenry is a Texas resident who resides in Bastrop County, Texas.

         1221. Plaintiff Caleb Swackhamer is a Texas resident who resides in Travis County,

Texas.

         1222. Plaintiff Matthew Buckley is a Texas resident who resides in Travis County, Texas.

         1223. Plaintiff Christopher Swackhamer is a Texas resident who resides in Hays County,

Texas.

         1224. Plaintiff Nicole Swackhamer is a Texas resident who resides in Hays County,

Texas.

         1225. Plaintiff Cassie Allen is a Texas resident who resides in Bastrop County, Texas.

         1226. Plaintiff Joe Wilson is a Texas resident who resides in Midland County, Texas.

         1227. Plaintiff Aliya Mathiesen is a Texas resident who resides in Travis County, Texas.

         1228. Plaintiff Steve Groebe is a Texas resident.



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         1229. Plaintiff Kimberly Thomas is a Texas resident who resides in Brazos County,

Texas.

         1230. Plaintiff Jacklyn King is a Texas resident who resides in Navarro County, Texas.

         1231. Plaintiff Susan Stogner is a Texas resident who resides in Collin County, Texas.

         1232. Plaintiff Randa Anderson is a Texas resident who resides in Brazos County, Texas.

         1233. Plaintiff Theo Wood is a Texas resident who resides in Lampasas County, Texas.

         1234. Plaintiff Steve Spence is a Texas resident who resides in Collin County, Texas.

         1235. Plaintiff Sandra Toth is a Texas resident who resides in Dallas County, Texas.

         1236. Plaintiff Jennie Klaas is a Texas resident who resides in Tarrant County, Texas.

         1237. Plaintiff Gregory Knapp is a Texas resident who resides in Collin County, Texas.

         1238. Plaintiff Nathan Holloway is a Texas resident who resides in Harris County, Texas.

         1239. Plaintiff Ashley Holloway is a Texas resident who resides in Harris County, Texas.

         1240. Plaintiff Billy Owens is a Texas resident who resides in Chambers County, Texas.

         1241. Plaintiff Kristi Young is a Texas resident who resides in Lamar County, Texas.

         1242. Plaintiff Monty Suther is a Texas resident who resides in Rockwall County, Texas.

         1243. Plaintiff Michelle Schrader is a Texas resident who resides in Collin County, Texas.

         1244. Plaintiff Sharon Jones is a Texas resident who resides in Denton County, Texas.

         1245. Plaintiff Joey Lowery is a Texas resident who resides in Ellis County, Texas.

         1246. Plaintiff Kathleen Bosgraaf is a Texas resident.

         1247. Plaintiff Cori Hyland is a Texas resident.

         1248. Plaintiff Cami Dean is a Texas resident who resides in Collin County, Texas.

         1249. Plaintiff Francine Daniels is a Texas resident who resides in Denton County, Texas.

         1250. Plaintiff Deborah Smithson is a Texas resident who resides in Ellis County, Texas.



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         1251. Plaintiff Jennifer Lopez is a Texas resident who resides in Collin County, Texas.

         1252. Plaintiff Traci Gervase is a Texas resident who resides in Dallas County, Texas.

         1253. Plaintiff Deanna Newman is a Texas resident who resides in Gonzales County,

Texas.

         1254. Plaintiff Brian Howell is a Texas resident who resides in Upshur County, Texas.

         1255. Plaintiff Julia Appleton is a Texas resident who resides in Harris County, Texas.

         1256. Plaintiff Gary Cain is a Texas resident who resides in Dallas County, Texas.

         1257. Plaintiff Kandy Davis is a Texas resident.

         1258. Plaintiff Heidi Keller is a Texas resident who resides in Tarrant County, Texas.

         1259. Plaintiff Amberlyn Belden is a Texas resident who resides in Rockwall County,

Texas.

         1260. Plaintiff Lori Jenkins is a Texas resident who resides in Hays County, Texas.

         1261. Plaintiff Lisa Sneed is a Texas resident who resides in Upshur County, Texas.

         1262. Plaintiff Melanie Stein is a Texas resident who resides in Tarrant County, Texas.

         1263. Plaintiff Jeanne Jacobs is a Texas resident.

         1264. Plaintiff Mandie Price is a Texas resident who resides in Harris County, Texas.

         1265. Plaintiff Kenneth Mosley is a Texas resident who resides in Trinity County, Texas.

         1266. Plaintiff Lisa McConville is a Texas resident who resides in Harris County, Texas.

         1267. Plaintiff Todd Daughtry is a Texas resident who resides in Bexar County, Texas.

         1268. Plaintiff Kelly Chau is a Texas resident who resides in Ector County, Texas.

         1269. Plaintiff Carla Gravenkemper is a Texas resident who resides in Collin County,

Texas.

         1270. Plaintiff Bryan Casalegno is a Texas resident who resides in Collin County, Texas.



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         1271. Plaintiff Michelle Knight is a Texas resident who resides in Rockwall County,

Texas.

         1272. Plaintiff Monti Pogue is a Texas resident who resides in Eastland County, Texas.

         1273. Plaintiff Cindy David is a Texas resident who resides in Lamar County, Texas.

         1274. Plaintiff Suzanne Blackstone is a Texas resident who resides in Denton County,

Texas.

         1275. Plaintiff Jeremy Morvant is a Texas resident who resides in Jefferson County,

Texas.

         1276. Plaintiff Eugene Ralph is a Texas resident.

         1277. Plaintiff Tammy Smith-Maxwell is a Texas resident who resides in Gregg County,

Texas.

         1278. Plaintiff Vanya Wolf is a Texas resident who resides in Travis County, Texas.

         1279. Plaintiff Etta Doyle is a Texas resident who resides in Montgomery County, Texas.

         1280. Plaintiff Monica Stinnett is a Texas resident who resides in Hardin County, Texas.

         1281. Plaintiff Gina Olsen is a Texas resident who resides in Tarrant County, Texas.

         1282. Plaintiff Mary Toland is a Texas resident.

         1283. Plaintiff Michael LeRoy is a Texas resident who resides in Denton County, Texas.

         1284. Plaintiff Heather McAdow is a Texas resident who resides in Grayson County,

Texas.

         1285. Plaintiff Tonya Alexander is a Texas resident who resides in Collin County, Texas.

         1286. Plaintiff Lar Feagins is a Texas resident who resides in Guadalupe County, Texas.

         1287. Plaintiff Suzanne Veal is a Texas resident who resides in Collin County, Texas.

         1288. Plaintiff Leslie Strickland is a Texas resident who resides in Parker County, Texas.



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         1289. Plaintiff Tiffany Duran is a Texas resident who resides in Ellis County, Texas.

         1290. Plaintiff Heather Hultgren is a Texas resident who resides in Grayson County,

Texas.

         1291. Plaintiff Lana Warren is a Texas resident who resides in Harris County, Texas.

         1292. Plaintiff Erin Naranjo is a Texas resident who resides in Williamson County, Texas.

         1293. Plaintiff Julie Jones is a Texas resident who resides in Grayson County, Texas.

         1294. Plaintiff Kimberly Vasquez is a Texas resident who resides in Tarrant County,

Texas.

         1295. Plaintiff Patricia White is a Texas resident who resides in Collin County, Texas.

         1296. Plaintiff John Amann is a Texas resident who resides in Harris County, Texas.

         1297. Plaintiff Marylin Reynolds is a Texas resident who resides in Harris County, Texas.

         1298. Plaintiff Jeffrey Clark is a Texas resident who resides in Hays County, Texas.

         1299. Plaintiff Linda Howell is a Texas resident who resides in Brazoria County, Texas.

         1300. Plaintiff Andrew Farrell is a Texas resident who resides in Tarrant County, Texas.

         1301. Plaintiff Jenny Cudd is a Texas resident who resides in Midland County, Texas.

         1302. Plaintiff Ronald Guidry is a Texas resident who resides in Harris County, Texas.

         1303. Plaintiff Dan Scott is a Texas resident who resides in Tom Green County, Texas.

         1304. Plaintiff Deborah Sapp is a Texas resident.

         1305. Plaintiff Charles Smith is a Texas resident.

         1306. Plaintiff Felisa Williams is a Texas resident who resides in Dallas County, Texas.

         1307. Plaintiff Michael Voetee is a Texas resident who resides in Caldwell County,

Texas.

         1308. Plaintiff Donna Voetee is a Texas resident who resides in Caldwell County, Texas.



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         1309. Plaintiff Collettee Rogers is a Texas resident who resides in Montgomery County,

Texas.

         1310. Plaintiff Angela Hampton is a Texas resident who resides in Denton County, Texas.

         1311. Plaintiff Scott Condit is a Texas resident who resides in Wilson County, Texas.

         1312. Plaintiff Lyn Trevino is a Texas resident who resides in Hidalgo County, Texas.

         1313. Plaintiff Donald Jones is a Texas resident who resides in Rusk County, Texas.

         1314. Plaintiff Elizabet Pritchard is a Texas resident who resides in Tarrant County,

Texas.

         1315. Plaintiff Tiffany Kampmann is a Texas resident.

         1316. Plaintiff Alicia Cornell is a Texas resident who resides in Denton County, Texas.

         1317. Plaintiff Cathy Edminster is a Texas resident who resides in Ellis County, Texas.

         1318. Plaintiff Ron Speaks is a Texas resident who resides in Collin County, Texas.

         1319. Plaintiff Willard Kerr is a Texas resident who resides in Tarrant County, Texas.

         1320. Plaintiff Kristal Quintanilla is a Texas resident who resides in Collin County,

Texas.

         1321. Plaintiff Peggy Ploss is a Texas resident who resides in Dallas County, Texas.

         1322. Plaintiff Elaina Mango is a Texas resident who resides in Harris County, Texas.

         1323. Plaintiff Charlie Martin is a Texas resident who resides in Bexar County, Texas.

         1324. Plaintiff Melinda Preston is a Texas resident who resides in Denton County, Texas.

         1325. Plaintiff Lori Martin is a Texas resident who resides in Bexar County, Texas.

         1326. Plaintiff Janie Brittain is a Texas resident who resides in Dallas County, Texas.

         1327. Plaintiff Katy Hardin is a Texas resident who resides in Travis County, Texas.

         1328. Plaintiff Patricia Nichols is a Texas resident who resides in Smith County, Texas.



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         1329. Plaintiff Shannon Ta is a Texas resident.

         1330. Plaintiff Jennifer Maxwell is a Texas resident who resides in Williamson County,

Texas.

         1331. Plaintiff Michelle Oberlechner is a Texas resident who resides in Rockwall County,

Texas.

         1332. Plaintiff Audra Stinson is a Texas resident who resides in Tarrant County, Texas.

         1333. Plaintiff Rowena Harmon is a Texas resident who resides in Galveston County,

Texas.

         1334. Plaintiff Jeremiah Hunter is a Texas resident who resides in Gregg County, Texas.

         1335. Plaintiff Jeffery Reed is a Texas resident who resides in Smith County, Texas.

         1336. Plaintiff Scott Bell is a Texas resident who resides in Tarrant County, Texas.

         1337. Plaintiff Allison Reed is a Texas resident who resides in Smith County, Texas.

         1338. Plaintiff Luis Duque, Jr. is a Texas resident who resides in Harris County, Texas.

         1339. Plaintiff Patricia Kennedy is a Texas resident who resides in Midland County,

Texas.

         1340. Plaintiff Allen K. Neighbors is a Texas resident who resides in Childress County,

Texas.

         1341. Plaintiff Wanda W. Griffin is a Texas resident who resides in Gregg County, Texas.

         1342. Plaintiff Judi J. Benestante, Ph.D is a Texas resident who resides in San Jacinto

County, Texas.

         1343. Plaintiff John E. Benestante is a Texas resident who resides in San Jacinto County,

Texas.




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         1344. Plaintiff Rachael Freeman is a Texas resident who resides in Coryell County,

Texas.

         1345. Plaintiff Rebecca Rogers is a Texas resident who resides in Tarrant County, Texas.

         1346. Plaintiff Terry Wareham is a Texas resident who resides in Bastrop County, Texas.

         1347. Plaintiff Rosa Flores is a Texas resident who resides in Dallas County, Texas.

         1348. Plaintiff Cyndi Vara is a Texas resident who resides in Glasscock County, Texas.

         1349. Plaintiff James Daggett is a Texas resident who resides in Williamson County,

Texas.

         1350. Plaintiff Stephen McKinley is a Texas resident who resides in Brazos County,

Texas.

         1351. Plaintiff Jonny Jahani is a Texas resident who resides in Travis County, Texas.

         1352. Plaintiff Patrick Gallagher is a Texas resident who resides in Montgomery County,

Texas.

         1353. Plaintiff Rachel Gallagher is a Texas resident who resides in Montgomery County,

Texas.

         1354. Plaintiff Hannah Jahani is a Texas resident who resides in Montgomery County,

Texas.

         1355. Plaintiff Tom Williamson is a Texas resident who resides in Harris County, Texas.

         1356. Plaintiff Vicki Williamson is a Texas resident who resides in Harris County, Texas.

         1357. Plaintiff Emily Jackson is a Texas resident who resides in Harris County, Texas.

         1358. Plaintiff Gregory T. Harrop is a Texas resident who resides in Williamson County,

Texas.




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          1359. Plaintiff Lynda Harrop is a Texas resident who resides in Williamson County,

Texas.

          1360. Plaintiff Betty J. Winters is a Texas resident who resides in Harris County, Texas.

          1361. Plaintiff Charles A. Mulvena is a Texas resident who resides in Harris County,

Texas.

          1362. Plaintiff Josefina Mulvena is a Texas resident who resides in Harris County, Texas.

          1363. Plaintiff Katherine Pratt is a Texas resident who resides in Harris County, Texas.

          1364. Defendant Governor Greg Abbott is the Governor of the State of Texas.

          1365. Defendant State of Texas is a governmental entity.

          1366. Defendant Texas Health and Human Services Commission is a governmental

entity.

          1367. Defendant Texas Department of State Health Services is a governmental entity.

          1368. Defendant Phil Wilson is the Executive Director of the Texas Department of State

Health Services.

          1369. Defendant John William Hellerstedt, MD, is the Commissioner of the Texas

Department of State Health Services.

          Defendants Governor Greg Abbott, State of Texas, Texas Health and Human Services

Commission, Texas Department of State Health Services, Phil Wilson, John William Hellerstedt,

MD, and Bentley Nettles may be served through the Office of the Attorney General, 209 West 14 th

Street, Austin, Texas 78701.

                                JURISDICTION AND VENUE




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        1370. This action arises out of Defendants’ ongoing violations of Plaintiffs’ rights under

the First, Fourth and Fourteenth Amendments, and thus raises federal questions over which this

Court has jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1343.

        1371. Venue is proper in this Southern District of Texas under 28 U.S.C. § 1391(b)(2),

because a substantial part of the events and omissions and harm alleged herein have occurred or

will soon occur in this district unless judicial relief is obtained.

        1372. Venue is also proper in this Southern District of Texas under 28 U.S.C.

§ 1391(b)(1), because Defendants are all residents of the State of Texas, and Defendant State of

Texas resides in this district within the meaning of that provision.

        1373. An actual and justiciable controversy exists between Plaintiffs and Defendants.

                   Irreparable Harm and Inadequacy of Alternate Remedies

        1374. Defendants’ actions cause an infringement on the First Amendment rights of

Plaintiffs, and the “loss of First Amendment freedoms, for even minimal periods of time,

unquestionably constitutes irreparable injury.” Elrod v. Burns, 427 U.S. 347, 373 (1976).

Accordingly, Plaintiffs have suffered – and continue to suffer – irreparable harm.

        1375. Defendants’ actions also infringe on the Fourth Amendment rights of Plaintiffs by

tracking their daily whereabouts without their consent, without a warrant, and without adequate

justification. Plaintiffs’ Fourth Amendment right to privacy is infringed by this unconsented

surveillance by Defendants.

        1376. Defendants’ actions further violate the Equal Protection Clause of the Fourteenth

Amendment, by arbitrarily and selectively interfering with some businesses (including several

Plaintiffs) but not others.

        1377. Because this Court has jurisdiction as a threshold matter, the Declaratory Judgment

Act, 28 U.S.C. §§ 2201-2202, provides this Court the power to “declare the rights and other legal
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relations of any interested party …, whether or not further relief is or could be sought.” 28 U.S.C.

§ 2201; accord FED. R. CIV. P. 57 advisory committee note (“the fact that another remedy would

be equally effective affords no ground for declining declaratory relief”).

                      ALLEGATIONS RELEVANT TO ALL COUNTS

       1378. Defendants lock down most business activities in Texas with a series of orders

(“Lock Down Orders”), under the guise of combating COVID-19.

       1379. On March 13, 2020, Greg Abbott, Governor of Texas, issued a disaster

proclamation, certifying under Section 418.014 of the Texas Government Code that the novel

coronavirus (COVID-19) poses an imminent threat of disaster for all counties in the State of Texas.

       1380. On April 12, 2020, Governor Abbott issued a proclamation renewing the disaster

declaration for all counties in Texas.

       1381. On April 17, 2020, Governor Abbott renewed his determination that the

Commissioner of the Texas Department of State Health Services (DSHS), Dr. John Hellerstedt,

had determined that COVID-19 represents a public health disaster within the meaning of Chapter

81 of the Texas Health and Safety Code.

       1382. On March 19, 2020, Governor Abbott issued Executive Order GA-08, mandating

certain obligations for Texans in accordance with the President’s Coronavirus Guidelines for

America.

       1383. On April 17, 2020, Governor Abbott issued Executive Order GA-16 to generally

continue through April 30, 2020, social-distancing restrictions and other obligations for Texans

according to federal guidelines, and also to offer first steps to Open Texas, including permitting

retail pick-up and delivery services.

       1384. On April 27, 2020 Executive Order GA-18 expanded the services that are reopened

in Texas, including allowing in-store retail and dine-in restaurant services at establishments
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operating within specific capacity limits, while subjecting many of them to a 25 percent occupancy

restriction which cripples their profitability.

        1385. On May 5, 2020, Governor Abbott issued Executive Order GA-21, which

commanded as follows:

        1386. People shall avoid visiting bars, massage establishments, tattoo studios, piercing

studios, sexually oriented businesses, or interactive amusement venues such as bowling alleys,

video arcades, amusement parks, water parks, or splash pads, unless these enumerated

establishments or venues are specifically added as a reopened service by proclamation or future

executive order of the governor. Notwithstanding anything herein to the contrary, the governor

may by proclamation add to this list of establishments or venues that people shall avoid visiting.

To the extent any of the establishments or venues that people shall avoid visiting also offer

reopened services permitted above, such as restaurant services, these establishments or venues can

offer only the reopened services and may not offer any other services. The use of drive thru, pickup,

or delivery options for food and drinks remains allowed and highly encouraged throughout the

limited duration of this executive order.

        1387. GA-21 expanded the reopening of certain businesses and activities in Texas. The

Texas Department of State Health Services (“DSHS”) stated that “[t]his announcement expands

Upon the businesses and activities included in the first phase of the plan to Open Texas while

Minimizing the spread of COVID-19.” Executive Order GA-21 also authorized the immediate

opening of the following businesses: wedding venues, services required to conduct weddings, and

wedding reception services. Indoor weddings and receptions may not exceed 25 percent of the

“total listed occupancy of the facility.”




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        1388. Additionally, as of May 8, 2020, the following businesses were allowed to reopen

with restrictions:


       Cosmetology salons, hair salons, barber shops, nail salons/shops, and tanning salons (these
        businesses must ensure at least six feet of social distancing between operating
        workstations)
       Indoor and outdoor swimming pools (may not exceed 25 percent of the total occupancy)
       Local public swimming pools only if permitted by local government (presumably also
        subject to the 25 percent occupancy limitation)

Finally, on May 18, 2020, the following businesses may reopen:

       “Services provided by office workers in offices that operate at up to the greater of (i) five
        individuals, or (ii) 25 percent of the total office workforce,” provided social distancing is
        maintained
       Nonessential manufacturers (may not exceed 25 percent of the total occupancy and must
        have staggered workflows and breaks)
       Gyms and exercise facilities (may not exceed 25 percent of the total occupancy; restrooms
        may be opened, but locker rooms and showers must remain closed)

        1389. According to GA-21 these businesses may operate at an increased capacity of up to

50 percent if located in a county where there have been five or fewer cases of COVID-19, assuming

the county is in compliance with the requisite attestation required by DSHS.

        Importantly, the occupancy limitations described above do not apply to those businesses

defined as essential. Additionally, employees of service-oriented businesses do not count toward

the occupancy limitation, except for in the cases of nonessential manufacturers and services

provided by office workers. Thus, for example, restaurant employees would not be included in

determining the occupancy limitation.

                       Health Protocols for Employees and Contractors

        1390. Regardless of the reopening date, all newly reopened businesses and services are

subject to the recommended minimum standard health outlined by DSHS. The DSHS

recommendations include, but are not limited to, the following:



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   “Train all employees on appropriate cleaning and disinfection, hand hygiene, and
    respiratory etiquette.”

   “Screen employees and contractors before coming into the business”:

       o   “Send home any employee or contractor who has any of the following new or
           worsening signs or symptoms of possible COVID-19”:
               Cough
               Shortness of breath or difficulty breathing
               Chills and/or repeated shaking with chills
               Muscle pain
               Headache
               Sore throat
               Loss of taste or smell
               Diarrhea
               Feeling feverish or having a temperature of 100.0 degrees Fahrenheit or
                 higher
               Known close contact with a person who has been confirmed as having
                 COVID-19 by laboratory testing.

       o   “Do not allow employees or contractors with new or worsening signs or symptoms
           listed above to return to work until [compliance with the following protocols has
           been achieved]”:

                 In the case of an employee or contractor who was diagnosed with COVID-
                  19 or who has symptoms that could be COVID-19 and has not been
                  evaluated by a medical professional or tested for COVID-19 but is assumed
                  to have COVID-19, the individual may return to work when all three of the
                  following criteria are met:

                         at least 3 days (72 hours) have passed since recovery (resolution of
                          fever without the use of fever-reducing medications);
                         the individual has improvement in symptoms (e.g., cough and
                          shortness of breath); and
                         at least 10 days have passed since symptoms first appeared.

                 If an employee or contractor has symptoms that could be COVID-19 and
                  wants to return to work before completing the above-described self-
                  isolation period, the individual must obtain a medical professional’s note
                  clearing the individual for return based on an alternative diagnosis.

       o   “Do not allow an employee or contractor with known close contact [with] a person
           who is lab-confirmed to have COVID-19 to return to work until the end of the 14-
           day self-quarantine period from the last date of exposure (with an exception granted
           for healthcare workers and critical infrastructure workers).”



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      “Have employees and contractors wash or sanitize their hands upon entering the business.”

      “Have employees and contractors maintain at least six feet [of] separation from other
       individuals. If such distancing is not feasible, other measures such as face covering, hand
       hygiene, cough etiquette, cleanliness, and sanitation should be rigorously practiced.”

      “If an employer provides a meal for employees and/or contractors, employers are
       recommended to have the meal individually packaged for each individual.”

      “Consistent with the actions taken by many employers across the state, consider having all
       employees and contractors wear cloth face coverings (over the nose and mouth). If
       available, employees and contractors should consider wearing non-medical grade face
       masks.”

                               Health Protocols for Employers’ Facilities

      “If six feet of separation cannot be maintained between employees, contractors, and/or
       customers inside the facility, consider the use of engineering controls, such as dividers
       between individuals, to minimize the chances of transmission of COVID-19.”

      “Regularly and frequently clean and disinfect any regularly-touched surfaces, such as
       doorknobs, tables, chairs, and restrooms.”

      “Disinfect any items that come into contact with customers.”

      “Make hand sanitizer, disinfecting wipes, soap and water, or similar disinfectant readily
       available to employees, contractors, and customers.”

      “Place readily visible signage at the business to remind everyone of best hygiene
       practices.”

      “For employers with more than 10 employees and/or contractors present at one time,
       consider having an individual wholly or partially dedicated to ensuring the health protocols
       adopted by the employer are being successfully implemented and followed.”

       1391. In addition to the standards described above for all businesses, the minimum

standard health standard protocols outlined by DSHS provide specific, additional guidance for

particular industries and spheres of activity, including retail, restaurants, movie theaters, museums

and libraries, and churches/places of worship.




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        1392. On Tuesday, May 5, 2020, Dallas cosmetologist Shelly Luther was sentenced to

seven (7) days in jail and fined $7,000.00 for violating Governor Abbott’s Order GA-18. Soon

thereafter, on May 7, 2020, Governor Abbott issued GA-22.

        1393. GA-22, among other things, opened “cosmetology salons, hair salons, barber shops,

nail salons/shops, and other establishments where licensed cosmetologists or barbers practice their

trade...”

        1394. While opening these businesses, GA-22 further ordered people            “shall avoid

visiting” certain businesses, including but not limited to, bars, amusement parks, tattoo parlors”

and many more. GA-22 also eliminated confinement in jail as an available penalty for violations

of Governor Abbott’s executive orders.

        1395. In GA-22, Governor Abbott further ordered that the amendment “operates

retroactively to April 1, 2020.”




        1396. On May 18, 2020, Governor Abbott issued GA-23, the second phase of the State of

Texas' ongoing plan to reopen, among other things, allowing restaurants to increase their

occupancy to 50%.

        1397. As stated in his previous Executive Orders regarding COVID-19, Governor Abbott

ordered that “under Section 418.173, failure to comply with any executive order issued during the

COVID-19 disaster is an offense punishable by a fine not to exceed $1,000, confinement in jail for

a term not to exceed 180 days, or both fine and confinement.”

        1398. In 2019 approximately 180,000 Texans died of a host of diseases and events,

including heart disease, strokes, cancer, diabetes, pneumonia, liver disease, alcohol related

diseases, suicide, opioid addiction, Alzheimer’s, and traffic accidents. This amounts to about 493

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deaths per day. As of June 3, 2020, there have been 1,734 fatalities confirmed or presumed due to

COVID-19 in Texas. Death attributable to COVID-19, constitute less than 1% of the annual Texan

deaths and less than half the annual traffic deaths (3,650 in 2019).

       1399. Defendants’ Lockdown Orders failed to adopt the least restrictive means and failed

to permit businesses to operate in a safe manner that would not unduly spread disease. Defendants

failed to include safeguards to protect the constitutional rights of Texans.

       1400. Defendants’ Lockdown Orders unconstitutionally infringed on the rights of

Plaintiffs and many Texans, and directly caused the imprisonment of Plaintiff Gabbie Ellison,

owner of a bar, Big Daddy Zanes.

       1401. On June 3, 2020, Governor Abbott issued his latest in a series of executive orders,

GA-26. The order increases the maximum occupancy for most businesses whose operations were

restricted by prior executive orders, with most workplaces now permitted to operate with at least

50% occupancy. Notably, there is no occupancy limit for essential activities listed by the U.S.

Department of Homeland Security’s Cybersecurity and Infrastructure Security Agency (CISA) in

its Guidance on the Essential Critical Infrastructure Workforce, Version 3.1.

       1402. There is no occupancy limit for religious services, local government operations

(including county and municipal governmental operations relating to licenses), or child care

services.

       1403. Executive Order GA-26 states that people should not gather in groups larger than

ten and should maintain six feet of social distancing from those not in their group.

                                         Contact Tracing

       1404. In or about May 2020, and without consulting with the Texas legislature, Defendant

Abbott entered into a $295 million contract for “contact tracing” in order to begin surveillance and



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monitoring of the daily activities of Texans. The contract was signed without the “consent of the

governed”-no vote by our duly elected representatives, no debate, no legislative oversight. In fact,

the bidding process was open for a mere two (2) days.

       1405. Contact tracing is used to trace, track, and monitor (investigate) personal contacts

of an infected person to notify them of their exposure and to take action to allegedly prevent the

spread of the disease.

       1406. Contact tracing supports the quarantine of contacts, including forced detention to

prevent additional transmission.

       1407. This tracking of Texan residents includes their social activities, religious

attendance, and even the movements of their children in connection with school.

       1408. This contact tracing includes asking Texans about where they and others have been,

and with whom.

       1409. This contact tracing includes monitoring the movements of Texans through access

to their smart phones.

       1410. There is no means for any Texan to opt out of this surveillance, as others will be

asked to report on everyone with whom they have been in the presence of, without regard to the

privacy rights of those who do not want to be surveilled.

       1411. Smart phones, such as iPhones and Androids, are reportedly being reprogrammed

to facilitate the unconsented tracking of Texans by Defendants, compiling information in ways

that invade the privacy of Plaintiffs and other Texans.

       1412. Defendants have not been transparent or forthcoming in explaining all the details

of their $295 million scheme for contact tracing.

       1413. CDC Director Robert Redfield recently called for “very aggressive” contact tracing.



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       1414. This aggressive contact tracing model implies a divergence from traditional

practice in favor of digital and surveillance driven tactics.

       1415. As reliance on digital technology replaces interview models, which also raise

serious constitutional concerns, serious constitutional and privacy concerns are implicated,

including, but not limited to violations of the First and Fourth Amendments to the United States

Constitution.

       1416. Defendants are issuing “Health Authority Order Imposing Control Measures”

(hereinafter “Control Order”) for those they have “reasonable cause to believe…have been

exposed to…2019-nCoV (novel coronavirus).” (Exhibit “A”)

       1417. The Control Order restricts the individual to their residence and states, “You may

not leave home for work, school, social functions, or for any other reason except as permitted by

this Order.” (Exhibit “A”)

       1418. The Control Order further states: “You will not be permitted any visitors….”

(Exhibit “A”)

       1419. The Control Order includes: “You will be monitored by…personnel twice per day

until cleared.” (Exhibit “A”)

       1420. The Control Order requires your travel will have to be approved and you are

“specifically prohibited from air or other mass transit until cleared.” (Exhibit “A”)

       1421. The Control Order also requires you to provide the enforcement agency “any and

all medical records necessary for the investigation of this communicable disease”, i.e. , covid-19.

(Exhibit “A”)

       1422. The subject is then Ordered to provide the enforcement body “all information

known to you that…” the enforcement agency “deems relevant to the investigation of this



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communicable disease, including but not limited to: names, phone numbers, and addresses of

persons with whom you’ve been in contact; places you’ve visited; events and gatherings you’ve

attended; and activities you’ve participated in.” (Exhibit “A”)

       1423. If one violates the Control Order they commit a criminal offense and could be

incarcerated for 180 days and fined $2,000 or both.”

       1424. Additionally,      the    Control     Order     allows     for:    “INVOLUNTARY

INCARCERATION IN A TREATMENT FACILITY OR OTHER LOCATION AS

DETERMINED BY THE COURT.” (Exhibit “A”)

       1425. On Tuesday, May 26, 2020, Plaintiff James Daggett heard a knock on the door of

his apartment home in Cedar Park, Texas. When he answered it, two uniformed officers, one in a

police officer’s uniform with a gun, and another in a white uniform, handed him a document

identical to Exhibit “A” described above.

       1426. The man in the white uniform handed him an envelope containing a letter from the

Williamson County health department, demanding that he read it closely and follow its orders.

Plaintiff Daggett was then interrogated about his health, how many others he had living in his

home, and where he may have traveled recently.

       1427. These were just two of the foot soldiers in an army of 4,000 “contact tracers” hired

by Republican Gov. Greg Abbott, who signed a $295 million contract with Albany, New York-

based MTX Group Inc., which partners with Google and Sales Force to data-mine the public and

store their data forever in the Google Cloud.

       1428. The responsibility of the contact-tracer investigators is to build a web, at the center

of which are people like James Daggett, who just happened to test positive for COVID-19. They




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reconstruct the spokes that come off the central hub – Plaintiff Daggett’s family members, friends,

the people he works with and the customers he came in contact with though his employment.

                                 COUNT I
              DEFENDANTS’ VIOLATIONS OF THE FIRST AMENDMENT

       1429. Plaintiffs incorporate all the allegations in this Complaint as if fully set forth herein.

       1430. Large-scale contact tracing as undertaken by Defendants imposes a profound

chilling effect on First Amendment associative rights of Plaintiffs and all Texans.

       1431. Specifically, Plaintiffs are unconstitutionally infringed in their freedom of

association, because depending on with whom Plaintiffs associate, Defendants may subject

Plaintiffs to unwanted surveillance by the State of Texas.

       1432. Defendants’ contact tracing subjects association activities by Plaintiffs to being

monitored, tracked, and placed into a database by the State of Texas.

       1433. Plaintiffs’ personal First Amendment associative activities are chilled by this

tracking by Defendants of the people who associate with Plaintiffs, as Defendants seek reports

from Texans on the movements and whereabouts of residents.

       1434. Plaintiffs’ business activities are injured by this chilling effect of Defendants asking

Texans whom they saw at business establishments, thereby deterring customers from patronizing

Plaintiffs’ business in order to avoid being tracked and monitored by Defendants.

       1435. Defendants’ infringement on Plaintiffs’ associative rights have directly caused

them monetary injury.

                  DEFENDANTS VIOLATE DUE PROCESS CLAUSE

       1436. “No State shall make or enforce any law which shall abridge the privileges or

immunities of citizens of the United States; nor shall any State deprive any person of life, liberty,




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or property, without due process of law; nor deny to any person within its jurisdiction the equal

protection of the laws.” U.S. CONST. amend. XIV.

       1437. Under Governor Abbott’s Executive Orders, and in his contact tracing contract,

Plaintiffs and their businesses are assumed to be virus incubators despite a lack of evidence

demonstrating so and without providing those businesses with any due process to contest that

assumption.

       1438. Since 1895, the United States Supreme Court has recognized that “All persons are

presumed to be innocent and no person may by convicted of an offense unless each element of the

offense is proved beyond a reasonable doubt.” Coffin v. United States, 156 U.S. 432 (1895).

       1439. Although the Constitution of the United States does not include the exact language

regarding the presumption of innocence, the presumption has been held to follow from the Fifth,

Sixth and Fourteenth Amendments.

       1440. By implementing Governor Abbott’s Executive Orders and his Contact-Tracing

contract, he has deprived citizens of opportunity to contest their alleged criminal status, and thus

violated the due course of law provision of the Texas Bill of Rights; the criminal penalties

associated with the COVID-19 executive orders violate the due process clause of the Fourteenth

Amendment.

       1441. The rationale behind Abbott’s mass “lock-down” includes an assumption that each

citizen is a threat to their fellow Texan. The only governmental interest in a pandemic is to prohibit

individuals who are a contagious threat from spreading the disease. To presume in the definition

of a crime that the essential element of the crime already exists, is a fundamental contradiction of

the presumption of innocence.




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       1442. The law regarding communicable disease is to stop the spread by those who have

the disease. The legitimate purpose of pandemic law is to stop those who actually are a threat.

       1443. The Due Process Clause, prevents a governmental action that has the effect of

concluding that one is a threat even though there is no proof they are a threat or even have COVID-

19 or any symptoms related thereto.

       1444. Under Governor Abbott’s arbitrary and capricious COVID-19 Executive Orders,

health—which by definition is a defense to any charge that a person is not healthy and is thus a

danger to others—is not a defense to the criminal penalties and has no impact on what businesses

are shuttered and on Texan’s ingress and egress.

       1445. The Due Process Clause of the United States Constitution warrants this Court

issuing a Temporary Injunction to prevent Governor Abbott’s Executive Orders and Contact-

Tracing contract that assume guilt and provide no opportunity to contest that guilt.

                                COUNT II
            DEFENDANTS’ VIOLATIONS OF THE FOURTH AMENDMENT

       1446. Plaintiffs incorporate all the allegations in this Complaint as if fully set forth herein.

       1447. Defendants’ scheme of massive unconsented contact tracing, without a warrant,

infringes on the Fourth Amendment rights of Plaintiffs and all Texans.

       1448. There is no compelling justification for Defendants to track the daily movements

of Plaintiffs and other Texans, of whom only a trivial number will have COVID-19.

       1449. Defendants’ contact tracing scheme lacks safeguards to protect the Fourth

Amendment rights of Plaintiffs and all Texans.

       1450. Defendants’ gathering of the whereabouts and daily movements of political

candidates and office-holders would give some an unfair advantage in leaking such information to

the media or using in political campaigns near elections.


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       1451. Defendants’ infringement on Plaintiffs’ Fourth Amendment rights have directly

caused them monetary injury.

                               COUNT III
        DEFENDANTS’ VIOLATIONS OF THE EQUAL PROTECTION CLAUSE

       1452. Plaintiffs incorporate all the allegations in this Complaint as if fully set forth herein.

       1453. Defendants’ Shutdown Orders and contract tracing violate the Equal Protection

Clause of the Fourteenth Amendment by targeting and disproportionately harming certain

activities and businesses, including those of Plaintiffs.

       1454. Specifically, Defendants’ contact tracing of who has visited particular physicians’

offices and who else were seen at such offices is an invasion of privacy in violation of HIPAA and

Texas health privacy law.

       1455. In addition, interrogating Texans about who they saw at a restaurant, and with

whom, harms the business of the restaurant by discouraging customers from being there.

       1456. Governor Abbott assumes that preventing the spread of COVID-19 represents a

compelling government interest. However, the means sought to fulfill that interest in the subject

executive orders are not the least restrictive possible, and thus those means do not pass strict

scrutiny.

       1457. Abbott’s Executive Orders seek to determine which people, services, and groups

are essential and which are non-essential based on vague or arbitrary criteria, that have no rational

relationship to the governmental interest of stopping the spread of COVID-19. Such authority to

make or alter constitutional rights and/or create legislation is the province of the legislature and

the people, not a unilateral decision by one person, Governor Abbott.

       1458. Through his numerous executive orders, Abbott, not the legislature, has created (or

mimicked) classes of people, business, and services he defines as “essential services,” “non-


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essential services,” “reopened services,” and “closed” businesses. Through his executive orders,

Abbott has picked winners and losers, allowing some businesses to stay open, some to partially

reopen, and ordering others closed.

        1459. Starting on March 19, 2020, GA-08 ordered: “[E]very person in Texas shall avoid

social gatherings in groups of more than 10 people,” “people shall avoid eating or drinking at bars,

restaurants, and food courts, or visiting gyms or massage parlors,” “people shall not visit nursing

homes or retirement or long-term care facilities,” and “schools shall temporarily close.”

        1460. The number of ten people bears no reasonable relationship to the stated goal of

limiting the spread of COVID-19; it is purely arbitrary. Why not 9 people? Or 11? Because the

number ten has no reasonable or rational relationship to the purported goal of the executive orders,

this limitation is arbitrary and void.

        1461. The executive orders also arbitrarily select certain businesses to remain fully open

while ordering other similarly situated businesses to remain closed. For instance, liquor stores,

bicycle shops, big-box retail stores such as Walmart and Target, lawn care services, pool cleaners,

and maid services have never been shut down. However, clothing stores, gyms, restaurants, bars,

and massage studios were closed. Restaurants were only recently allowed to open at 25% capacity

on April 27, 2020. They are now limited to 50% capacity.

        1462. There is no rational difference between the open and closed businesses as to

proximity between staff and customers, so closing some of these similarly-situated businesses are

arbitrary and capricious.

        1463. Shelly Luther owns a hair salon. She was cited for violation of the executive orders

requiring her salon to remain closed, and a temporary restraining order was issued by the 14 th

Judicial District Court in Dallas County to compel her to remain closed. When she opened her



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salon in violation of that TRO, she was brought into court and found guilty of contempt for the

TRO violation and sentenced to serve 7 days in confinement. She then petitioned for a writ of

habeas corpus to this Honorable Court, and a writ issued from this Court ordering her freed from

confinement without bond on Thursday, May 6, 2020.

        1464. Soon thereafter, on May 7, 2020, Governor Abbott issued GA-22. Unfortunately,

Plaintiff Gabriella Ellison was not so fortunate. During the same week Ms. Luther was found in

Violation of the TRO, Plaintiff Ellison was arrested for opening up her bar, Big Daddy Zanes,

purportedly because her opening of her bar violated GA-18. During the same period Shelly Luther

was being prosecuted, Governor Abbott continued his order that “people shall avoid going to

bars….”

        1465. Cosmetologists, barbers, bartenders, manicurists, tattoo artists, restaurant wait staff,

and their clients/customers are typically within inches of each other for thirty minutes to numerous

hours depending on the services being performed.

        1466. However, other businesses also have proximity issues, including retail stores,

because staff and customers are also in close proximity to each other for extended periods of time.

But in an arbitrary manner, the executive orders closed beauty salons, bars, and restaurants while

allowing other businesses like grocery stores and big box retailers to remain fully operational. This

indicates that “limiting proximity to avoid spread of COVID-19” either was never the true goal of

the restrictions (calling into question the purported “compelling governmental interest” prong of

the strict scrutiny analysis), or if it was, it was exercised in a completely arbitrary manner, allowing

one business with proximity issues to stay open while another business with similar or even

identical proximity issues were ordered completely closed (calling into question the second prong

of strict scrutiny: least restrictive means).



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       1467. Additionally, even now restaurants, bars, and numerous other services have their

capacity limited to 25% or 50% while bicycle shops, liquor stores, pool cleaning services and

numerous others have been 100% open at all times since Abbott declared his emergency disaster.

Wal-Mart, HEB, Home Depot, Amazon and other businesses have experienced record increases

in sales during the COVID-19 pandemic, while small business owners have been forever closed

due to Governor Abbott’s COVID-19 lottery.

       1468. Recently, large rallies have been held across the state of Texas where people gather

in groups of hundreds of thousands of people. With respect to these events, Governor Abbott

stated, “Every Texan and every American has the right to protest and I encourage all Texans to

exercise their First Amendment rights.” (Alex Samuels, Texas Tribune, “Texas Gov. Greg Abbott

declares   state   of   disaster   after   George   Floyd    protests”,   May      31,    2020   at

https://www.texastribune.org/2020/05/31/texas-greg-abbott-state-disaster-george-floyd/.

       1469. Defendants’ violation of the Equal Protection Clause has directly caused Plaintiffs

monetary injury.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs respectfully ask this Court to grant the following relief:

A.     Enter judgment in favor of Plaintiffs, individually and on behalf of all others similarly

       situated, and against Defendants on all counts.

B.     Pursuant to 28 U.S.C. §§ 1331, 1367, and 2201-2202, FED. R. CIV. P. 57, and this Court’s

       equitable powers, issue a Declaratory Judgment that Defendants have violated Plaintiffs’

       rights under the First, Fourth, and Fourteenth Amendment.

C.     Pursuant to 28 U.S.C. §§ 1331, 1367, and 2201-2202, FED. R. CIV. P. 57, and this Court’s

       equitable powers, issue an Injunction ordering Defendants to cease all work towards

       contact tracing and cancel their above-referenced contract concerning it.
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D.     Pursuant to 28 U.S.C. §§ 1331, 1367, and 2201-2202 and this Court’s equitable powers,

       damages in the amount to be proved at trial or by dispositive motion.

E.     Award Plaintiffs pre-judgment and post-judgment interest on any damage awards.

F.     Pursuant to 42 U.S.C. § 1988 and any other applicable provisions of law or equity, award

       Plaintiffs’ costs and reasonable attorneys’ fees.

G.     Such other relief as may be just and proper.

Dated: August 11, 2020

                                                      Respectfully submitted,

                                                      WOODFILL LAW FIRM, PC

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